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                                              EXHIBIT A
                            ENERGY FUTURE HOLDINGS CORP. - CASE NO. 14-10979
                                 SUMMARY OF HOURS BY PROFESSIONAL
                              FOR THE PERIOD MAY 1, 2015 TO AUGUST 31, 2015

Professional                                          Position                Billing Rate       Total Hours              Total Fees
Davido, Scott                            Senior Managing Director                      875               20.6            $18,025.00

Diaz, Matthew                            Senior Managing Director                      975             263.9             257,302.50

Eisenband, Michael                       Senior Managing Director                      975               31.0             30,225.00

Joffe, Steven                            Senior Managing Director                      975               48.7             47,482.50

Jones, Scott                             Senior Managing Director                    1,050               29.5             30,975.00

Scruton, Andrew                          Senior Managing Director                      975             113.0             110,175.00

Simms, Steven                            Senior Managing Director                      975               33.7             32,857.50

Cordasco, Michael                        Managing Director                             795             137.0             108,915.00

Greenberg, Mark                          Managing Director                             795             232.0             184,440.00

Park, Ji Yon                             Managing Director                             795               44.0             34,980.00

Arsenault, Ronald                        Senior Director                               535             194.5             104,057.50

Rauch, Adam                              Director                                      645             217.3             140,158.50

Eimer, Sean                              Senior Consultant                             495             400.0             198,000.00

Eisler, Marshall                         Senior Consultant                             495             342.7             169,636.50

Friedrich, Steven                        Senior Consultant                             495               15.0              7,425.00

Stolarz, Alexander                       Consultant                                    355             217.9              77,354.50

Hellmund-Mora, Marili                    Administrative                                250               45.6             11,400.00

                                         GRAND TOTAL                                                  2,386.4         $1,563,409.50

                                         Less: Voluntary Reduction(1)                                                    (50,000.00)

                                         GRAND TOTAL                                                  2,386.4         $1,513,409.50


(1) The voluntary reduction of $50,000 represents estimated fees incurred to review time entries in connection with billing
activities. In addition, FTI has voluntarily agreed to a reduction of $5,920.50 for fees charged by timekeepers (5 in total) who were
deemed to have tangential involvement in these cases (these 5 timekeepers are not included in the Summary of Fees Schedule
above). The total voluntary fee reduction for this Fee Application is $55,920.50.
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                                                EXHIBIT B
                              ENERGY FUTURE HOLDINGS CORP. - CASE NO. 14-10979
                                       SUMMARY OF HOURS BY TASK
                                FOR THE PERIOD MAY 1, 2015 TO AUGUST 31, 2015

Task Code                                     Task Description                                     Total Hours            Total Fees
     1       Current Operating Results & Events                                                            73.4          $43,181.00

     9       Analysis of Employee Compensation Programs                                                      6.4           5,418.00

    11       Prepare for and Attendance at Court Hearings                                                    5.9           5,752.50

    13       Analysis of Other Miscellaneous Motions                                                       16.8           12,030.00

    14       Analysis of Claims/Liabilities Subject to Compromise                                          90.6           72,651.00

    15       Analysis of Interco. Claims, Related Party Transactions                                      148.2          101,451.00

    16       POR & DS - Analysis, Negotiation and Formulation                                             197.4          191,015.00

   18.A      Investigations of Select Legacy Transactions- Historical Transactions                        333.5          203,794.50

    21       General Meetings with Committee & Committee Counsel                                           71.0           63,285.00

    22       Meetings with Other Parties                                                                     2.9           2,827.50

    23       Firm Retention                                                                                20.3           14,143.50

    24       Preparation of Fee Application                                                               259.9          129,638.50

   28.A      First Lien Investigation- Legacy Transactions                                                   0.3             292.50

   28.B      First Lien Investigation- Historical Solvency                                                   0.5             397.50

    29       Business Plan- Diligence of the Debtors' Long Range Plan                                      14.7            9,384.50

    30       Business Plan- Understand and Assess ERCOT Market                                               1.4           1,225.00

    33       Business Plan- Natural Gas / Coal Pricing                                                     29.5           30,975.00

    35       Business Plan- New Entry Pricing                                                              19.6           10,486.00

    37       Analysis of Pre-Petition Tax Payments                                                        608.2          308,685.00

    38       Analysis of Tax Impact on Restructuring Scenarios                                             20.9           16,349.50

    39       Analysis of Alternative Tax Structure                                                        449.3          327,945.50

    40       REIT Asset Analysis                                                                           15.7           12,481.50

             GRAND TOTAL                                                                                2,386.4       $1,563,409.50

             Less: Voluntary Reduction(1)                                                                                (50,000.00)

             GRAND TOTAL                                                                                2,386.4       $1,513,409.50


(1) The voluntary reduction of $50,000 represents estimated fees incurred to review time entries in connection with billing
activities. In addition, FTI has voluntarily agreed to a reduction of $5,920.50 for fees charged by timekeepers (5 in total) who were
deemed to have tangential involvement in these cases (these 5 timekeepers are not included in the Summary of Fees Schedule
above). The total voluntary fee reduction for this Fee Application is $55,920.50.
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                                                EXHIBIT C
                              ENERGY FUTURE HOLDINGS CORP. - CASE NO. 14-10979
                                         DETAIL OF TIME ENTRIES
                                FOR THE PERIOD MAY 1, 2015 TO AUGUST 31, 2015

 Task
            Date         Professional   Hours                                          Activity
Category
                                                Analyze consolidated March operating variances compared to budget to determine
   1       05/01/15 Cordasco, Michael    0.5
                                                Debtors' current business trends.
                                                Analyze budget to actual variances for Luminant to assess impact from power price
   1       05/01/15 Cordasco, Michael    0.6
                                                variances.
                                                Draft list of diligence questions for management based on examination of Q1
   1       05/01/15 Cordasco, Michael    0.6
                                                operating results in order to assess business drivers.

   1       05/01/15 Cordasco, Michael    0.6    Analyze Q1 operating trends for TXU and Luminant to assess current market trends.

                                                Revise diligence list for management based on Q1 operating results in order to assess
   1       05/04/15 Cordasco, Michael    0.8
                                                business drivers for TXU Retail.

   1       05/04/15 Cordasco, Michael    0.4    Draft correspondence to Debtors re: analysis of Q1 operating results.

                                                Draft natural gas and power price charts for inclusion in Q1 operations report to be
   1       05/05/15 Friedrich, Steven    0.3
                                                presented to the Committee.
                                                Analyze Debtors' Q1 operations update reports to include insight into Q1 presentation
   1       05/06/15 Friedrich, Steven    1.4
                                                to the Committee.
                                                Revise consolidated EFH financial summary charts for Q1 operations report to be
   1       05/06/15 Friedrich, Steven    1.8
                                                presented to the Committee.
                                                Draft EFIH financial summary charts for Q1 operations report to be presented to the
   1       05/06/15 Friedrich, Steven    1.9
                                                Committee.
                                                Draft summary re: EFH consolidated Q1 financial performance for inclusion in
   1       05/06/15 Friedrich, Steven    1.6
                                                operating report to the Committee.
                                                Draft TCEH financial summary charts for Q1 operations report to be presented to the
   1       05/06/15 Friedrich, Steven    2.3
                                                Committee.
                                                Revise monthly and quarterly business operating reports in order for the Committee to
   1       05/06/15 Friedrich, Steven    0.9
                                                examine Debtors' business trends.
                                                Participate in call with management to discuss diligence items for Q1 operating
   1       05/08/15 Cordasco, Michael    0.5
                                                results.
                                                Examine Debtors' summary of quarterly operating reports for the purpose of updating
   1       05/11/15 Eimer, Sean          1.9
                                                the UCC on the Debtors' operations.
                                                Analyze Debtors' summary of quarterly operating reports for the purpose of updating
   1       05/11/15 Eimer, Sean          2.3
                                                the UCC on the Debtors' operations.
                                                Draft summary of quarterly operating report to update the UCC on the Debtors'
   1       05/11/15 Eimer, Sean          2.7
                                                operations.
                                                Revise summary of quarterly operating report to update the UCC on the Debtors'
   1       05/12/15 Eimer, Sean          2.2
                                                operations.
                                                Finalize business commentary regarding Oncor's operations into summary of quarterly
   1       05/13/15 Eimer, Sean          1.9
                                                operating report to update the UCC on the Debtors' operations.

   1       05/14/15 Cordasco, Michael    1.4    Draft comments to initial draft Q1 operating results report to UCC.

   1       05/15/15 Cordasco, Michael    0.4    Analyze filed March MOR to determine asset impairment write-down.

   1       05/18/15 Cordasco, Michael    0.7    Provide comments to draft Q1 operations update report to UCC.

                                                Revise Q1 2015 operating report to the UCC by revising updated EFIF business
   1       05/18/15 Eimer, Sean          1.3
                                                trends.



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                                                EXHIBIT C
                              ENERGY FUTURE HOLDINGS CORP. - CASE NO. 14-10979
                                         DETAIL OF TIME ENTRIES
                                FOR THE PERIOD MAY 1, 2015 TO AUGUST 31, 2015

 Task
            Date         Professional   Hours                                           Activity
Category
                                                Analyze TCEH Q1 10-Q to observe actual performance versus the business plan
   1       05/18/15 Friedrich, Steven    1.7
                                                projections in order to assess impact on business trends.

   1       05/19/15 Cordasco, Michael    0.9    Draft comments to draft of Q1 operations report to UCC in order to finalize the report.

                                                Analyze updated hedging report to assess hedging strategy for next 18 months in order
   1       05/19/15 Cordasco, Michael    0.4
                                                to assess business impact.
                                                Examine EFH Q1 business update by focusing on Luminant and Oncor operational
   1       05/20/15 Davido, Scott        1.9
                                                and financial items that could impact the financial plan and valuation inputs.

   1       05/22/15 Cordasco, Michael    0.4    Draft final comments to Q1 operations presentation for UCC.

                                                Draft commentary for call with UCC re: Q1 operating results in order to explain
   1       05/26/15 Cordasco, Michael    0.4
                                                quarterly business drivers.
                                                Analyze April budget to actual analysis posted by Debtors to determine operating
   1       06/01/15 Cordasco, Michael    0.4
                                                trends in business.
                                                Analyze consolidated EFH budget to actual presentation for April to determine key
   1       06/02/15 Cordasco, Michael    0.7
                                                market trends.
                                                Assess May hedging reports prepared by Debtors to determine percentage / prices
   1       06/02/15 Cordasco, Michael    0.4
                                                hedged for next 18 months.
                                                Analyze updated hedging analysis provided by Debtors to determine potential
   1       06/03/15 Cordasco, Michael    0.4
                                                exposure in 2016.
                                                Analyze consolidated and Luminant April operating results in order to develop due
   1       06/05/15 Cordasco, Michael    1.4
                                                diligence questions.
                                                Examine Debtors' business reports for Oncor, Luminant, and TXU Retail to assess
   1       06/15/15 Eimer, Sean          2.2    changes in the Debtors' business in order to draft the March Operating Report to the
                                                UCC.
                                                Participate in call with Debtors to discuss April results to assess performance vs
   1       06/16/15 Cordasco, Michael    0.4
                                                budget.
                                                Participate in call with Debtors re: Debtors' business drivers for the month of April
   1       06/16/15 Eimer, Sean          0.5
                                                for the purposes of drafting the April Operating Report (partial participant).
                                                Incorporate Debtors'' business report into the April Operating report for the
   1       06/16/15 Eimer, Sean          3.1
                                                Committee.
                                                Update exhibits for the Operating Report update for the Committee with Oncor
   1       06/16/15 Eimer, Sean          1.7
                                                business drivers.

   1       06/17/15 Cordasco, Michael    0.5    Provide comments to initial draft April results report to the Committee.

                                                Draft April Operating Report to the UCC highlighting the changes in the Debtors'
   1       06/17/15 Eimer, Sean          2.9
                                                businesses for the month of April.
                                                Draft commentary regarding the changes in the Oncor's business for the month of
   1       06/17/15 Eimer, Sean          2.1
                                                April for the Operating Report to the Committee.

   1       06/19/15 Cordasco, Michael    1.6    Draft comments to draft April results report for the Committee.

                                                Revise EFH April Operating Report to UCC by including April data in natural gas /
   1       06/19/15 Eimer, Sean          1.1
                                                power graphs to show change in pricing.
                                                Incorporate updates in the Debtors' business units to be included in the April
   1       06/19/15 Eimer, Sean          1.7
                                                Operating Report to the Committee.

   1       06/22/15 Eimer, Sean          0.8    Update the operating summary for the Operating report for the Committee.


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                                                EXHIBIT C
                              ENERGY FUTURE HOLDINGS CORP. - CASE NO. 14-10979
                                         DETAIL OF TIME ENTRIES
                                FOR THE PERIOD MAY 1, 2015 TO AUGUST 31, 2015

 Task
            Date         Professional   Hours                                           Activity
Category

   1       06/23/15 Cordasco, Michael    0.6    Provide final comments to draft April results report for the Committee.

                                                Analyze FTI April Operation update, to assess any potential impacts on business plan
   1       06/24/15 Davido, Scott        1.2
                                                or forecast.
                                                Examine the Debtors' explanation on the change in the power curve in order to update
   1       06/24/15 Eimer, Sean          2.5
                                                the April operating report to the Committee.

   1       06/29/15 Cordasco, Michael    0.4    Prepare operations presentation for upcoming call with the Committee.

                                                Examine supporting documentation listed on the docket related to the PRC motion for
   1       06/29/15 Eimer, Sean          1.0    the purpose of analyzing the proposed contract negotiation for Luminant ahead of call
                                                with A&M.
                                                Examine May monthly operating reports provided by the Debtors for the purpose of
   1       07/06/15 Eimer, Sean          0.8
                                                updating the monthly operating report to the UCC.
                                                Update May monthly operating report to the UCC with financial information provided
   1       07/12/15 Eimer, Sean          2.1
                                                by the Debtors.

   1       07/13/15 Cordasco, Michael    1.2    Analyze budget to actual results for May to determine current market trends.

   1       07/15/15 Cordasco, Michael    0.6    Assess key drivers of May operating report variances.

                                                Draft May Monthly Operating Report section on key trends from the Debtors'
   1       07/16/15 Eimer, Sean          2.1
                                                business.
                                                Analyze natural gas price curve for the May Monthly Operating Report to the
   1       07/16/15 Eimer, Sean          1.9
                                                Committee to demonstrate changes in power prices to the Committee.
                                                Update May Monthly Operating Report to capture revised TXU Energy EBITDA
   1       07/16/15 Eimer, Sean          0.7
                                                figures for the Committee report.

   1       07/17/15 Cordasco, Michael    0.6    Prepare correspondence to Debtors re: May results and claims ranges.

   1       07/21/15 Cordasco, Michael    0.7    Provide comments to draft May results presentation to UCC.

   1       07/22/15 Cordasco, Michael    0.4    Participate in call with Debtors to discuss May operating results.

1 Total                                 73.4
                                                Correspond with Counsel re: debtor's motion to pay retiree benefits and the diligence
   9       05/12/15 Park, Ji Yon         0.3
                                                request list.
   9       05/13/15 Diaz, Matthew        1.2    Analyze and develop comments to Counsel re: the retiree motion.

   9       05/13/15 Park, Ji Yon         1.3    Analyze motion to pay retirees and diligence file provided by the Debtors.
                                                Analyze amended and restated employment agreements for SPC individuals and
   9       06/16/15 Rauch, Adam          1.4
                                                compare to Court approved levels.
                                                Participate in call with the Debtors to discuss the proposed emergence executive
   9       07/27/15 Diaz, Matthew        0.6
                                                compensation plan.
                                                Analyze diligence materials on the emergence executive compensation plan to assess
   9       07/27/15 Diaz, Matthew        0.8
                                                cost.
   9       07/27/15 Diaz, Matthew        0.4    Participate in call with Counsel on the employee compensation plan.

   9       07/27/15 Park, Ji Yon         0.4    Participate in call with Debtors re: proposed compensation plans.



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                                                EXHIBIT C
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                                         DETAIL OF TIME ENTRIES
                                FOR THE PERIOD MAY 1, 2015 TO AUGUST 31, 2015

 Task
            Date         Professional   Hours                                           Activity
Category

9 Total                                  6.4

   11      05/04/15 Diaz, Matthew        3.9    Attend EFH hearing on confirmation.
   11      05/04/15 Scruton, Andrew      1.2    Participate in discussion with Counsel on issues raised at hearing.
   11      05/29/15 Scruton, Andrew      0.8    Correspond with Counsel on status of plan issues re: Court hearing.

11 Total                                 5.9
                                                Participate in call with Debtors to discuss rationale for proposed stipulation re:
   13      05/12/15 Cordasco, Michael    0.4
                                                maintenance contract.
   13      05/12/15 Cordasco, Michael    0.4    Participate in call with Counsel to discuss proposed claim stipulation.

   13      05/12/15 Cordasco, Michael    0.5    Assess adequacy of debtors' filed motion re: claim stipulation.

   13      05/13/15 Cordasco, Michael    0.5    Analyze Debtors responses to inquiries re: proposed claim stipulation.
                                                Prepare talking points for UCC call re: proposed claim stipulation proposed by
   13      05/18/15 Cordasco, Michael    0.2
                                                Debtors.
   13      06/01/15 Arsenault, Ronald    1.2    Examine the monthly TCEH budget operating report to assess industry trends.
                                                Assess changes in terms of revised term sheet to determine potential impact on
   13      06/15/15 Cordasco, Michael    0.8
                                                creditor recoveries.
   13      06/16/15 Cordasco, Michael    0.5    Draft diligence questions for HL re: draft term sheet.
                                                Draft diligence questions for Debtors based on examination of claims analysis
   13      06/17/15 Cordasco, Michael    0.6
                                                supporting omnibus objection.
                                                Analyze pleadings summary prepared by MoFo to determine priorities in assessing
   13      06/26/15 Cordasco, Michael    0.3
                                                financial aspects of recently filed motions.
   13      06/29/15 Cordasco, Michael    0.5    Participate in call with Debtors to discuss proposed contract assumption motion.

   13      06/29/15 Cordasco, Michael    0.6    Assess contract modification motion with PRC to determine impact on claims pool.
                                                Analyze documents provided by Debtors supporting proposed claim stipulation with
   13      06/30/15 Cordasco, Michael    0.4
                                                PRC.
   13      07/07/15 Cordasco, Michael    0.4    Draft diligence listing for Debtors re: proposed contract rejection.

   13      07/14/15 Cordasco, Michael    0.4    Participate in call with Counsel to discuss proposed stipulation with coal provider.
                                                Analyze documents prepared by the Debtors to support proposed stipulation with coal
   13      07/14/15 Cordasco, Michael    0.3
                                                provider.
   13      07/16/15 Cordasco, Michael    0.4    Draft comments to claims range summary prepared by A&M to size claims pool.

   13      07/22/15 Cordasco, Michael    0.4    Draft diligence questions for Debtors re: proposed notice of contract assumptions.

   13      07/23/15 Cordasco, Michael    0.4    Analyze proposed hedging motion to assess operational benefits for muni contracts.

   13      07/23/15 Cordasco, Michael    0.3    Assess operational impacts resulting from proposed hedging motion.

                                                Analyze motion seeking authorization to enter into limited non-proprietary hedging
   13      07/28/15 Arsenault, Ronald    2.9
                                                and trading arrangements subject to the Debtors’ risk management guidelines.

                                                Participate in a discussion with Debtors and Debtors' professionals re: updates to the
   13      07/30/15 Arsenault, Ronald    1.0
                                                hedging and trading motion.
                                                Participate in call with A&M to discuss professional fee accrual for purposes of
   13      08/04/15 Cordasco, Michael    0.4
                                                determining cash at emergence.

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                                               EXHIBIT C
                             ENERGY FUTURE HOLDINGS CORP. - CASE NO. 14-10979
                                        DETAIL OF TIME ENTRIES
                               FOR THE PERIOD MAY 1, 2015 TO AUGUST 31, 2015

 Task
            Date        Professional    Hours                                           Activity
Category
                                                Analyze key terms of proposed hedging motion to determine potential projected hedge
   13      08/04/15 Cordasco, Michael    0.5
                                                contract volumes.
                                                Prepare analysis to determine projected DIP and cash balances at emergence for plan
   13      08/05/15 Cordasco, Michael    0.6
                                                purposes.
                                                Analyze projections contained in revised disclosure statement to analyze changes from
   13      08/05/15 Cordasco, Michael    0.3
                                                prior version.
   13      08/05/15 Cordasco, Michael    0.4    Draft comments to proposed hedging order re: requested reporting requirements.

   13      08/21/15 Cordasco, Michael    0.5    Analyze updated hedging positions to determine compliance with hedging limit order.
                                                Analyze Debtors' proposed motion to assume tire dealer contract to determine
   13      08/21/15 Cordasco, Michael    0.3
                                                potential cure payments.
                                                Analyze terms of filed contract rejection motion to assess potential GUC rejection
   13      08/26/15 Cordasco, Michael    0.4
                                                claim.

13 Total                                16.8

   14      05/11/15 Diaz, Matthew        0.5    Examine analysis on the claims picture to understand appropriate value of claims.
                                                Participate in call with MoFo to discuss the unsecured claims pool in order to
   14      05/11/15 Diaz, Matthew        0.4
                                                understand value of claims.
   14      05/11/15 Cordasco, Michael    0.3    Participate in call with Counsel to discuss latest general unsecured claims estimates.
                                                Draft summary of claims categories for Counsel re: latest general unsecured claims
   14      05/11/15 Cordasco, Michael    0.5
                                                estimate.
   14      05/13/15 Cordasco, Michael    0.3    Assess reasonableness of vendors included on proposed preference listing.

   14      05/21/15 Diaz, Matthew        0.9    Analyze Debtors' claim analysis and compare to source documents.
                                                Participate in call with A&M and other case professionals to discuss the debtors' claim
   14      05/21/15 Diaz, Matthew        0.5
                                                analysis.
   14      05/21/15 Cordasco, Michael    0.6    Participate in call with Debtors re: status of claims reconciliation work.
                                                Analyze Debtors' claims reconciliation report to assess progress of claims review
   14      05/21/15 Cordasco, Michael    0.5
                                                work.
   14      05/21/15 Cordasco, Michael    0.3    Prepare analysis of claims reconciliation for Counsel.
                                                Analyze draft claims analysis prepared by Debtors re: claims reclassifications by
   14      06/15/15 Cordasco, Michael    0.7
                                                debtor.
                                                Participate in call with Debtors and HL to discuss revised claims estimates based on
   14      06/26/15 Cordasco, Michael    0.4
                                                reconciliation efforts to date.
                                                Analyze debtors' claims presentation which highlights revised claims estimates based
   14      06/26/15 Cordasco, Michael    0.5
                                                on reconciliation efforts to date.
   14      07/07/15 Cordasco, Michael    0.3    Participate in call with Counsel to discuss claims resolution progress.

   14      07/10/15 Cordasco, Michael    0.4    Participate in call with Counsel to discuss Debtors' proposal re: claim stipulation.

   14      07/13/15 Diaz, Matthew        1.7    Analyze claims reconciliation data to size claims pool.
                                                Analyze status of claims reconciliation report prepared by A&M to determine range of
   14      07/13/15 Cordasco, Michael    0.5
                                                claims pool.
   14      07/14/15 Diaz, Matthew        1.7    Perform detailed analysis of the EFH claims pool regarding sizing for plan purposes.

   14      07/14/15 Cordasco, Michael    0.4    Participate in call with A&M to discuss status of claims reconciliation process.
                                                Analyze claims reconciliation status report prepared by A&M to determine potential
   14      07/14/15 Cordasco, Michael    0.5
                                                claims pool.


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 Task
            Date        Professional    Hours                                           Activity
Category
   14      07/14/15 Cordasco, Michael    0.5    Analyze trade claim waterfall analysis prepared by A&M.

   14      07/14/15 Cordasco, Michael    0.4    Participate in call with Counsel to discuss status of claims reconciliation process.

   14      07/14/15 Cordasco, Michael    1.0    Participate in call with A&M to discuss potential claims pool ranges.
                                                Participate in call with Debtors to discuss proposed claim stipulation with coal
   14      07/14/15 Cordasco, Michael    0.3
                                                provider.
   14      07/14/15 Cordasco, Michael    0.5    Analyze draft term sheet to determine treatment for T-side unsecured trade claims.

   14      07/15/15 Diaz, Matthew        0.9    Participate in call with the Debtors regarding general unsecured claims.
                                                Perform detailed analysis of the unsecured claims pool (non funded debt) for Plan
   14      07/15/15 Diaz, Matthew        1.6
                                                purposes.
   14      07/15/15 Diaz, Matthew        0.6    Analyze the tax claims for the purpose of sizing the unsecured claims pool.

   14      07/15/15 Cordasco, Michael    0.8    Participate in call with Debtors to discuss claims reconciliation update.

   14      07/15/15 Cordasco, Michael    0.4    Participate in call with Counsel to discuss status of claims diligence.

   14      07/15/15 Cordasco, Michael    0.4    Analyze revised claims pool analysis prepared by A&M to determine claims ranges.

   14      07/15/15 Cordasco, Michael    0.8    Draft overview of claims reconciliation report for the Committee.

   14      07/15/15 Cordasco, Michael    1.8    Analyze overview of potential claims pool analysis for the Committee report.
                                                Analyze top substantial trade and rejection damage claims prior to call with the
   14      07/15/15 Rauch, Adam          1.8
                                                Committee to discuss the same.
                                                Create summary depicting observations from analysis of substantial trade and
   14      07/15/15 Rauch, Adam          0.9
                                                rejection damage claims.
                                                Analyze the top substantial trade and rejection damage claims prior to call with the
   14      07/15/15 Rauch, Adam          2.3
                                                Committee to discuss the same.
   14      07/16/15 Diaz, Matthew        1.5    Analyze top claims and develop list of questions.

   14      07/16/15 Diaz, Matthew        0.6    Participate in call with A&M on specific unsecured claims.

   14      07/16/15 Diaz, Matthew        1.7    Finalize claims presentation to the Committee regarding sizing of the claims pool.

   14      07/16/15 Cordasco, Michael    0.4    Provide comments to revised draft report to UCC re: claims ranges.
                                                Participate in call with A&M to discuss certain claimholders included in top 20
   14      07/16/15 Cordasco, Michael    0.5
                                                unsecured claims.
   14      07/16/15 Cordasco, Michael    0.3    Participate in call with A&M to discuss revised claims ranges.

   14      07/16/15 Cordasco, Michael    1.9    Provide comments to revised draft claims report to UCC.

   14      07/16/15 Cordasco, Michael    0.4    Analyze summary of top 20 claims to assess claims ranges for UCC report.

   14      07/16/15 Cordasco, Michael    0.6    Analyze claims ranges contained in draft recovery analysis prepared by Lazard.
                                                Participate in call with the Debtors' Advisors regarding large unsecured and rejection
   14      07/16/15 Rauch, Adam          0.4
                                                damage claims.
   14      07/17/15 Diaz, Matthew        0.9    Examine the redacted claims presentation to be provided to the Debtors for comments.

   14      07/17/15 Cordasco, Michael    0.6    Provide comments to updated claims analysis for UCC.



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 Task
            Date        Professional    Hours                                           Activity
Category
                                                Participate in conference call regarding size of tax claims for the purpose of sizing the
   14      07/20/15 Diaz, Matthew        0.5
                                                claims pools.
   14      07/20/15 Cordasco, Michael    0.6    Revise claims summary schedule for UCC included CV payments paid to date.

   14      07/21/15 Diaz, Matthew        1.1    Analyze the claims analysis in order to respond to MoFo's questions.
                                                Analyze components of unsecured claim estimates at corporate services for Plan
   14      07/21/15 Cordasco, Michael    0.6
                                                purposes.
                                                Participate in call with Counsel to discuss potential unsecured claim ranges for plan
   14      07/21/15 Cordasco, Michael    0.7
                                                negotiation purposes.
                                                Analyze details re: funds utilized in critical vendor and other first day payment
   14      07/21/15 Cordasco, Michael    0.6
                                                approvals for purposes of plan negotiations.
                                                Prepare diligence questions for Debtors re: claims levels for consideration of
   14      07/22/15 Cordasco, Michael    0.3
                                                convenience class.
   14      07/23/15 Diaz, Matthew        1.4    Analyze claims pool and assessment of possible convenience class.

   14      07/23/15 Cordasco, Michael    0.5    Analyze draft claim calculations for proposed contract assumptions.
                                                Analyze detailed claims file to prepare claim stratification analysis for convenience
   14      07/23/15 Cordasco, Michael    0.4
                                                class.
   14      07/24/15 Diaz, Matthew        0.8    Analyze the other GUCs for the purpose of sizing the claims pool.

   14      07/24/15 Cordasco, Michael    0.7    Analyze claims data for claims stratification analysis for convenience class purposes.

   14      07/24/15 Cordasco, Michael    0.5    Analyze aspects of convenience class for stratification analysis.

   14      07/27/15 Diaz, Matthew        1.4    Perform detailed analysis of the claim stratifications and remaining unsecured detail.
                                                Analyze T-side trade and rejection claims for the purpose of understanding value of
   14      07/27/15 Eimer, Sean          1.3
                                                claims to T-side general unsecured committee.
                                                Perform analysis of the T-side trade and rejection claims by grouping claims in
   14      07/27/15 Eimer, Sean          2.1    different pools based on size for the purpose of understanding value of claims to T-
                                                side general unsecured committee.
                                                Reconcile T-side trade and rejection claims summary with settled claims listed in
   14      07/28/15 Eimer, Sean          1.8
                                                orders on the docket in order to respond to MoFo's questions.
                                                Analyze the convenience class analysis and certain claims for claims pool sizing
   14      07/29/15 Diaz, Matthew        1.2
                                                purposes.
   14      07/31/15 Diaz, Matthew        0.4    Participate in call with Counsel to discuss the unsecured claims pool.

   14      08/03/15 Diaz, Matthew        1.6    Analyze outstanding claims to understand total size of unsecured claims pool.

   14      08/03/15 Cordasco, Michael    0.5    Draft claims analysis requested by Counsel based on latest contract rejections.
                                                Analyze outstanding T-Side claims in order to understand variability within the T-Side
   14      08/03/15 Rauch, Adam          2.3
                                                unsecured claims pool.
   14      08/04/15 Diaz, Matthew        2.3    Analyze variances between filed and adjusted claim amounts.

   14      08/04/15 Diaz, Matthew        0.6    Participate in call with the Debtors on the claims analysis.

   14      08/04/15 Cordasco, Michael    0.7    Participate in call with A&M to discuss status of claims reconciliation process.
                                                Participate in meeting to discuss claims ranges for top 10 claims for purposes of sizing
   14      08/04/15 Cordasco, Michael    0.6
                                                claims pool.
   14      08/04/15 Cordasco, Michael    0.5    Prepare summary of claims pool sizing ranges for counsel.

   14      08/04/15 Rauch, Adam          1.6    Assess potential unsecured liabilities arising from unliquidated claims.

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 Task
            Date        Professional    Hours                                            Activity
Category
                                                Continue to analyze outstanding T-Side claims in order to understand variability
   14      08/04/15 Rauch, Adam          0.9
                                                within the T-Side unsecured claims pool.
   14      08/04/15 Rauch, Adam          0.6    Participate on call with the Debtors regarding unreconciled unsecured claims.

   14      08/05/15 Cordasco, Michael    0.4    Analyze claims assumptions contained in recovery analysis for reasonableness.

   14      08/05/15 Cordasco, Michael    0.5    Participate in call with A&M to discuss status of negotiation for selected top claims.

   14      08/07/15 Diaz, Matthew        0.9    Perform analysis of environmental and other unsecured claims.

   14      08/07/15 Cordasco, Michael    0.8    Analyze claims assumptions contained in draft first lien deficiency analysis.
                                                Analyze detailed claims file prepared by debtors for litigation and environmental filed
   14      08/07/15 Cordasco, Michael    0.5
                                                claims.
   14      08/07/15 Rauch, Adam          0.6    Analyze lease, environmental, and litigation claims listing provided by the Debtors.
                                                Analyze largest litigation claims in order to understand potential unsecured claim
   14      08/07/15 Rauch, Adam          2.6
                                                exposure.
   14      08/10/15 Cordasco, Michael    0.4    Analyze details re: environmental and litigation claims to assess sizing of GUC pool.

   14      08/10/15 Cordasco, Michael    0.5    Analyze claims ranges in connection with potential equipment leaseholder claims.

   14      08/10/15 Cordasco, Michael    0.3    Prepare diligence questions for debtors based on claims range analysis.
                                                Perform analysis of the litigation and environmental claims to assess potential
   14      08/10/15 Rauch, Adam          2.4
                                                unsecured claim exposure.
   14      08/12/15 Diaz, Matthew        1.4    Perform analysis of the environmental and capital lease claims.

   14      08/12/15 Cordasco, Michael    0.6    Analyze revised claims detail for purposes of claims pool sizing.

   14      08/12/15 Rauch, Adam          0.5    Prepare question list in anticipation of call with the Debtors regarding legal claims.

   14      08/13/15 Diaz, Matthew        1.2    Perform analysis of the non trade general unsecured claims.

   14      08/13/15 Cordasco, Michael    0.4    Assess claims comparative analysis for material contract equipment claims.

   14      08/13/15 Cordasco, Michael    0.8    Participate in call with Debtors to discuss status of claims reconciliation efforts.
                                                Draft comments regarding status of litigation and environmental claims based on
   14      08/13/15 Rauch, Adam          0.6
                                                discussions with the Debtors.
   14      08/13/15 Rauch, Adam          0.5    Participate on call with the Debtors' advisors regarding potential litigation claims.
                                                Analyze draft claims stipulation proposed by Debtors to be filed with court by end of
   14      08/17/15 Cordasco, Michael    0.5
                                                week.
   14      08/19/15 Cordasco, Michael    0.5    Participate in call with counsel to discuss status of claims reconciliation process.

   14      08/19/15 Cordasco, Michael    0.3    Prepare correspondence to Alix Partners re: inquiries of claims reconciliation process.

   14      08/20/15 Cordasco, Michael    0.5    Analyze presentation prepared by Debtors re: proposed contract rejection.
                                                Participate in call with Debtors to discuss proposed claim stipulation with significant
   14      08/24/15 Cordasco, Michael    0.6
                                                creditor.
                                                Analyze presentation re: proposed stipulation with significant creditor to assess claims
   14      08/24/15 Cordasco, Michael    0.4
                                                exposure.
   14      08/24/15 Cordasco, Michael    0.4    Analyze terms of Debtors' proposed contract rejection to assess claims exposure.



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 Task
            Date        Professional    Hours                                           Activity
Category
   14      08/24/15 Cordasco, Michael    0.3    Analyze terms of proposed contract assumption to quantify potential cure payment.

   14      08/24/15 Rauch, Adam          0.6    Participate on claims update call with the Debtors' advisors.

   14      08/24/15 Rauch, Adam          0.3    Analyze claims presentation sent by the Debtors prior to claims call.
                                                Participate in call with Debtors to discuss proposed contract assumptions and related
   14      08/25/15 Cordasco, Michael    0.6
                                                impact on claims pool.
                                                Analyze filed order re: proposed contract assumption to determine impact on claims
   14      08/25/15 Cordasco, Michael    0.4
                                                pool.
                                                Participate in call with counsel to discuss observations re: proposed motions to assume
   14      08/26/15 Cordasco, Michael    0.5
                                                contracts.
   14      08/27/15 Cordasco, Michael    0.5    Participate in call with Debtors to discuss recent proposed contract assumptions.
                                                Analyze summaries of proposed contract assumptions to determine cure and potential
   14      08/27/15 Cordasco, Michael    0.6
                                                claim waivers.
   14      08/27/15 Rauch, Adam          0.2    Participate on call with Counsel regarding claims update.

   14      08/27/15 Rauch, Adam          0.3    Participate in contracts update call with the Debtors' Advisors.

   14      08/28/15 Cordasco, Michael    0.5    Analyze treatment of TCEH unsecured claims contained in revised term sheet.
                                                Analyze claims ranges included in memo from counsel re: proposed contract
   14      08/31/15 Cordasco, Michael    0.4
                                                assumptions / settlements.
   14      08/31/15 Cordasco, Michael    0.5    Analyze proposed treatment of claim re: revised draft term sheet.

14 Total                                90.6

                                                Consolidate sample vendor payments provided by the Debtors for Direct Payments
   15      05/01/15 Rauch, Adam          1.3    made on behalf of TCEH by EFH Corporate Services from 2012 in order to analyze
                                                the full population of payments.
                                                Consolidate sample vendor payments provided by the Debtors for Direct Payments
   15      05/04/15 Rauch, Adam          0.7    made on behalf of TCEH by EFH Corporate Services from 2010 in order to analyze
                                                the full population of payments.

                                                Analyze population of direct reimbursements against summary previously provided by
   15      05/04/15 Rauch, Adam          1.9
                                                the Debtors and note variances.


                                                Isolate vendors in the 2008 - 2012 Direct Reimbursement sample population that were
   15      05/04/15 Rauch, Adam          0.6
                                                already tested in the 2013 sample testing process.


                                                Prepare stratification chart depicting potential coverage of invoice analysis for the
   15      05/04/15 Rauch, Adam          1.5
                                                2008 - 2012 Direct Reimbursement payments.

                                                Consolidate sample vendor payments provided by the Debtors for Direct Payments
   15      05/04/15 Rauch, Adam          1.1    made on behalf of TCEH by EFH Corporate Services from 2011 in order to analyze
                                                the full population of payments.
                                                Consolidate sample vendor payments provided by the Debtors for Direct Payments
   15      05/04/15 Rauch, Adam          1.0    made on behalf of TCEH by EFH Corporate Services from 2009 in order to analyze
                                                the full population of payments.
                                                Consolidate sample vendor payments provided by the Debtors for Direct Payments
   15      05/04/15 Rauch, Adam          0.7    made on behalf of TCEH by EFH Corporate Services from 2008 in order to analyze
                                                the full population of payments.

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 Task
            Date         Professional   Hours                                           Activity
Category

   15      05/04/15 Eimer, Sean          0.8    Analyze intercompany claims to determine appropriate value to UCC.


                                                Draft questions and sample request for additional payment testing to the Debtors
   15      05/05/15 Rauch, Adam          1.2
                                                regarding Direct Reimbursements from 2008 through 2012.

                                                Research variances observed between Direct Reimbursement vendor detail provided
   15      05/05/15 Rauch, Adam          2.4    by the Debtors and TCEH Direct Reimbursement summary of payments made
                                                previously provided to analyze potential intercompany claims.

                                                Revise stratification chart depicting potential coverage of invoice analysis for the 2008
   15      05/05/15 Rauch, Adam          0.9
                                                - 2012 Direct Reimbursement payments.


                                                Analyze population of Direct Payments made on sample dates from 2007 - 2012 in
   15      05/05/15 Rauch, Adam          0.6
                                                order to develop a listing of applicable vendors to further test.

                                                Assess Debtor produced documents in order to understand accounting treatment of
   15      05/06/15 Rauch, Adam          1.7
                                                Money Pool transactions.


                                                Prepare illustrations of accounting activity that typically occurred as a result of money
   15      05/06/15 Rauch, Adam          2.4
                                                pool transactions to be included in presentation to Counsel regarding the same.

                                                Participate in call with A&M to discuss the open items on the intercompany claims
   15      05/07/15 Diaz, Matthew        0.4
                                                analysis.


                                                Draft comments on intercompany materials prepared for MoFo to assess potential
   15      05/07/15 Park, Ji Yon         0.6
                                                intercompany claims.

                                                Participate on call with Counsel regarding TCEH shared services payments to assess
   15      05/07/15 Rauch, Adam          0.8
                                                potential value of intercompany claims.


                                                Draft correspondence to the Debtors regarding outstanding questions on Direct
   15      05/07/15 Rauch, Adam          1.1
                                                Reimbursements.

                                                Continue to research variances observed between Direct Reimbursement vendor detail
   15      05/07/15 Rauch, Adam          0.7    provided by the Debtors and TCEH Direct Reimbursement summary of payments
                                                made previously provided.

                                                Analyze intercompany claims (T-side) for the purpose of quantifying potential
   15      05/07/15 Eimer, Sean          2.7
                                                defensive claims.


                                                Continue to analyze intercompany claims (E-side) for the purpose of quantifying
   15      05/07/15 Eimer, Sean          0.8
                                                potential defensive claims.


                                                Finalize intercompany information request document to be sent to Counsel in order to
   15      05/08/15 Park, Ji Yon         0.2
                                                determine outstanding potential intercompany claims.




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 Task
            Date         Professional   Hours                                           Activity
Category

                                                Draft section of money pool presentation to Counsel regarding typical accounting
   15      05/08/15 Rauch, Adam          2.4
                                                practices surrounding the TCEH Money Pool including sample illustrative examples.


                                                Analyze typical activity that flows through the TCEH Money Pool (with the exception
   15      05/11/15 Rauch, Adam          1.7
                                                of interest and taxes) to determine potential intercompany claims.


                                                Draft summary of operational and financial activity flowing through the T-Side Money
   15      05/11/15 Rauch, Adam          1.3
                                                Pool from 2008 through the petition date.


                                                Participate in call with Counsel regarding Direct Reimbursements from the T-Side to
   15      05/11/15 Rauch, Adam          0.1
                                                the E-side.


                                                Continue to analyze typical activity that flows through the TCEH Money Pool (with
   15      05/11/15 Rauch, Adam          2.3
                                                the exception of interest and taxes).


                                                Research tax journal entries within the Money Pool to determine the effect on money
   15      05/11/15 Rauch, Adam          0.5
                                                pool balances.

                                                Analyze open issues and next steps on the money pool analysis to determine value of
   15      05/12/15 Diaz, Matthew        1.1
                                                potential intercompany claims.

                                                Analyze operational transactions (including direct reimbursements) that were
   15      05/12/15 Rauch, Adam          2.4
                                                processed through the TCEH Money Pool.


                                                Research state tax journal entries in short term money pool account to assess potential
   15      05/12/15 Rauch, Adam          0.9
                                                intercompany claim.


                                                Assess state and local taxes paid which were processed through the Money Pool in
   15      05/13/15 Rauch, Adam          1.9
                                                order to determine potential intercompany claim.


   15      05/13/15 Rauch, Adam          1.2    Research state tax entries recorded in the Money Pool accounts of the T-Side Debtors.



   15      05/15/15 Diaz, Matthew        2.3    Perform detailed analysis of the claims waterfall calculations.



   15      05/15/15 Diaz, Matthew        0.9    Analyze money pool open issues including responses from the Debtors.


                                                Assess liquidation analysis for additional information per request by counsel in order
   15      05/15/15 Park, Ji Yon         0.4
                                                to assess intercompany claims.


                                                Continue to assess liquidation analysis in order to identify any deficiencies in
   15      05/18/15 Park, Ji Yon         0.9
                                                disclosure as it relates to intercompany claims.




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 Task
            Date        Professional   Hours                                          Activity
Category

                                               Revise summary of Money Pool activity from 2008 through 2013 to include the top 5
   15      05/18/15 Rauch, Adam         1.7
                                               TCEH Money Pool participants.

                                               Update money pool presentation to Counsel to include information regarding typical
   15      05/18/15 Rauch, Adam         1.9    activity that flowed through the TCEH Money Pool from 2008 through the Petition
                                               Date.

                                               Research Discovery production in order to identify Money Pool resolutions entered
   15      05/18/15 Rauch, Adam         2.1
                                               into among the T-Side Money Pool participants.


                                               Assess recent documents posted to the data room based on requests of the E-Side
   15      05/19/15 Rauch, Adam         0.4
                                               advisors' to assess for potential defensive claims.

                                               Analyze documents produced through Discovery relating to historical Money Pool
   15      05/19/15 Rauch, Adam         1.5
                                               practices.


                                               Examine documents posted through the Discovery production in order to identify
   15      05/19/15 Rauch, Adam         1.6
                                               Money Pool resolutions entered into among the T-Side Money Pool participants.


   15      06/01/15 Rauch, Adam         0.9    Update money pool presentation to Counsel to include summary of board resolutions.


                                               Update money pool presentation to Counsel to include a detailed Auto Styles analysis
   15      06/01/15 Rauch, Adam         2.7
                                               based upon most recent information received.


                                               Assess differences between money pool policy documents governing accounting and
   15      06/01/15 Rauch, Adam         1.6
                                               treasury functions in order to incorporate into the money pool presentation to Counsel.


   15      06/02/15 Rauch, Adam         1.8    Implement revisions to draft Money Pool presentation to Counsel.



   15      06/02/15 Rauch, Adam         2.6    Revise latest draft of the Money Pool presentation to Counsel.



   15      06/03/15 Diaz, Matthew       1.4    Provide comments on the money pool presentation to Counsel.


                                               Perform analysis of the money pool source documents for the purpose of sourcing
   15      06/04/15 Diaz, Matthew       2.9
                                               information in report to Counsel.


                                               Revise direct reimbursement analysis to include additional vendors to be considered in
   15      06/08/15 Rauch, Adam         1.0
                                               the sample selection following the Debtors response to request.


   15      06/10/15 Diaz, Matthew       1.4    Perform detailed analysis of the LC collateral account to assess exposure.




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 Task
            Date        Professional   Hours                                           Activity
Category

                                               Update Money Pool report to Counsel to include an example of the Control Sheet that
   15      06/10/15 Rauch, Adam         1.4
                                               was utilized by the Debtors in order to track money pool activity.


   15      06/11/15 Diaz, Matthew       1.1    Perform analysis of certain money pool transactions to assess exposure.


                                               Update Money Pool report to Counsel to include flow of funds chart detailing money
   15      06/11/15 Rauch, Adam         2.2
                                               pool transfers on sample dates for illustrative purposes.


                                               Analyze documents provided by the Debtors' related to request for information and
   15      06/11/15 Rauch, Adam         2.3
                                               inquiries regarding the Debtors' wirelogs.

                                               Update flow of funds chart detailing money pool transfers on sample dates for
   15      06/15/15 Rauch, Adam         0.8
                                               illustrative purposes for report to Counsel.


                                               Update Money Pool report to Counsel to include detail of analyses performed on
   15      06/15/15 Rauch, Adam         1.9
                                               select sample dates.


                                               Analyze 2014 wirelogs provided by the Debtors' Advisors in response to diligence
   15      06/15/15 Rauch, Adam         1.3
                                               inquiry in order to assess cross-stack transfers.


   15      06/16/15 Diaz, Matthew       2.5    Perform analysis of the i/c t-side balances to determine potential claims.


                                               Assess additional background and analyses to be included in the Money Pool report to
   15      06/16/15 Rauch, Adam         2.7
                                               Counsel.


                                               Prepare analysis in order to roll-forward select money pool account balances through
   15      06/16/15 Rauch, Adam         1.2
                                               the petition date based upon general ledger information received for the Debtors.


                                               Update Money Pool report to Counsel to include a summary of all procedures
   15      06/17/15 Rauch, Adam         2.6
                                               performed in FTI's analysis of the Money Pool accounts, activity, and balances.


                                               Update the Money Pool report to Counsel to include a summary of all procedures
   15      06/17/15 Rauch, Adam         2.1
                                               performed in FTI's analysis of the Money Pool accounts, activity, and balances.


                                               Revise sample date flow of funds narrative slide included in the Money Pool
   15      06/17/15 Rauch, Adam         2.4
                                               presentation to Counsel.


                                               Analyze EFH draft term sheet to assess the proposed settlement regarding
   15      06/17/15 Eimer, Sean         1.6
                                               intercompany claims.


                                               Prepare correspondence to the Debtors' Advisors regarding sample selection of
   15      06/18/15 Rauch, Adam         0.2
                                               specific Money Pool journal entries.




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Category

                                               Research general ledger detail in order to understand typical activity booked through
   15      06/18/15 Rauch, Adam         1.8
                                               the Money Pool excluding interest, taxes, and cash pooling.


                                               Update the Money Pool report to Counsel to include detail regarding typical activity
   15      06/18/15 Rauch, Adam         2.0
                                               observed from 2008 through 2013.


                                               Prepare sample selection list to the Debtors' Advisors regarding specific journal
   15      06/18/15 Rauch, Adam         1.1
                                               entries observed in the Money Pool general ledger detail.


                                               Analyze interest calculation and interest payments detailed in files sent by the Debtors
   15      06/26/15 Eimer, Sean         0.9
                                               to determine amount of interest payments that hit the money pool accounts.


   15      07/01/15 Diaz, Matthew       0.8    Analyze March/April intercompany transfer reports.


                                               Assess money pool interest calculation sample selections provided by the Debtors to
   15      07/06/15 Rauch, Adam         2.6
                                               ascertain the reasonableness of historical interest charged through the money pool.


                                               Incorporate results of money pool Interest calculation sample selection analysis into
   15      07/06/15 Rauch, Adam         1.5
                                               the presentation to Counsel regarding the money pools.


                                               Analyze invoices provided by the Debtors in response to direct reimbursement sample
   15      07/08/15 Rauch, Adam         3.3
                                               request from 2008 through 2012.


                                               Assess support documentation provided by the Debtors regarding direct
   15      07/08/15 Rauch, Adam         0.8
                                               reimbursements from 2008 through 2012.

                                               Analyze vendor invoices and payments included in the sample selection of direct
   15      07/09/15 Rauch, Adam         3.4
                                               reimbursement vendors from 2008 through 2012.


                                               Incorporate vendor relationships into analysis of direct reimbursements from 2008
   15      07/09/15 Rauch, Adam         2.7
                                               through 2012.


                                               Asses support documentation provided by the Debtors in response to diligence
   15      07/09/15 Rauch, Adam         0.4
                                               requests regarding pre-petition professional fees.


   15      07/13/15 Rauch, Adam         2.0    Update direct reimbursement analysis of payments and vendor relationships.


                                               Prepare correspondence to A&M regarding inquiry on direct reimbursement
   15      07/13/15 Rauch, Adam         0.8
                                               discrepancy observed.


                                               Assess 2013 direct reimbursement sample data in order to assess if business unit
   15      07/13/15 Rauch, Adam         1.7
                                               discrepancy consistent with discrepancies observed in 2008 through 2012.




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            Date        Professional   Hours                                           Activity
Category

   15      07/13/15 Rauch, Adam         0.2    Participate in call with the Debtors' Advisors regarding direct reimbursement inquiry.


                                               Analyze wire transfer support documentation provided by the Debtors on the latest
   15      07/14/15 Rauch, Adam         2.4    money pool questions including sample requests to assess certain activity flowing
                                               through the TCEH money pool.

                                               Participate on call with the Debtors' Advisors regarding large unsecured and rejection
   15      07/17/15 Rauch, Adam         0.4
                                               damage claims.

                                               Analyze journal entry support documentation provided by the Debtors on the latest
   15      07/21/15 Rauch, Adam         2.4    money pool diligence requests to assess certain activity flowing through the TCEH
                                               money pool.
                                               Cross reference journal entry support re: money pool transactions against direct
   15      07/23/15 Rauch, Adam         3.2    reimbursement data in order to confirm business unit liability was correctly reflected
                                               in the TCEH money pools.
                                               Prepare analysis of money pool journal entries associated with direct reimbursements
   15      07/24/15 Rauch, Adam         2.1    in order to illustrate to the Debtors' advisors possible variances between the money
                                               pool activity and direct reimbursement payment activity.

   15      07/28/15 Diaz, Matthew       2.9    Perform detailed analysis of claims support in connection with the standing motion.



   15      07/30/15 Diaz, Matthew       1.7    Analyze open claim items in advance of the call with A&M.



   15      07/30/15 Diaz, Matthew       0.5    Participate in call with Counsel re status of claims analysis and key open issues.


                                               Draft correspondence to the Debtors' Advisors regarding the direct reimbursement
   15      07/30/15 Rauch, Adam         0.3
                                               variance analysis.


                                               Update direct reimbursement analysis comparing potential variances between money
   15      07/30/15 Rauch, Adam         1.7
                                               pool allocations and payment detail previously provided.


                                               Analyze money pool sample information provided by the Debtors in order to
   15      08/10/15 Rauch, Adam         1.9
                                               summarize activity flowing through the money pools from 2008 - 2013.

                                               Update the money pool report to Counsel with updates regarding activity observed
   15      08/10/15 Rauch, Adam         1.2
                                               flowing through the money pools and observations regarding sample testing.


                                               Update the money pool report to Counsel to include updated analysis of Luminant
   15      08/11/15 Rauch, Adam         1.2
                                               Energy activity by category based upon diligence information received.


                                               Update the money pool report to Counsel to include updated analysis of Big Brown
   15      08/11/15 Rauch, Adam         0.2
                                               activity by category based upon diligence information received.




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Category

                                                 Update the money pool report to Counsel to include updated analysis of Luminant
   15      08/11/15 Rauch, Adam           0.4
                                                 Holdings activity by category based upon diligence information received.


                                                 Update the money pool report to Counsel to include updated analysis of Luminant
   15      08/11/15 Rauch, Adam           0.6
                                                 Generation activity by category based upon diligence information received.


                                                 Update the money pool report to Counsel to include updated analysis of TXU Energy
   15      08/11/15 Rauch, Adam           0.9
                                                 Retail activity by category based upon diligence information received.

15 Total                                 148.2

   16      05/01/15 Diaz, Matthew         1.5    Analyze Debtors' response to the scheduling motion.
                                                 Evaluate REIT capital needs and business plan analysis for the purpose of examining
   16      05/01/15 Simms, Steven         0.4
                                                 updated term sheet.
   16      05/01/15 Scruton, Andrew       0.4    Correspond with Counsel on developments re: Mediator selection.

   16      05/04/15 Simms, Steven         0.3    Correspond with Counsel re: confirmation of case issues and associated deliverables.
                                                 Examine the revised scheduling motion re: timing of key case issues and associated
   16      05/06/15 Eisenband, Michael    1.3
                                                 deliverables.
   16      05/07/15 Diaz, Matthew         1.5    Analyze potential REIT plan structures and term sheet to assess value to T-side UCC.

   16      05/07/15 Eisenband, Michael    0.9    Examine issues re: timing of key case issues and associated deliverables.
                                                 Examine tax claim items and related impact on valuation in order to review disclosure
   16      05/08/15 Simms, Steven         0.6
                                                 items in the updated term sheet.
   16      05/11/15 Diaz, Matthew         0.7    Analyze the revised scheduling motion.
                                                 Analyze Scheduling and Mediation Order and Stipulation to evaluate any impact on
   16      05/11/15 Davido, Scott         0.5
                                                 issues ultimately requiring expert support from financial advisors.
                                                 Participate in UCC professionals advisors call re: scheduling/mediation order, Oncor
   16      05/11/15 Davido, Scott         0.4
                                                 REIT plan and potential impact on recoveries.
   16      05/12/15 Eisenband, Michael    0.7    Examine key issues the Debtors identified in their response to the scheduling motion.
                                                 Examine items related to Rabbi trust payments and other related payments to third
   16      05/14/15 Simms, Steven         0.3
                                                 parties.
   16      05/15/15 Diaz, Matthew         0.8    Analyze the liquidation analysis in order to identify issues in the disclosure statement.

   16      05/15/15 Eisenband, Michael    1.1    Assess creditor recovery resulting from the REIT structure.
                                                 Examine economics of REIT structure re: potential recoveries ahead of meeting with
   16      05/18/15 Eisenband, Michael    0.7
                                                 UCC.
                                                 Correspond with Counsel re: mediation process and how it relates to the plan of
   16      05/19/15 Scruton, Andrew       0.8
                                                 reorganization.
                                                 Examine the liquidation analysis and the issues noted in the disclosure statement
   16      05/19/15 Eisenband, Michael    1.2
                                                 related to the analysis.
   16      05/21/15 Simms, Steven         0.3    Assess REIT capital raising status issues and impact on proposed term sheet.
                                                 Correspond with Counsel on status of mediation process re: interdebtor/intercompany
   16      05/22/15 Scruton, Andrew       0.8
                                                 claims.
   16      05/22/15 Diaz, Matthew         0.5    Analyze the objection to the Debtors' exclusivity extension motion.
                                                 Participate in Committee call re: Update report on current Debtors financial
   16      05/26/15 Davido, Scott         0.4
                                                 performance.

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Category
   16      05/27/15 Eisenband, Michael    0.8    Examine potential proposed REIT structures to assess value to T-side UCC.

   16      05/28/15 Diaz, Matthew         0.6    Analyze exclusivity objections and related implications.

   16      05/29/15 Eisenband, Michael    1.3    Analyze updated REIT plan structure and examine updated term sheet.

   16      06/01/15 Eisenband, Michael    1.0    Analyze various causes of action items and value of intercompany claims.

   16      06/02/15 Diaz, Matthew         1.2    Analyze exclusivity hearing ruling, including supporting documents.

   16      06/02/15 Diaz, Matthew         1.5    Analyze the liquidation analysis for reasonableness of assumptions.

   16      06/03/15 Diaz, Matthew         1.6    Analyze Disclosure Statement to identify disclosure issues.

   16      06/04/15 Eisenband, Michael    1.3    Analyze potential disclosure issues.
                                                 Evaluate monthly financial performance variance and key drivers for change versus
   16      06/04/15 Simms, Steven         1.5
                                                 plan ahead of call with creditors.
   16      06/05/15 Scruton, Andrew       0.5    Correspond with Counsel on status of issues re: mediation.

   16      06/08/15 Diaz, Matthew         2.9    Analyze exhibits to the Disclosure Statement to assess disclosure risks.

   16      06/08/15 Diaz, Matthew         0.4    Participate in call with Counsel regarding the Disclosure Statement.

   16      06/09/15 Eisenband, Michael    0.6    Analyze recent term sheet to determine recoveries to creditors.

   16      06/11/15 Eisenband, Michael    0.9    Analyze disclosure agreements to assess treatment of GUCs.
                                                 Analyze term sheet provided by Counsel to Ad Hoc bondholders to determine
   16      06/12/15 Scruton, Andrew       2.5
                                                 potential recoveries.
   16      06/15/15 Diaz, Matthew         0.7    Participate in call with Counsel to discuss the plan term sheet.

   16      06/15/15 Diaz, Matthew         2.8    Analyze the term sheet including comparisons to prior versions.

   16      06/15/15 Eisenband, Michael    1.2    Examine analysis of the term sheet to determine sources of recovery.
                                                 Analyze REIT proposal to asses creditor treatment and analysis of input of creditors in
   16      06/15/15 Simms, Steven         2.6
                                                 different tranches.
   16      06/16/15 Diaz, Matthew         1.1    Participate in call with the Committee's processionals to discuss the plan term sheet.

   16      06/16/15 Diaz, Matthew         0.8    Analyze plan term sheet to assess treatment of GUCs.
                                                 Participate in call with Counsel to discuss REIT term sheet and analysis to be
   16      06/16/15 Simms, Steven         0.9
                                                 completed ahead of meeting with creditors.
   16      06/16/15 Simms, Steven         2.2    Evaluate creditor impact from REIT term sheet and alternative items.
                                                 Analyze materials associated with REIT proposal and ahead of call with Ad Hoc
   16      06/17/15 Simms, Steven         1.4
                                                 Group.
   16      06/18/15 Eisenband, Michael    2.1    Analyze terms of Plan Support Agreement.

   16      06/23/15 Eisenband, Michael    1.0    Analyze revised Plan of Reorganization to assess recovery percentages.

   16      06/24/15 Diaz, Matthew         0.6    Analyze updated proposed confirmation dates to determine litigation timeline.

   16      06/24/15 Eisenband, Michael    0.9    Draft comments re: Plan negotiations to Counsel.



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            Date        Professional     Hours                                          Activity
Category
   16      06/29/15 Diaz, Matthew         1.1    Analyze updated scheduling order to assess litigation timeline.

   16      06/29/15 Simms, Steven         0.2    Draft comments re: REIT analysis and status of Ad Hoc Group.

   16      07/01/15 Diaz, Matthew         1.2    Analyze alternative plan proposals and next steps.

   16      07/01/15 Diaz, Matthew         0.6    Analyze revised scheduling motion to assess timing for next steps.

   16      07/01/15 Eisenband, Michael    1.0    Analyze alternative plan proposals to determine creditor recoveries.

   16      07/02/15 Diaz, Matthew         1.6    Analyze possible REIT plan economics.

   16      07/06/15 Simms, Steven         0.4    Participate in call with creditor on Ad Hoc Group proposal and impact on creditors.

   16      07/07/15 Diaz, Matthew         1.5    Analyze recoveries included in the plan term sheet.

   16      07/07/15 Scruton, Andrew       1.2    Analyze developments on the settlement discussions re: T-side plan.

   16      07/08/15 Diaz, Matthew         1.1    Analyze GUC recoveries in updated plan term sheet.

   16      07/08/15 Eisenband, Michael    1.0    Provide comments re: recoveries assumed in the plan term sheet.

   16      07/08/15 Scruton, Andrew       2.3    Assess analysis of potential recoveries under T-side plan negotiation scenarios.

   16      07/08/15 Scruton, Andrew       1.2    Assess negotiation developments re: treatment of TCEH 1st Liens.

   16      07/09/15 Diaz, Matthew         1.4    Analyze updated term sheets and related claim sensitivity.

   16      07/09/15 Eisenband, Michael    1.0    Analyze updates to the term sheet including recoveries based on claim sensitivity.
                                                 Participate in UCC professionals call to examine terms of potential T-side consensual
   16      07/09/15 Scruton, Andrew       0.7
                                                 plan.
   16      07/09/15 Scruton, Andrew       1.9    Examine summary of T-side plan negotiations.

   16      07/10/15 Diaz, Matthew         1.1    Analyze Plan term sheet and related correspondence.

   16      07/10/15 Scruton, Andrew       1.8    Perform assessment of negotiations between T-side creditor groups.

   16      07/10/15 Scruton, Andrew       2.5    Analyze terms of potential T-side consensual plan and related impact on recoveries.

   16      07/13/15 Diaz, Matthew         1.1    Prepare for the EFH Committee call by examining Committee presentation.

   16      07/13/15 Simms, Steven         0.4    Evaluate report on plan structure and determine mechanisms to address PCRB issue.

   16      07/14/15 Scruton, Andrew       1.8    Evaluate the analysis of T-side unsecured claims.

   16      07/14/15 Scruton, Andrew       1.5    Analyze proposed T-side plan terms contained in settlement.

   16      07/14/15 Scruton, Andrew       1.1    Evaluate latest settlement developments re: T-side plan.
                                                 Evaluate term sheet and plan items for changes and issues that impact claims
   16      07/14/15 Simms, Steven         0.6
                                                 treatment.
   16      07/14/15 Eisenband, Michael    1.0    Analyze updated settlement proposal and impact on creditor recoveries.

   16      07/15/15 Scruton, Andrew       1.1    Examine draft materials for UCC re: claims pool sizing analysis.



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            Date         Professional    Hours                                            Activity
Category
                                                 Provide comments on the final version of materials for UCC summarizing T-side
   16      07/16/15 Scruton, Andrew       1.7
                                                 claims.
                                                 Provide comments on report for the Committee analyzing recoveries to T side
   16      07/16/15 Scruton, Andrew       2.1
                                                 unsecured creditors based upon ranges of assumed value for a REIT.
                                                 Participate in call with Counsel and Lazard to discuss analysis of proposal for the
   16      07/16/15 Simms, Steven         1.0
                                                 UCC.
                                                 Participate in UCC call to examine and discuss analysis of the proposal and
   16      07/16/15 Simms, Steven         1.1
                                                 appropriate next steps and further analysis required.
   16      07/16/15 Simms, Steven         0.7    Participate in call with Creditor on issues in proposed plan and their classes treatment.
                                                 Participate in call with Creditor on issues surrounding proposed plan and impact on
   16      07/16/15 Simms, Steven         0.6
                                                 their class.
   16      07/17/15 Simms, Steven         0.6    Revise claims summary schedule for group and payments to date to trade.

                                                 Examine revised Plan and Disclosure Statement including related term sheets for
   16      07/17/15 Davido, Scott         2.4    tentative intercreditor deals on "T" side, and consider valuation implications of FTI
                                                 model versus financial model underlying current proposals.

   16      07/17/15 Davido, Scott         0.8    Examine Lazard draft presentation summarizing potential REIT transaction.
                                                 Participate in UCC professionals only call to discuss the foregoing, and creating
   16      07/17/15 Davido, Scott         0.9
                                                 consensus among the UCC constituencies.
                                                 Assess plan alternatives and develop list of "asks" to the 1st lien term sheet in advance
   16      07/17/15 Diaz, Matthew         1.2
                                                 of call with Committee's professionals.
   16      07/17/15 Diaz, Matthew         1.9    Analyze the updated plan proposal and related documents.

   16      07/17/15 Diaz, Matthew         1.1    Develop list of issues to be discussed with Counsel on the plan proposal.
                                                 Examine communications between Counsel and other parties in connection with T-
   16      07/17/15 Scruton, Andrew       1.1
                                                 side plan.
                                                 Participate in call with Counsel and Lazard to examine plan negotiations regarding
   16      07/17/15 Scruton, Andrew       2.1
                                                 treatment of creditor constituencies.
                                                 Assess issues affecting treatment of creditor constituencies under potential T-side
   16      07/17/15 Scruton, Andrew       2.9
                                                 consensual plan.
                                                 Analyze the plan and related documents to develop a list of comments for the ad
   16      07/19/15 Diaz, Matthew         2.9
                                                 hocs/1st liens.
   16      07/19/15 Diaz, Matthew         1.2    Analyze the settlement agreement including impact on recoveries.
                                                 Examine proposed plan and issues list prepared by Counsel in preparation for call with
   16      07/20/15 Davido, Scott         0.8
                                                 UCC members and advisors.
   16      07/20/15 Davido, Scott         0.8    Participate in Committee call to discuss proposed plan and key issues.

   16      07/20/15 Diaz, Matthew         0.9    Edit the outstanding plan issues list for the Committee call.

   16      07/20/15 Eisenband, Michael    1.0    Provide comments re: proposed plan and plan issues list prepared by Counsel.

   16      07/20/15 Simms, Steven         0.3    Participate in call with professionals to discuss REIT deal and issues for unsecured.
                                                 Analyze claims pool issues and trade treatment in transaction to develop plan
   16      07/20/15 Simms, Steven         0.6
                                                 proposal.
                                                 Participate in UCC call addressing latest plan proposal and recommended
   16      07/20/15 Simms, Steven         0.4
                                                 modifications.
   16      07/21/15 Davido, Scott         0.8    Analyze revised drafts of Plan to evaluate proposed changes in negotiations.

   16      07/21/15 Diaz, Matthew         0.6    Participate in call with Counsel on the updated plan changes.

   16      07/21/15 Diaz, Matthew         0.5    Participate in call with a creditor to discuss the plan alternatives.

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            Date         Professional    Hours                                            Activity
Category
   16      07/21/15 Diaz, Matthew         2.4    Analyze the updated plan documents to determine impact on recoveries.

   16      07/21/15 Scruton, Andrew       1.3    Evaluate proposed T-side plan terms.

   16      07/21/15 Scruton, Andrew       0.9    Correspond with Counsel on latest settlement discussions re: T-side plan.

   16      07/21/15 Simms, Steven         0.3    Analyze claims issues, including preference presentation for plan purposes.

   16      07/22/15 Diaz, Matthew         2.9    Perform detailed analysis of the current plan and supporting documents.

   16      07/22/15 Diaz, Matthew         0.5    Participate in call with a creditor on the plan process.

   16      07/22/15 Eisenband, Michael    1.0    Evaluate Plan term sheets for treatment of unsecured creditor constituencies.

   16      07/22/15 Scruton, Andrew       0.9    Analyze draft plan term sheets for treatment of unsecured creditor constituencies.

   16      07/22/15 Scruton, Andrew       1.1    Analyze draft materials for UCC re: preferences for settlement purposes.

   16      07/22/15 Simms, Steven         0.3    Evaluate claims issues related to PCRB Plan treatment and alternatives.
                                                 Analyze proposed plan and issues list prepared by counsel, focusing on claims
   16      07/23/15 Davido, Scott         0.5
                                                 treatment and preferences.
   16      07/23/15 Davido, Scott         0.5    Participate in Committee call to discuss proposed Plan, claims, and preferences.

   16      07/23/15 Scruton, Andrew       0.9    Provide comments on the presentation to the UCC summarizing potential preferences.

   16      07/23/15 Scruton, Andrew       0.5    Provide comments on the revised draft plan term sheets.
                                                 Participate in call with Counsel to address open plan items and analysis required on
   16      07/23/15 Simms, Steven         0.3
                                                 claims.
                                                 Participate in call with Counsel and Lazard to examine plan issues between different
   16      07/24/15 Scruton, Andrew       0.6
                                                 plan proposals.
   16      07/24/15 Scruton, Andrew       1.8    Provide comments on the revised drafts of T-side plan versus E-side recap plan.

   16      07/27/15 Davido, Scott         0.7    Analyze updated proposed Plan in preparation for call with the Committee.

   16      07/27/15 Davido, Scott         0.4    Participate in UCC members and UCC advisors call to discuss updated proposed plan.

   16      07/27/15 Eisenband, Michael    1.0    Participate in call among UCC professionals to discuss status of plan negotiations.

   16      07/27/15 Scruton, Andrew       1.3    Analyze plan terms and recoveries to unsecured creditors.

   16      07/27/15 Scruton, Andrew       0.7    Participate in follow up call with UCC to examine next steps in T-side Plan process.

   16      07/27/15 Simms, Steven         0.6    Participate in call with Creditor regarding plan issues.

   16      07/28/15 Davido, Scott         0.1    Analyze revised drafts of plan to evaluate proposed changes in negotiations.

   16      07/28/15 Davido, Scott         0.3    Participate in UCC member and advisor update telephone conference re: same.

   16      07/28/15 Diaz, Matthew         1.7    Analyze terms contained in the updated Plan documents.

   16      07/28/15 Scruton, Andrew       1.2    Evaluate proposed T-side Plan terms.

   16      07/28/15 Scruton, Andrew       1.1    Evaluate latest settlement re: T-side plan.



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Category
                                                 Participate in call with Creditors to discuss changes with plan and impact on
   16      07/28/15 Simms, Steven         0.8
                                                 recoveries.
   16      07/29/15 Diaz, Matthew         1.9    Analyze the updated Plan documents to assess plan recoveries.

   16      07/29/15 Scruton, Andrew       1.9    Perform analysis of the draft Plan for treatment of unsecured creditor constituencies.

   16      07/29/15 Eisenband, Michael    1.0    Examine latest changes to the plan term sheet for recovery purposes.

   16      07/29/15 Simms, Steven         0.7    Evaluate latest changes to plan term sheet and impact on different secured classes.
                                                 Analyze proposed Plan focusing on claims treatment and preferences in preparation
   16      07/30/15 Davido, Scott         0.5
                                                 for call with Committee.
                                                 Participate in call with Committee and Committee advisors to discuss proposed Plan,
   16      07/30/15 Davido, Scott         0.5
                                                 claims and preferences.
   16      07/30/15 Diaz, Matthew         1.2    Analyze the updated plan documents to determine impact on recoveries.

   16      07/30/15 Scruton, Andrew       0.8    Participate in call with Counsel to examine proposed plan issues.

   16      07/30/15 Scruton, Andrew       1.4    Provide comments on the revised draft Plan term sheets.

   16      07/30/15 Simms, Steven         0.4    Discuss with Creditor regarding proposal and changes to proposal.

   16      07/31/15 Davido, Scott         0.3    Examine revised term sheet to assess treatment of T-side GUCs.
                                                 Participate in call with UCC members and UCC advisors re: latest plan term
   16      07/31/15 Davido, Scott         0.5
                                                 discussions and open issues.
   16      07/31/15 Diaz, Matthew         0.8    Analyze updated Plan documents to determine treatment of T-side UCCs.

   16      07/31/15 Scruton, Andrew       0.6    Participate in Committee call to discuss status of negotiations.

   16      07/31/15 Scruton, Andrew       1.2    Participate in call with Counsel to review proposed plan.

   16      07/31/15 Scruton, Andrew       1.7    Provide comments on the revised drafts of T-side plan.
                                                 Call with professionals regarding proposed modifications to plan and analysis
   16      07/31/15 Simms, Steven         0.4
                                                 required.

                                                 Examine updated proposed Plan and issues list prepared by Counsel in preparation for
   16      08/03/15 Davido, Scott         0.3
                                                 call with Committee to review open issues and creditor recoveries on "T" side.

                                                 Participate in UCC professionals call to prepare for Committee call re: Plan
   16      08/03/15 Davido, Scott         0.5
                                                 negotiations.
   16      08/03/15 Diaz, Matthew         1.7    Analyze updated Plan documents ahead of call with Committee.

   16      08/03/15 Simms, Steven         0.6    Participate in call with creditors on proposed Plan and Term sheet issues.
                                                 Participate in UCC professionals call to discuss proposed plan ahead of the upcoming
   16      08/03/15 Diaz, Matthew         0.7
                                                 Committee meeting.
   16      08/03/15 Scruton, Andrew       0.4    Prepare for Committee call to discuss terms of POR.

   16      08/03/15 Davido, Scott         0.5    Participate in Committee call to discuss Plan negotiations.

   16      08/04/15 Eisenband, Michael    1.5    Analyze updated claim recovery analysis.

   16      08/04/15 Diaz, Matthew         0.5    Draft comments regarding updated Disclosure Statement.

   16      08/04/15 Diaz, Matthew         1.1    Analyze the revised claim analysis in connection with analysis of draft plan.

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Category
   16      08/04/15 Scruton, Andrew       1.1    Participate in discussion with Counsel on latest settlement discussions re: T-side plan.

   16      08/04/15 Simms, Steven         0.6    Evaluate changes to disclosure statement and impact on creditor recoveries.

   16      08/05/15 Diaz, Matthew         1.8    Analyze the updated Disclosure Statement to assess creditor recoveries.

   16      08/05/15 Diaz, Matthew         0.9    Analyze the updated liquidation analysis to determine claim assumptions.

   16      08/05/15 Scruton, Andrew       1.1    Analyze draft plans for treatment of unsecured creditor constituencies.

   16      08/05/15 Simms, Steven         0.4    Analyze updates to the Disclosure Statement.
                                                 Participate in call with MoFo and Lazard to discuss near to final Plan terms and
   16      08/06/15 Davido, Scott         0.3
                                                 remaining UCC issues.
   16      08/06/15 Diaz, Matthew         1.8    Analyze the Plan support agreement to assess creditor recoveries.
                                                 Participate in call with Counsel and to analyze outstanding issues with the proposed
   16      08/06/15 Scruton, Andrew       0.8
                                                 Plan.
   16      08/06/15 Scruton, Andrew       1.2    Provide comments to Counsel on the revised draft Plan.

   16      08/07/15 Davido, Scott         0.3    Analyze the revised term sheet to assess creditor recoveries.

   16      08/07/15 Davido, Scott         0.5    Participate in Committee call re: latest Plan term discussions and open issues.

   16      08/07/15 Diaz, Matthew         1.5    Analyze updates to the Plan documents to determine changes from prior draft.

   16      08/07/15 Scruton, Andrew       0.5    Participate in call with Counsel regarding updated Plan documents.

   16      08/07/15 Scruton, Andrew       0.5    Provide comments to Counsel on revised drafts of T-side plan.

   16      08/10/15 Diaz, Matthew         2.6    Analyze updates to the Plan materials to assess updates from prior drafts.

   16      08/10/15 Scruton, Andrew       0.3    Prepare for Committee call re: POR.

   16      08/11/15 Scruton, Andrew       1.2    Examine finalized T-side Plan to assess treatment of unsecured creditors.

   16      08/14/15 Scruton, Andrew       0.5    Participate in calls with Counsel to discuss Plan confirmation deadlines.

   16      08/14/15 Eisenband, Michael    0.3    Examine plan confirmation deadlines to evaluate recoveries.

   16      08/17/15 Eisenband, Michael    1.7    Analyze revised terms in updated plan draft to evaluate creditor recoveries.
                                                 Examine filings by E-side creditor constituencies objecting to Disclosure Statement to
   16      08/18/15 Scruton, Andrew       1.2
                                                 determine counter arguments.
   16      08/18/15 Scruton, Andrew       0.8    Participate in discussion with Counsel on Status Conference hearing.
                                                 Analyze comments on E-side creditor constituencies objections to the Disclosure
   16      08/18/15 Eisenband, Michael    1.0
                                                 Statement to determine potential counter.
   16      08/24/15 Eisenband, Michael    1.5    Analyze updated term sheet to evaluate creditor recoveries.

   16      08/28/15 Diaz, Matthew         1.2    Assess term sheet provided by a stakeholder to evaluate recoveries.

   16      08/31/15 Diaz, Matthew         1.4    Analyze proposed term sheet and assessed implications.

   16      08/31/15 Simms, Steven         0.8    Evaluate revised proposal from Creditor.



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 Task
            Date         Professional   Hours                                            Activity
Category

16 Total                                197.4

                                                Analyze open question list to the Debtors on the transition bonds in order to determine
   18      05/01/15 Diaz, Matthew        0.8
                                                potential causes of action items.

                                                Draft comments to Counsel regarding questions related to the Transition Bonds for
   18      05/01/15 Rauch, Adam          2.7
                                                upcoming meeting with the Debtors.

                                                Participate on call with Counsel regarding comments to questions related to the
   18      05/01/15 Rauch, Adam          0.1
                                                Transition Bonds.

                                                Participate in call with Counsel to discuss revisions to the list of potential questions to
   18      05/01/15 Rauch, Adam          0.2
                                                the Debtors on Transition Bonds.

   18      05/01/15 Rauch, Adam          1.8    Revise latest draft of the Transition Bond section of the Standing Motion.

                                                Examine entities permitted to received payments under the first day motions to
   18      05/01/15 Eimer, Sean          2.3
                                                determine whether they were properly excluded from preference analysis.

                                                Participate in preference status call with A&M to discuss outstanding questions
   18      05/04/15 Park, Ji Yon         0.4
                                                related to the preference analysis.
                                                Participate in call with A&M to discuss preference analysis, including outstanding
   18      05/04/15 Eimer, Sean          0.9    issues, calculation methodology, and ongoing research related to the preference
                                                analysis.
                                                Provide support documentation to certain questions regarding Transition Bonds to
   18      05/05/15 Rauch, Adam          0.4
                                                Counsel in preparation for meeting with the Debtors regarding the same.

                                                Assess revised questions for potential interview with the Debtors prepared by Counsel
   18      05/05/15 Rauch, Adam          1.3
                                                regarding the transition bonds.

   18      05/05/15 Rauch, Adam          0.1    Participate in call with Counsel regarding transition bonds meeting with the Debtors.

                                                Revise preference summary table to include excluded vendor payment categories and
   18      05/05/15 Eimer, Sean          1.7
                                                transaction count.

                                                Compile all relevant support documentation to be referenced in meeting with the
   18      05/06/15 Rauch, Adam          1.9
                                                Debtors regarding transition bonds required for analysis.

   18      05/06/15 Rauch, Adam          1.4    Draft list of supporting documentation cited in presentation related to transition bonds.

                                                Analyze outstanding list of open questions regarding transition bonds to assess the
   18      05/07/15 Diaz, Matthew        0.6
                                                amount of the claim.

                                                Draft updated diligence list to A&M based on recent meetings in order to identify
   18      05/07/15 Park, Ji Yon         0.3
                                                potential transactions that should be included in the preference claim.

                                                Participate in Transition Bond meeting with Counsel in anticipation of interview with
   18      05/07/15 Rauch, Adam          2.9
                                                the Debtors employees.

                                                Cross reference preference vendors to first day motions to determine if the payments
   18      05/07/15 Eimer, Sean          2.1
                                                were permitted by court via first day orders.

                                                Analyze differences between various support memorandums produced through
   18      05/08/15 Rauch, Adam          2.7
                                                Discovery regarding the Transition Bonds at the request of Counsel.


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 Task
            Date         Professional   Hours                                           Activity
Category
                                                Assess additional support documentation sent by Counsel relating to the Transition
   18      05/08/15 Rauch, Adam          1.2
                                                Bonds.

                                                Reconcile diligence list of documents to preference payment database from the
   18      05/11/15 Park, Ji Yon         1.8
                                                debtors.

   18      05/11/15 Park, Ji Yon         0.6    Evaluate ways to calculate potential preference recovery.

                                                Revise diligence list to A&M incorporating recent documents A&M in response to
   18      05/11/15 Park, Ji Yon         0.4
                                                FTI's list of questions regarding the preference analysis.

   18      05/11/15 Rauch, Adam          0.3    Research non-funded debt claims among the TCEH debtors at the request of Counsel.


   18      05/11/15 Rauch, Adam          0.2    Participate on call with Counsel regarding Transition Bonds interview materials.

                                                Examine updated preference analysis summary to assess reasonableness of the
   18      05/12/15 Diaz, Matthew        1.5
                                                potential preference claim.

   18      05/12/15 Park, Ji Yon         1.7    Draft updates to detailed preference database to reflect current FTI diligence.

                                                Research certain preference payments to determine whether the payments should be
   18      05/12/15 Park, Ji Yon         0.6
                                                excluded from the preference analysis.

                                                Sensitize the debtor's preference recovery estimates to determine range of values for
   18      05/12/15 Park, Ji Yon         0.4
                                                the potential preference claim.

                                                Assess revised discussion materials regarding meeting with the Debtors on Transition
   18      05/12/15 Rauch, Adam          2.8
                                                Bonds.

                                                Participate in call with Counsel regarding revisions to Transition Bonds discussion
   18      05/12/15 Rauch, Adam          0.3
                                                document and binder.
                                                Analyze deliverables with regards to the transfer of generation related assets included
   18      05/12/15 Rauch, Adam          0.6    in the Master Separation agreement produced through Discovery and provided by
                                                Counsel.
                                                Revise detail summary of preference analysis by incorporating notes and disclosures
   18      05/12/15 Eimer, Sean          2.6
                                                listed in first day motions.

   18      05/13/15 Diaz, Matthew        1.4    Examine the list of questions on the diligence list to A&M.

                                                Analyze certain preference analysis classifications to determine the process used to
   18      05/13/15 Park, Ji Yon         0.8
                                                classify preference payments.

                                                Continue to revise the list of questions to AM re: preference as a result of recent
   18      05/13/15 Park, Ji Yon         0.4
                                                research related to certain vendors.

                                                Analyze estimated preference recovery calculation for certain vendors to update the
   18      05/13/15 Park, Ji Yon         0.7
                                                sensitivity analysis.

                                                Correspond with the Debtor's advisors regarding inquiry to outstanding diligence
   18      05/13/15 Rauch, Adam          0.1
                                                questions.

                                                Research documents at the request of Counsel regarding the payment of Q4 2013
   18      05/13/15 Rauch, Adam          0.8
                                                Sponsor fees to determine potential causes of action items.


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 Task
            Date         Professional   Hours                                          Activity
Category
                                                Participate in call with A&M re: preference update to assess the reasonableness of the
   18      05/14/15 Park, Ji Yon         0.2
                                                potential preference claim.

                                                Assess revisions to preference database and open diligence items in order to determine
   18      05/14/15 Park, Ji Yon         0.5
                                                the reasonableness of the potential preference claim.

                                                Correspond with A&M re: status of diligence requests to understand recent research
   18      05/14/15 Park, Ji Yon         0.2
                                                related to excluded vendor payments.

                                                Analyze historical causes of action items with A&M in order to determine potential
   18      05/14/15 Eimer, Sean          0.5
                                                causes of action items.

                                                Analyze vendor payments permitted in the first day motions to determine if certain
   18      05/14/15 Eimer, Sean          1.5
                                                excluded vendors payments were appropriated excluded from preference analysis.

                                                Analyze updated calculations on four large vendor payments to determine sensitivity
   18      05/15/15 Park, Ji Yon         1.7
                                                on revised potential preference summary.

                                                Revise preference summary by including notes and disclosures from examining
   18      05/15/15 Eimer, Sean          1.1
                                                payments permitted by the first day motions/orders.
                                                Analyze documents relating to and supporting certain payments made during the
   18      05/15/15 Eimer, Sean          1.1    preference period in order to determine the reasonableness of A&M's preference
                                                analysis.
                                                Examine lien vendor motion for the purpose of determining if payments to certain
   18      05/15/15 Eimer, Sean          2.6
                                                excluded vendors in the preference analysis were permitted by the Court.

                                                Examine customer program motion for the purpose of determining if payments to
   18      05/15/15 Eimer, Sean          2.5
                                                certain excluded vendors in the preference analysis were permitted by the Court.
                                                Examine EFH 2014 10K regarding nuclear insurance program to understand if
   18      05/15/15 Eimer, Sean          0.7    payments to certain vendor for the insurance program should be excluded from the
                                                preference analysis.
                                                Analyze preference documents in preparation for the preference call with A&M to
   18      05/18/15 Diaz, Matthew        0.6
                                                assess reasonableness of various causes of action items.

                                                Participate in call with A&M to discuss preference open items in order to assess
   18      05/18/15 Diaz, Matthew        0.4
                                                deliverables required to finalize the preference claim analysis.

   18      05/18/15 Park, Ji Yon         1.8    Revise FTI analysis for top vendors to determine sensitivity on preference claim.


   18      05/18/15 Park, Ji Yon         0.1    Participate in call with A&M re: status of open preference diligence requests.

                                                Update preference analysis by including revised FTI calculations in preference
   18      05/18/15 Park, Ji Yon         0.7
                                                summary table to outline effect on potential claim.

                                                Research Counsel's inquiry regarding payment mechanics of Advisory fees paid to the
   18      05/18/15 Rauch, Adam          0.7
                                                Sponsors to assess potential causes of action items.

                                                Research issuance of the LBO Notes at the request of Counsel to assess potential
   18      05/18/15 Rauch, Adam          0.4
                                                causes of action items.

                                                Participate on call with the Debtors' advisors regarding responses to preference
   18      05/18/15 Rauch, Adam          0.2
                                                diligence questions.




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            Date         Professional   Hours                                           Activity
Category
                                                Assess status of preference work completed to date to determine strength of
   18      05/18/15 Rauch, Adam          1.2
                                                arguments.
                                                Continue to analyze employee wage motion for the purpose of determining if
   18      05/18/15 Eimer, Sean          2.7    payments to certain excluded vendors in the preference analysis were permitted by the
                                                Court.
                                                Revise preference summary by incorporating outstanding questions to A&M for the
   18      05/18/15 Eimer, Sean          2.1
                                                purpose of identifying outstanding potential claims.

                                                Examine issues outlined in the preference analysis including impact on proposed
   18      05/19/15 Diaz, Matthew        2.4
                                                preference claim.

                                                Revise preference analysis by including new disclosures from researching various
   18      05/19/15 Park, Ji Yon         0.9
                                                preference payments excluded from preference analysis.

   18      05/19/15 Park, Ji Yon         0.4    Draft email to Counsel re: open preference diligence issues and questions for counsel.

                                                Analyze changes to the potential preference claim as a result of the revised
   18      05/19/15 Park, Ji Yon         0.6
                                                calculations.

   18      05/19/15 Rauch, Adam          0.4    Prepare intercompany transfers analysis as part of the preference analyses.

                                                Participate on diligence update call with the Debtors' advisors to assess potential
   18      05/19/15 Rauch, Adam          0.5
                                                causes of action items.

   18      05/19/15 Rauch, Adam          2.4    Assess latest analyses with regards to current outlook on potential preference claims.

                                                Examine SoFA Schedule G to ascertain whether certain vendors had contracts with
   18      05/19/15 Eimer, Sean          2.2
                                                debtors.

                                                Revise preference summary to include updated preference calculations reflecting
   18      05/19/15 Eimer, Sean          1.9
                                                sensitivity for each excluded transaction.

                                                Revise FTI notes section in preference summary by incorporating notes from call with
   18      05/19/15 Eimer, Sean          1.9
                                                A&M in order to outline potential increases in preference claim.

                                                Participate in call with the Debtors to discuss transition bonds in order to assess
   18      05/20/15 Diaz, Matthew        0.9
                                                potential causes of action items.

                                                Examine transition bonds source documents in preparation for the call with the
   18      05/20/15 Diaz, Matthew        3.3
                                                Debtors to assess reasonableness of the causes of action items.

   18      05/20/15 Diaz, Matthew        1.1    Analyze key issues on the preference analysis including MoFo question list.


   18      05/20/15 Park, Ji Yon         0.8    Analyze preference recovery analysis for individual vendors.

                                                Further research EFH Corporate Services petition date cash balance at the request of
   18      05/20/15 Rauch, Adam          0.4
                                                Counsel.

                                                Participate in debrief meeting with Counsel regarding the interview with the Debtors'
   18      05/20/15 Rauch, Adam          0.5
                                                regarding Committee's diligence questions regarding Transition Bonds.

                                                Participate in meeting with Counsel and the Debtors regarding the Committee's
   18      05/20/15 Rauch, Adam          0.9
                                                diligence questions regarding Transition Bonds.


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            Date        Professional   Hours                                           Activity
Category

   18      05/20/15 Rauch, Adam         0.2    Participate in meeting with Counsel regarding cash held at EFH Corporate Services.


   18      05/20/15 Rauch, Adam         0.4    Participate on call with Counsel regarding cash held at EFH Corporate Services.

                                               Examine final binder of questions and support documentation provided by Counsel in
   18      05/20/15 Rauch, Adam         3.3
                                               preparation for meeting with the Debtors regarding Transition Bonds.

                                               Analyze methodology utilized by the Debtors to calculate potential preference
   18      05/20/15 Rauch, Adam         1.4
                                               recoveries for certain vendors in preparation for call with Counsel re: methodology.

                                               Update diligence request listing to reflect verbal update given by the Debtors' advisors
   18      05/20/15 Rauch, Adam         0.6
                                               to the outstanding diligence items.

                                               Participate in pre-meeting with Counsel regarding the interview with the Debtors'
   18      05/20/15 Rauch, Adam         0.6
                                               regarding Committee's diligence questions regarding Transition Bonds.

                                               Prepare summary of EFH Corporate Services current cash balance by bank account,
   18      05/21/15 Rauch, Adam         0.4
                                               comparing to the petition date balances.

                                               Draft memo summarizing meeting with the Debtors regarding the historical Transition
   18      05/21/15 Rauch, Adam         2.3
                                               Bond and Make Whole Agreement Transactions.

                                               Research legacy Discovery production for information concerning potential preference
   18      05/21/15 Rauch, Adam         0.8
                                               counterparty.

                                               Participate on call with Counsel regarding draft of memo summarizing Transition
   18      05/21/15 Rauch, Adam         0.2
                                               Bonds meeting with the Debtors.

                                               Examine revised calculations that incorporate paid and unpaid new value to determine
   18      05/21/15 Eimer, Sean         2.1
                                               the effect on the potential preference claim.

                                               Examine documents related to first lien collateral for trading/hedging counterparties to
   18      05/21/15 Eimer, Sean         1.7
                                               determine treatment of certain hedge payments during the preference period.

                                               Revise preference summary by incorporating revised notes regarding first lien
   18      05/22/15 Eimer, Sean         1.1
                                               collateral for trading/hedging counterparties.

   18      05/27/15 Diaz, Matthew       0.5    Participate in call with Counsel on preference issues.


   18      05/27/15 Diaz, Matthew       0.4    Preparer call with Counsel on preference issues.


   18      05/27/15 Rauch, Adam         0.9    Prepare for call with Counsel regarding preference analyses and latest status.


   18      05/27/15 Rauch, Adam         1.1    Participate in call with Counsel regarding preference analyses and latest status.

                                               Analyze potential preference claim with MoFo to assess revised calculations
   18      05/27/15 Eimer, Sean         1.1
                                               incorporating paid and unpaid transactions.

   18      05/28/15 Rauch, Adam         0.3    Participate on weekly diligence update call with A&M.


   18      05/28/15 Rauch, Adam         1.2    Revise updated draft of Transition Bonds memorandum sent by Counsel.


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Category

   18      05/29/15 Diaz, Matthew       0.5    Participate in call with A&M on possible preference actions.


   18      05/29/15 Diaz, Matthew       0.6    Analyze possible preference actions in preparation for the call with the Debtors.

                                               Analyze listing documents provided by the Debtors' former auditors in order to
   18      05/29/15 Rauch, Adam         2.7
                                               develop a request listing for documents relating to potential causes of action.

                                               Participate on update call with the Debtors' Advisors regarding preference diligence
   18      05/29/15 Rauch, Adam         0.4
                                               listing.

   18      05/29/15 Rauch, Adam         0.9    Participate in discussion with Counsel regarding Transition Bonds memorandum.

                                               Analyze potential preference claim with A&M to discuss outstanding requests and
   18      05/29/15 Eimer, Sean         0.7
                                               calculation methodology.

   18      06/01/15 Diaz, Matthew       0.9    Analyze terms and associated claims re: transition bonds.


   18      06/01/15 Diaz, Matthew       0.4    Update memo to MoFo re: transition bond analysis.

                                               Assess request listing to be sent to the Debtors' former auditors for documents relating
   18      06/01/15 Rauch, Adam         1.9
                                               to potential causes of action.

                                               Analyze latest draft of Transition Bond memorandum of meeting with the Debtors
   18      06/01/15 Rauch, Adam         1.4
                                               prepared by Counsel which reflects FTI's comments.

   18      06/01/15 Rauch, Adam         0.2    Participate in call with Counsel regarding Transition Bond memorandum.


   18      06/02/15 Rauch, Adam         0.2    Participate in call with Counsel regarding draft of Standing Motion.

                                               Update diligence tracker at the request of the Debtors' advisors and circulate prior to
   18      06/03/15 Rauch, Adam         0.4
                                               weekly call to discuss status of open items.

   18      06/04/15 Rauch, Adam         0.7    Participate in call with the Debtors re: outstanding diligence requests.


   18      06/04/15 Rauch, Adam         0.2    Correspond with the Debtors' advisors regarding diligence listing.

                                               Research Letter of Credit Facility at the request of Counsel in connection with
   18      06/10/15 Rauch, Adam         2.0
                                               Marathon litigation.

                                               Participate in call with Counsel regarding Letter of Credit Facility in connection with
   18      06/10/15 Rauch, Adam         0.3
                                               Marathon litigation.

                                               Participate in follow-up call with Counsel regarding Letter of Credit Facility in
   18      06/10/15 Rauch, Adam         0.7
                                               connection with Marathon litigation.

   18      06/11/15 Rauch, Adam         0.4    Participate in call with the Debtors re: outstanding diligence requests.

                                               Update diligence tracker to incorporate updates provided by the Debtors' Advisors
   18      06/11/15 Rauch, Adam         0.3
                                               pursuant to the weekly call.



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Category
                                                Assess Debtor post-petition filings related to Letter of Credit Facility bank account at
   18      06/11/15 Rauch, Adam          0.8
                                                the request of Counsel.

                                                Assess documents produced through Discovery relating to letter of credit facility bank
   18      06/11/15 Rauch, Adam          2.8
                                                account in connection with Marathon litigation at the request of Counsel .

                                                Prepare correspondence to Counsel regarding status of Letter of Credit bank account
   18      06/11/15 Rauch, Adam          0.2
                                                documentation.

                                                Research documents provided through Discovery in order to ascertain petition date
   18      06/12/15 Rauch, Adam          2.1
                                                balance of Deposit L/C bank account.

   18      06/12/15 Rauch, Adam          0.2    Correspond with the Counsel regarding Deposit L/C Collateral account.


   18      06/12/15 Rauch, Adam          0.2    Correspond with the Debtors' advisors regarding Deposit L/C Collateral account.

                                                Analyze organizational structures per draft term sheet dated June 12, 2015 to assess
   18      06/15/15 Eimer, Sean          2.0
                                                potential recoveries.

   18      06/16/15 Park, Ji Yon         0.3    Draft status and next steps memo re: preference analysis.


   18      06/17/15 Diaz, Matthew        0.9    Provide comments to the preference analysis.


   18      06/17/15 Park, Ji Yon         0.5    Examine updated assumptions re: preference analysis.


   18      06/17/15 Park, Ji Yon         0.4    Draft shell presentation to counsel on preference analysis.

                                                Prepare outline of analysis to be included in preference discussion materials for
   18      06/17/15 Park, Ji Yon         0.3
                                                Counsel.

   18      06/18/15 Park, Ji Yon         1.0    Update preference analysis for certain vendors based on due diligence.

                                                Analyze updated preference calculations by including paid / unpaid transactions to
   18      06/18/15 Eimer, Sean          1.1
                                                calculate total preference claim.

                                                Update preference calculations by including paid / unpaid transactions to calculate
   18      06/18/15 Eimer, Sean          1.3
                                                total preference claim for the vendor payments included in potential preference claim.


   18      06/19/15 Park, Ji Yon         0.5    Provide comments to preference analysis presentation.


                                                Draft summary re: remaining preference payments in presentation to Counsel to
   18      06/22/15 Eimer, Sean          1.1
                                                illustrate remaining population of vendors included in the potential preference claim.

                                                Create bridge chart to summarize how the Debtors excluded vendor payments from the
   18      06/22/15 Eimer, Sean          0.8
                                                potential preference claim.

                                                Update preference calculations to remove any instance where paid / unpaid invoices
   18      06/22/15 Eimer, Sean          0.7
                                                were double counted for the purpose of determining the potential preference claim.



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   18      06/23/15 Park, Ji Yon         0.4    Draft updates to preference presentation for MOFO.

                                                Develop bridge chart illustrating the decrease in the potential preference claim by
   18      06/23/15 Eimer, Sean          2.3
                                                analyzing the revised excluded vendor payment categories.

                                                Prepare summary regarding the remaining payments included in the potential
   18      06/23/15 Eimer, Sean          1.7
                                                preference claim.

   18      06/25/15 Diaz, Matthew        1.5    Analyze the update recovery analysis.


   18      06/25/15 Park, Ji Yon         0.6    Analyze updated preference presentation provided by A&M.


   18      06/25/15 Eimer, Sean          0.5    Participate in call with A&M (partial) to discuss outstanding diligence requests.

                                                Update diligence request list in order to request data from A&M to analyze potential
   18      06/25/15 Eimer, Sean          1.7
                                                claims.

                                                Analyze updated documentation regarding the potential preference claim to determine
   18      06/25/15 Eimer, Sean          1.9
                                                new preference calculations.

   18      06/26/15 Park, Ji Yon         0.6    Analyze updated preference presentation provided by A&M.


   18      06/26/15 Park, Ji Yon         0.4    Analyze refreshed vehicle listing in connection with unencumbered assets.

                                                Analyze updated preference presentation prepared by A&M to assess updates to the
   18      06/26/15 Eimer, Sean          1.3
                                                potential preference claim.

   18      06/29/15 Park, Ji Yon         0.6    Finalize open preference questions re: report to Counsel.


   18      06/29/15 Park, Ji Yon         0.9    Draft follow up questions on preference materials provided by A&M.


   18      06/29/15 Park, Ji Yon         1.4    Perform detailed analysis of the preference materials provided by A&M.

                                                Examine support documentation regarding A&M's revised preference analysis for the
   18      06/29/15 Eimer, Sean          3.1
                                                purpose of assessing the potential preference claim.
                                                Determine vendors that were excluded from certain preference categories as a result of
   18      06/29/15 Eimer, Sean          1.7    A&M's revised preference analysis for the purpose of assessing the potential
                                                preference claim.
                                                Revise preference bridge chart by incorporating A&M's revised preference values for
   18      06/29/15 Eimer, Sean          1.9    each payment category in order to illustrate the changes in the potential preference
                                                claim.
                                                Examine A&M's revised preference presentation to analyze the changes in the
   18      06/29/15 Eimer, Sean          1.6
                                                preference calculations for the purpose of analyzing the estimated recovery.

   18      06/30/15 Diaz, Matthew        1.4    Analyze the updated Debtors' preference analysis to assess impact on FTI's analysis.




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Category

   18      06/30/15 Park, Ji Yon         0.7    Update preference materials for presentation to UCC.


   18      06/30/15 Park, Ji Yon         0.5    Participate in call with A&M re: preference analysis and FTI questions.

                                                Revise potential preference claim by including the new vendors based on A&M's
   18      06/30/15 Eimer, Sean          1.9    revised analysis for the purpose of updating the potential preference sensitivity
                                                analysis.
                                                Revise FTI preference calculations by incorporating A&M's revised estimated
   18      06/30/15 Eimer, Sean          2.3
                                                recovery for each vendor for the potential preference sensitivity analysis.

                                                Analyze A&M's revised preference summary for the purpose of understanding the
   18      06/30/15 Eimer, Sean          1.3
                                                changes in the potential preference claim.

   18      07/01/15 Diaz, Matthew        1.1    Analyze the Debtors' updated preference analysis.

                                                Revise potential preference sensitivity analysis by removing 503(b)(9) invoices to
   18      07/01/15 Eimer, Sean          1.7
                                                illustrate range of potential preference claim.

   18      07/02/15 Park, Ji Yon         1.6    Draft FTI's preference analysis for report to UCC.

                                                Update diligence request tracker to incorporate latest responses from the Debtors'
   18      07/06/15 Rauch, Adam          0.3
                                                advisors.

                                                Analyze documents recently provided by the Debtors' advisors posted in the data room
   18      07/06/15 Rauch, Adam          1.1
                                                in response to diligence requests.
                                                Revise summary table outlining the potential recovery amounts for all vendor
                                                payments made by T-side business units in presentation to Counsel by including the
   18      07/06/15 Eimer, Sean          1.4
                                                ordinary course and new value calculation methodology for the purpose of showing
                                                the range of potential preference recovery amounts.
                                                Revise summary table outlining the potential recovery amounts for all vendor
                                                payments made by T-side business units in presentation to Counsel by including the
   18      07/06/15 Eimer, Sean          1.5
                                                new value only calculation methodology for the purpose of showing the range of
                                                potential preference recovery amounts.
                                                Revise summary table outlining the potential recovery amounts for all vendor
                                                payments made by T-side business units in presentation to Counsel by including the
   18      07/06/15 Eimer, Sean          1.6
                                                new value less 503(b)(9) calculation methodology for the purpose of showing the
                                                range of potential preference recovery amounts.

                                                Draft executive summary outlining steps required to diligence A&M's preference data
   18      07/06/15 Eimer, Sean          2.7
                                                for the purpose of preparing a presentation on the preference claims to Counsel.

                                                Revise summary table outlining the potential recovery amounts for all vendor
                                                payments made by EFH Corporate Services in presentation to Counsel by including
   18      07/07/15 Eimer, Sean          1.6
                                                the ordinary course and new value calculation methodology for the purpose of
                                                showing the range of potential preference recovery amounts.
                                                Revise summary table outlining the potential recovery amounts for all vendor
                                                payments made by EFH Corporate Services in presentation to Counsel by including
   18      07/07/15 Eimer, Sean          1.6
                                                the new value only calculation methodology for the purpose of showing the range of
                                                potential preference recovery amounts.



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Category
                                                Revise summary table outlining the potential recovery amounts for all vendor
                                                payments made by EFH Corporate Services in presentation to Counsel by including
   18      07/07/15 Eimer, Sean          1.7
                                                the new value less 503(b)(9) calculation methodology for the purpose of showing the
                                                range of potential preference recovery amounts.

                                                Incorporate revised excluded vendor categories in bridge chart for the purpose of
   18      07/07/15 Eimer, Sean          2.9    explaining the examination of the excluded vendor payments from the potential
                                                preference amount identified by A&M.

                                                Incorporate revised preference recovery amounts by showing before and after
   18      07/08/15 Eimer, Sean          2.9    adjustments for assumed contracts for the purpose of illustrating range of potential
                                                preference recovery amount in presentation to Counsel.

                                                Analyze number of unique vendors after excluding certain payments for the purpose
   18      07/08/15 Eimer, Sean          2.1
                                                of finalizing the potential preference claim.

                                                Examine number of payments within 90 days of EFH petition date and total value of
   18      07/08/15 Eimer, Sean          1.9
                                                those payments made to TCEH committee members.

   18      07/09/15 Park, Ji Yon         1.6    Draft comments to FTI's preference analysis presentation to the UCC.


   18      07/09/15 Rauch, Adam          0.1    Correspond with Counsel regarding Transition Bond follow-up questions.


   18      07/09/15 Rauch, Adam          0.4    Participate on weekly diligence update call with the Debtors' Advisors.

                                                Draft explanation of FTI's calculation methodologies including the difference from
   18      07/09/15 Eimer, Sean          2.3    A&M's calculation methodologies to describe to Counsel the potential preference
                                                claim sensitivity analysis.
                                                Create summary table outlining potential preference claims for TCEH committee
   18      07/09/15 Eimer, Sean          2.7    members to illustrate the amount that can be potentially recovered from TCEH
                                                committee members.
                                                Analyze 2012 GL data provided by A&M ahead of diligence call to understand
   18      07/09/15 Eimer, Sean          1.8
                                                changes to the professional fee sensitivity analysis.

   18      07/10/15 Park, Ji Yon         0.5    Perform diligence sensitivity analysis on preference recovery.


   18      07/10/15 Park, Ji Yon         0.6    Analyze additional updates to the preference analysis.

                                                Revise executive summary re: preference in the presentation to Counsel by including
   18      07/10/15 Eimer, Sean          1.9    new details of the potential preference sensitivity analysis for the purpose of
                                                describing the range of potential preference recoveries.

                                                Incorporate updates to the executive summary re: preference in the presentation to
   18      07/10/15 Eimer, Sean          1.7    Counsel by including new details of FTI's calculation methodologies for the purpose
                                                of explaining the range of the potential preference recoveries.

                                                Draft summary of FTI's notes re: the excluded vendor payments from the potential
   18      07/10/15 Eimer, Sean          2.1    preference claims for the purpose of explaining why certain payments were excluded
                                                from the potential preference claim.



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Category

                                                Revise summary of FTI's notes re: the excluded vendor payments from the potential
   18      07/10/15 Eimer, Sean          1.7    preference claims by including new vendor payment exclusions as a result of the new
                                                data provided by A&M.

                                                Create summary of EFH Corporate Services' potential preference claims in
   18      07/10/15 Eimer, Sean          2.3    presentation to Counsel for the purpose of illustrating the potential preference amount
                                                that can be recovered by EFH Corporate Services.

                                                Create summary of T-side business units' potential preference claims in presentation to
   18      07/10/15 Eimer, Sean          2.2    Counsel for the purpose of illustrating the potential preference amount that can be
                                                recovered by T-side business units.

                                                Update EFH preference analysis summary table with updated vendor information
   18      07/12/15 Eimer, Sean          2.7    provided by A&M to illustrate revised potential preference claim as a result of the new
                                                information.


   18      07/13/15 Diaz, Matthew        0.8    Perform detailed analysis of the preference actions.


   18      07/13/15 Park, Ji Yon         0.8    Analyze additional updates to the preference analysis.


                                                Revise bridge chart illustrating excluded vendor payments by removing insider
   18      07/13/15 Eimer, Sean          2.7
                                                payments made within 90 days to properly estimate the potential preference claim.

                                                Incorporate summary of the exclusion of vendor payments made within 90 days into
   18      07/13/15 Eimer, Sean          2.3    presentation to Committee re: preference analysis to explain process for estimating the
                                                potential preference claim.
                                                Draft summary re: required diligence items from A&M in order to estimate the
   18      07/13/15 Eimer, Sean          2.5
                                                potential preference claim.

                                                Prepare draft summary re: legal questions for MoFo in order to estimate the potential
   18      07/13/15 Eimer, Sean          1.9
                                                preference claim.

                                                Include FTI sample calculations for the different scenarios by using a vendor in the
   18      07/14/15 Eimer, Sean          3.1
                                                potential preference claim for the preference analysis presentation to the Committee.

                                                Include summary table outlining A&M calculation methodology vs. FTI calculation
   18      07/14/15 Eimer, Sean          2.8    methodologies to show range of potential preference claims based on interpretation of
                                                the new value and ordinary course defenses.

                                                Examine payments excluded from the preference claim by A&M to include summary
   18      07/14/15 Eimer, Sean          2.9
                                                of excluded payments in presentation to Committee re: preference analysis.

                                                Include summary of potential preference claim by debtor for the preference analysis to
   18      07/14/15 Eimer, Sean          1.4
                                                illustrate magnitude of potential claim at each Debtor.

   18      07/15/15 Diaz, Matthew        2.1    Incorporate updates to the preference presentation for the Committee.


   18      07/15/15 Park, Ji Yon         1.1    Update preference analysis presentation to the Committee.




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Category
                                                Incorporate summary table of excluded vendor categories by Debtor into the
   18      07/15/15 Eimer, Sean          3.4
                                                preference analysis for the Committee report.
                                                Include additional detail of payments categorized as swap counterparties into the
   18      07/15/15 Eimer, Sean          2.6    summary table of notes for the examined excluded vendor categories from the
                                                potential preference claim.
                                                Revise summary table of FTI notes for the examined excluded vendor categories from
   18      07/15/15 Eimer, Sean          1.5    the potential preference claim by including additional detail for payments categorized
                                                as taxing authorities.
                                                Include summary of FTI's scenario analysis illustrating full range of potential
   18      07/15/15 Eimer, Sean          2.5    preference claims based on different interpretations on the treatment of new value and
                                                ordinary course of business.
                                                Revise example of FTI sample calculations to illustrate new value and ordinary course
   18      07/15/15 Eimer, Sean          1.7    defense treatments under the FTI scenarios for the preference analysis presentation to
                                                the Committee.

   18      07/16/15 Diaz, Matthew        2.4    Provide comments on the preference presentation to the Committee.


   18      07/16/15 Park, Ji Yon         0.9    Provide comments to the preference analysis presentation.

                                                Incorporate detail of non-intercompany insider payments into the preference analysis
   18      07/16/15 Eimer, Sean          2.7
                                                for the Committee presentation.

                                                Revise preference analysis by including detail of intercompany insider payments for
   18      07/16/15 Eimer, Sean          2.3
                                                the presentation to the Committee.

                                                Update the preference analysis by including detail summary of the largest
   18      07/16/15 Eimer, Sean          1.9
                                                intercompany insider transactions for the Committee report.

                                                Reconcile payments within 90 days to the SoFA Schedule 3B for the purpose to be
   18      07/16/15 Eimer, Sean          3.3
                                                included into the Committee presentation to illustrate the potential preference claim.


   18      07/17/15 Park, Ji Yon         1.4    Incorporate updates to the preference analysis presentation.

                                                Analyze interest payments made within 90 days to understand which interest payments
   18      07/17/15 Eimer, Sean          2.7    were included in the preference analysis for the purpose of estimating the potential
                                                preference claim.


                                                Analyze revised list of excluded vendor payments in the preference analysis by
   18      07/17/15 Eimer, Sean          1.8
                                                examining new supporting documentation for creditor professionals.


                                                Perform analysis of the revised list of excluded vendor payments in the preference
   18      07/17/15 Eimer, Sean          1.6
                                                analysis by examining new supporting documentation vendors with assumed contracts.


                                                Revise FTI illustrative scenario analysis summary table by including assumed contract
   18      07/17/15 Eimer, Sean          2.2    adjustment, professional fee, and settlement adjustment for T-side entities for the
                                                purpose of finalizing potential preference analysis presentation to the Committee.




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Category
                                                Edit the FTI illustrative scenario analysis summary table by including assumed
                                                contract adjustment, professional fee, and settlement adjustment for EFH Corporate
   18      07/17/15 Eimer, Sean          1.9
                                                Services for the purpose of finalizing potential preference analysis presentation to the
                                                Committee.

                                                Revise presentation Committee re: potential preference claim by including information
   18      07/17/15 Eimer, Sean          1.7    on settlement negotiations for a TCEH Committee member for the purpose of
                                                estimating the potential preference claim.

                                                Continue to revise presentation to Committee re: potential preference claim by
   18      07/17/15 Eimer, Sean          1.4    revising potential recovery for a Committee member due to settlement negotiations
                                                with the Debtors.


   18      07/20/15 Diaz, Matthew        0.6    Participate in call with Counsel on the preference analysis.


   18      07/20/15 Diaz, Matthew        0.9    Analyze preference sensitivity scenarios to determine potential claims.


   18      07/20/15 Park, Ji Yon         0.6    Participate in call with MoFo re: preference analysis.

                                                Update payments for TCEH Committee Members for the purpose of explaining
   18      07/20/15 Eimer, Sean          2.5
                                                potential exposure in presentation to Counsel.

                                                Revise preference presentation by incorporating data provided by MoFo to explain the
   18      07/20/15 Eimer, Sean          3.1
                                                potential scenario analysis in presentation to UCC.

   18      07/21/15 Diaz, Matthew        1.2    Update the preference analysis presentation based on Counsel's comments.


   18      07/21/15 Park, Ji Yon         0.7    Implement additional updates to preference presentation per call with MoFo.


   18      07/21/15 Park, Ji Yon         0.4    Follow up on preference questions with A&M.

                                                Update preference analysis by working with MoFo to explain the potential scenario
   18      07/21/15 Eimer, Sean          2.9
                                                analysis in presentation to UCC.

                                                Update preference analysis by working with MoFo to explain the potential range of
   18      07/21/15 Eimer, Sean          2.7
                                                claims as a result of the scenario analysis in presentation to UCC.

   18      07/22/15 Diaz, Matthew        2.5    Provide comments on the preference presentation to the Committee.


   18      07/22/15 Park, Ji Yon         0.8    Process final updates to preference presentation.


   18      07/22/15 Park, Ji Yon         0.4    Follow up on preference questions with A&M.

                                                Analyze A&M excluded vendor payments for the purpose of revising exclusions to the
   18      07/22/15 Eimer, Sean          3.3
                                                potential preference claims in presentation to UCC.

                                                Incorporate revised language on research performed on A&M's excluded vendor
   18      07/22/15 Eimer, Sean          2.1
                                                payments in presentation to UCC to explain the potential preference claims.



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              Date        Professional    Hours                                           Activity
Category
                                                  Perform detailed analysis of certain payments excluded by the Debtors in their
   18        07/23/15 Diaz, Matthew        3.2
                                                  preference analysis.

   18        07/23/15 Diaz, Matthew        0.6    Participate in call with Counsel to discuss the professional analysis.

                                                  Analyze PCRB interest payments in A&M's excluded vendor payments for the
   18        07/23/15 Eimer, Sean          2.7
                                                  purpose of investigating payments labeled as new value.

                                                  Analyze all interest payments at BNY Mellon in A&M's excluded vendor payments
   18        07/23/15 Eimer, Sean          2.9
                                                  for the purpose of investigating payments labeled as new value.

                                                  Analyze calculations in A&M's preference data to better explain the range of potential
   18        07/23/15 Eimer, Sean          1.4
                                                  preference claims.

   18        07/24/15 Eimer, Sean          1.3    Analyze trade vendor claims to estimate amount of GUC claims.


   18        07/30/15 Diaz, Matthew        0.9    Assess Debtors' responses to preference questions.


   18        07/30/15 Rauch, Adam          0.2    Participate on weekly diligence update call with the Debtors.


   18        07/30/15 Rauch, Adam          0.3    Participate in call with Counsel regarding outstanding intercompany diligence.

                                                  Prepare support documentation supporting statements made in the draft standing
   18        08/12/15 Rauch, Adam          0.6
                                                  motion regarding Transition Bond Claims.

                                                  Analyze draft of standing motion provided by Counsel in order to prepare support
   18        08/12/15 Rauch, Adam          2.4
                                                  documentation for figures represented.

                                                  Compile support documentation supporting statements made in the draft standing
   18        08/13/15 Rauch, Adam          0.7
                                                  motion regarding Shared Services Claims.

                                                  Compile support documentation supporting statements made in the draft standing
   18        08/13/15 Rauch, Adam          0.4
                                                  motion regarding Sponsor Claims.

18.A Total                                333.5

   21        05/01/15 Diaz, Matthew        0.5    Examine the Hunt Confidentiality agreement to assess proposed REIT structure.
                                                  Participate in call with Committee to analyze REIT economics and first lien
   21        05/06/15 Diaz, Matthew        0.5
                                                  investigation.
                                                  Participate in call with Committee to analyze REIT economics and first lien
   21        05/06/15 Scruton, Andrew      0.6
                                                  investigation.
                                                  Participate in call with Committee to analyze REIT economics and first lien
   21        05/06/15 Simms, Steven        0.4
                                                  investigation.
                                                  Participate in UCC call to discuss outcome of past Court hearing, including REIT
   21        05/06/15 Greenberg, Mark      0.6
                                                  process, and the objection to TCEH tax claims.
                                                  Participate in call with UCC counsel re: alternative REIT structures and mediator
   21        05/07/15 Diaz, Matthew        0.5
                                                  selection process.
                                                  Participate in call with Counsel and Lazard to discuss completed deliverables and
   21        05/07/15 Scruton, Andrew      0.4
                                                  outstanding items related to potential REIT structure.
                                                  Participate in call with Counsel re: alternative REIT structures and mediator selection
   21        05/07/15 Simms, Steven        0.4
                                                  process.
   21        05/07/15 Cordasco, Michael    0.6    Participate in call with counsel to discuss mediation of REIT plan.


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Category
                                                Participate in call with UCC counsel re: alternative REIT structures and mediator
   21      05/07/15 Greenberg, Mark      0.5
                                                selection process.
   21      05/08/15 Scruton, Andrew      1.0    Correspond with counsel on developments re: Mediator selection.
                                                Participate in UCC professionals advisors call re: scheduling/mediation order, Oncor
   21      05/11/15 Diaz, Matthew        0.4
                                                REIT plan and potential impact on recoveries.
                                                Participate in UCC professionals advisors call re: scheduling/mediation order, Oncor
   21      05/11/15 Simms, Steven        1.0
                                                REIT plan and potential impact on recoveries.
   21      05/11/15 Cordasco, Michael    0.5    Participate in call with Counsel to discuss mediation update.
                                                Participate in UCC call re: scheduling and mediation order, mediation selection
   21      05/11/15 Greenberg, Mark      0.3
                                                process and TCEH tax claims.
                                                Analyze Counsel's summaries of latest motions in order to determine potential causes
   21      05/12/15 Diaz, Matthew        0.5
                                                of action items.
                                                Participate in Committee call to discuss the REIT alternative and plan scheduling
   21      05/18/15 Diaz, Matthew        0.6
                                                order.
   21      05/18/15 Scruton, Andrew      1.1    Provide comments on the status report for UCC.
                                                Participate in Committee call to discuss the REIT alternative and plan scheduling
   21      05/18/15 Scruton, Andrew      0.8
                                                order.
   21      05/18/15 Simms, Steven        0.6    Participate in call with Committee on REIT, Rabbi Trust and exclusivity.
                                                Participate in call with UCC professionals on REIT status and issues to address with
   21      05/18/15 Simms, Steven        0.8
                                                UCC on call.
   21      05/18/15 Cordasco, Michael    0.7    Participate in call with UCC to discuss plan negotiations and contract stipulation.
                                                Participate in call with UCC professionals to discuss topics related to updated
   21      05/18/15 Cordasco, Michael    0.8
                                                business drivers for quarterly operating report.
                                                Participate in Committee call to discuss upcoming hearing and deliverables reported to
   21      05/26/15 Diaz, Matthew        0.4
                                                UCC.
   21      05/26/15 Simms, Steven        0.3    Participate in call with Committee on REIT and Exclusivity.
                                                Participate in call with UCC to discuss plan negotiations status and Q1 operating
   21      05/26/15 Cordasco, Michael    0.5
                                                results.
   21      05/28/15 Simms, Steven        0.4    Correspond with Counsel re: exclusivity hearing and discovery.

   21      06/01/15 Greenberg, Mark      0.3    Correspond with UCC counsel re: exclusivity motion and creditor negotiations.

   21      06/02/15 Scruton, Andrew      0.6    Participate in call with UCC to discuss exclusivity hearing and Plan update.

   21      06/02/15 Cordasco, Michael    0.6    Participate in call with UCC to discuss exclusivity / status of mediation.

   21      06/02/15 Greenberg, Mark      0.6    Participate in call with UCC to discuss exclusivity hearing and Plan update.

   21      06/08/15 Diaz, Matthew        0.4    Participate in Committee call to discuss the status of the Plan process and mediation.

   21      06/08/15 Cordasco, Michael    0.2    Participate in call with the Committee to discuss status of Plan negotiations.
                                                Participate in UCC call to discuss Plan / Disclosure Statement update and mediation
   21      06/08/15 Greenberg, Mark      0.2
                                                update.
   21      06/11/15 Cordasco, Michael    0.5    Participate in call with Counsel and Lazard to discuss REIT plan term sheet.

   21      06/11/15 Cordasco, Michael    0.2    Participate in call with Counsel to discuss pending motions.

   21      06/11/15 Greenberg, Mark      0.4    Participate in call with UCC professionals re: REIT status and Plan issues.



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Category
   21      06/15/15 Diaz, Matthew        0.5    Participate in call with the committee to discuss current case status.

   21      06/15/15 Simms, Steven        0.8    Participate in Committee call to discuss REIT proposal and Plan process.

   21      06/15/15 Cordasco, Michael    0.3    Participate in call with UCC to discuss status of mediation and Plan negotiations.
                                                Participate in call with Counsel to prepare talking points for upcoming call with the
   21      06/15/15 Cordasco, Michael    0.5
                                                Committee.
                                                Participate in call with Counsel and Lazard to discuss comments to draft Plan term
   21      06/15/15 Cordasco, Michael    0.7
                                                sheet.
   21      06/15/15 Cordasco, Michael    0.5    Provide diligence questions based on terms contained in draft term sheet.
                                                Participate in call with Counsel and Lazard to prepare diligence items in connection
   21      06/16/15 Cordasco, Michael    1.1
                                                with meeting with unsecured noteholders.
   21      06/16/15 Greenberg, Mark      1.1    Participate in call with UCC professionals to discuss REIT term sheet issues.
                                                Participate in meeting with Co-chairs to discuss REIT and case issues to develop go-
   21      06/18/15 Simms, Steven        1.6
                                                forward strategy.
                                                Participate in meeting with UCC Committee co-chairs to discuss Plan alternatives and
   21      06/18/15 Greenberg, Mark      1.6
                                                confirmation issues.
   21      06/19/15 Greenberg, Mark      0.5    Correspond with UCC professionals re: Plan negotiations.

   21      06/24/15 Diaz, Matthew        0.6    Participate in Committee call to discuss status of plan negotiations.

   21      06/24/15 Cordasco, Michael    0.6    Participate in call with the Committee to discuss status of Plan negotiations.
                                                Participate in Committee call to discuss upcoming confirmation scheduling
   21      06/24/15 Greenberg, Mark      0.5
                                                conference, Plan process, and mediation update.
   21      06/29/15 Scruton, Andrew      1.1    Participate in call with Committee.

   21      06/29/15 Cordasco, Michael    0.8    Participate in call with the Committee to discuss REIT structure and April operations.
                                                Participate in call with Committee to discuss confirmation scheduling conference,
   21      06/29/15 Greenberg, Mark      0.9
                                                REIT Plan term sheet and April 2015 operations.
   21      07/08/15 Greenberg, Mark      0.2    Correspond with MoFo re: EFIH debt make-whole premiums.

   21      07/09/15 Diaz, Matthew        0.8    Analyze the makewhole opinion and summary provided by Counsel.
                                                Participate in UCC professionals call to examine terms of potential T-side Consensual
   21      07/09/15 Diaz, Matthew        0.5
                                                Plan.
   21      07/13/15 Diaz, Matthew        1.0    Participate in Committee call re: plan discussions.

   21      07/13/15 Diaz, Matthew        0.8    Participate in second UCC call of day to discuss plan developments.

   21      07/13/15 Scruton, Andrew      1.1    Participate in second UCC call of day to examine next steps in T-side Plan process.

   21      07/13/15 Scruton, Andrew      0.8    Participate in call with the Committee to discuss status of plan negotiations.

   21      07/13/15 Cordasco, Michael    0.5    Participate in call with UCC to discuss status of plan negotiations.

   21      07/13/15 Cordasco, Michael    0.4    Participate in second UCC call of day to discuss status of plan term sheet.
                                                Participate in call with UCC members to discuss plan negotiations, EFIH claim
   21      07/13/15 Greenberg, Mark      1.4
                                                litigations, and upcoming omnibus hearing.
                                                Participate in call with UCC to discuss unsecured claim levels and plan recoveries
   21      07/16/15 Diaz, Matthew        1.1
                                                under the term sheet.


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Category
                                                Participate in UCC professionals call to discuss recommendations to UCC re: term
   21      07/16/15 Diaz, Matthew        1.0
                                                sheet.
                                                Participate in call with UCC professionals and the UCC to examine potential T-side
   21      07/16/15 Scruton, Andrew      2.3
                                                consensual plan.
                                                Participate in UCC professionals call to discuss recommendations to UCC re: term
   21      07/16/15 Cordasco, Michael    1.4
                                                sheet.
   21      07/16/15 Cordasco, Michael    1.5    Participate in call with UCC to discuss proposed term sheet.

   21      07/16/15 Greenberg, Mark      1.5    Participate on UCC professionals call to discuss plan proposal alternative.

   21      07/16/15 Greenberg, Mark      0.9    Participate in call with UCC member to discuss REIT organizational structure.

   21      07/16/15 Greenberg, Mark      0.5    Participate in UCC professionals call to discuss plan proposal alternative.

   21      07/17/15 Diaz, Matthew        0.3    Participate in call with Committee professionals to discuss plan issues.

   21      07/20/15 Diaz, Matthew        0.5    Discuss with Counsel claims analysis ahead of call with UCC.

   21      07/20/15 Diaz, Matthew        0.7    Participate in Committee call re: plan process.

   21      07/20/15 Diaz, Matthew        0.6    Participate in call with Counsel re the settlement term sheet.

   21      07/20/15 Cordasco, Michael    0.5    Participate in call with UCC professionals to discuss draft plan documents.

   21      07/20/15 Cordasco, Michael    0.8    Participate in call with UCC to discuss components of plan documents.

   21      07/20/15 Cordasco, Michael    0.3    Participate in call with Counsel to discuss ranges for potential tax claims.
                                                Participate in Committee call to discuss status of plan negotiations and a discussion of
   21      07/23/15 Diaz, Matthew        0.5
                                                the preference analysis.
   21      07/23/15 Diaz, Matthew        0.6    Participate in UCC professional call to prepare for upcoming Committee call.

   21      07/23/15 Cordasco, Michael    0.6    Participate in call with UCC re: plan negotiations and draft plan documents.

   21      07/27/15 Diaz, Matthew        0.8    Participate in UCC professionals call in preparation for the Committee meeting.

   21      07/27/15 Diaz, Matthew        0.6    Participate in Committee call to discuss the status of plan negotiations.
                                                Participate in discussion with the Committee re: current status of the Plan and REIT
   21      07/27/15 Scruton, Andrew      0.7
                                                transaction.
   21      07/28/15 Diaz, Matthew        0.6    Participate in EFH Committee call to discuss plan negotiations.

   21      07/30/15 Diaz, Matthew        0.7    Participate in UCC professional call to discuss the plan discussions.

   21      07/31/15 Diaz, Matthew        0.5    Participate in EFH Committee call to discuss updated plan proposal.

   21      08/03/15 Diaz, Matthew        0.6    Participate in Committee meeting to discuss Plan options.

   21      08/03/15 Scruton, Andrew      0.6    Participate in call with the UCC to discuss terms of draft POR.

   21      08/03/15 Cordasco, Michael    0.8    Participate in call with the UCC to discuss terms of draft POR.

   21      08/03/15 Cordasco, Michael    0.6    Participate in call with UCC professionals to discuss status of Plan negotiations.
                                                Correspond with UCC professionals re: Plan and Disclosure Statement issues and
   21      08/05/15 Greenberg, Mark      0.7
                                                creditor recoveries.


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            Date         Professional   Hours                                           Activity
Category
   21      08/07/15 Scruton, Andrew      0.7    Participate in Committee call to analyze final T-side proposal.

   21      08/07/15 Simms, Steven        0.7    Participate in Committee call on Plan and DS latest terms and UCC position on same.

   21      08/07/15 Diaz, Matthew        0.5    Participate in Committee call to discuss Plan negotiations.
                                                Participate in Committee call to discuss revised terms of POR and Disclosure
   21      08/07/15 Greenberg, Mark      0.5
                                                Statement.
   21      08/07/15 Cordasco, Michael    0.7    Participate in call with UCC re: plan negotiations.

   21      08/10/15 Scruton, Andrew      0.3    Participate in call with UCC to discuss status of POR and DS filings.

   21      08/10/15 Diaz, Matthew        0.3    Participate in Committee meeting to discuss case.
                                                Examine 8-K detailed terms of POR and settlement agreement to assess treatment
   21      08/10/15 Greenberg, Mark      0.4
                                                under REIT structure.
   21      08/10/15 Greenberg, Mark      0.2    Participate in call with UCC to discuss status of POR and DS filings.

   21      08/10/15 Cordasco, Michael    0.3    Participate in call with UCC to discuss plan negotiations.

   21      08/11/15 Greenberg, Mark      0.2    Correspond with UCC counsel re: Plan deliverables.

   21      08/19/15 Scruton, Andrew      0.5    Participate in call with UCC to discuss plan timing and schedule.

   21      08/19/15 Cordasco, Michael    0.4    Participate in call with UCC to discuss plan timing and schedule.
                                                Participate in call with UCC professionals to discuss objections to disclosure
   21      08/20/15 Cordasco, Michael    0.4
                                                statement.
   21      08/25/15 Greenberg, Mark      0.2    Correspond with UCC counsel re: hearing summary and case status.

   21      08/27/15 Cordasco, Michael    0.2    Participate in call with UCC professionals to discuss Plan deliverables.

   21      08/31/15 Simms, Steven        0.2    Participate in Committee call on settlement and related items.

   21      08/31/15 Diaz, Matthew        0.3    Participate in call with Committee to discuss case developments and Plan.

   21      08/31/15 Cordasco, Michael    0.3    Participate in call with UCC re: draft term sheet / claims resolution status.

21 Total                                71.0

                                                Participate in meeting with mediator and Ad Hoc advisor on case issues including
   22      05/28/15 Simms, Steven        2.9
                                                REIT and case background.

22 Total                                 2.9
                      Hellmund-Mora,
   23      05/04/15                      0.5    Prepare exhibits for the supplemental affidavit.
                      Marili
   23      05/07/15 Cordasco, Michael    0.8    Prepare initial draft of 2nd supplemental retention application.

   23      05/08/15 Cordasco, Michael    0.7    Prepare edits to draft second supplemental affidavit.
                                                Analyze results of conflict check to assess adequacy of disclosures for second
   23      05/08/15 Cordasco, Michael    1.9
                                                supplemental application.
                      Hellmund-Mora,
   23      05/08/15                      0.6    Incorporate updates to the disclosure exhibits for the supplemental affidavit.
                      Marili
   23      05/11/15 Diaz, Matthew        1.6    Edit the conflict check disclosures for supplemental affidavit.

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            Date         Professional   Hours                                           Activity
Category
   23      05/11/15 Cordasco, Michael    0.6    Prepare edits to draft supplemental retention affidavit.
                      Hellmund-Mora,
   23      05/13/15                      1.0    Incorporate additional parties in interest for the supplemental conflict check.
                      Marili
   23      05/20/15 Diaz, Matthew        0.6    Analyze updated conflict check results for disclosure in the supplemental declaration.

   23      05/20/15 Cordasco, Michael    0.8    Analyze results from conflict search for updated list of parties.

   23      05/21/15 Diaz, Matthew        0.8    Analyze potential disclosure items for inclusion in supplemental affidavit.
                                                Prepare correspondence to Counsel re: conflict check results for supplemental
   23      05/21/15 Cordasco, Michael    0.4
                                                retention document.
   23      05/21/15 Eimer, Sean          1.1    Examine listing of professional firms for inclusion in supplemental affidavit.
                      Hellmund-Mora,            Address conflict check items regarding additional entities for the supplemental
   23      05/21/15                      0.8
                      Marili                    affidavit.
                                                Analyze the results of the retention examination, including identifying possible
   23      05/22/15 Diaz, Matthew        0.9
                                                disclosures.
   23      05/22/15 Cordasco, Michael    0.5    Prepare correspondence for Counsel re: results of preliminary conflict check.
                      Hellmund-Mora,
   23      05/22/15                      0.7    Attend to retention matter regarding supplemental conflict check.
                      Marili
   23      05/27/15 Diaz, Matthew        0.3    Participate in call with FTI's internal counsel regarding the retention update.

   23      05/28/15 Diaz, Matthew        0.8    Update language regarding disclosures for the supplemental declaration.
                      Hellmund-Mora,
   23      05/28/15                      0.9    Analyze conflict check results to identify possible disclosures.
                      Marili
   23      05/29/15 Diaz, Matthew        0.6    Updated disclosure language on the supplemental declaration.
                      Hellmund-Mora,
   23      05/29/15                      0.9    Incorporate updates to exhibits for the supplemental declaration.
                      Marili
   23      06/04/15 Diaz, Matthew        0.4    Provide comments to retention papers.

   23      06/09/15 Diaz, Matthew        0.6    Update supplemental retention affidavit.

   23      06/09/15 Cordasco, Michael    0.4    Edit the supplemental retention declaration.

   23      06/10/15 Diaz, Matthew        0.5    Update retention disclosures in supplemental affidavit.

   23      06/10/15 Cordasco, Michael    0.6    Provide final comments to draft 2nd supplemental affidavit.

23 Total                                20.3
                      Hellmund-Mora,
   24      05/01/15                      0.9    Prepare April fee application to ensure compliance with local rules.
                      Marili
                                                Revise EFH Fee Application excel file so that all exhibits are in compliance with the
   24      05/03/15 Eimer, Sean          3.4
                                                Fee Committee's guidelines.
                                                Continue to revise the EFH Fee Application excel file so that all time detail is in
   24      05/04/15 Eimer, Sean          2.9
                                                compliance with the Fee Committee's guidelines.
                    Hellmund-Mora,
   24      05/04/15                      1.4    Prepare April fee application to ensure compliance with Fee Committee guidelines.
                    Marili
                    Hellmund-Mora,
   24      05/05/15                      1.0    Prepare April fee application to ensure compliance with Fee Committee guidelines.
                    Marili
   24      05/06/15 Eimer, Sean          2.8    Incorporate updates to the budget to actual file for March.


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 Task
            Date         Professional    Hours                                             Activity
Category
                      Hellmund-Mora,
   24      05/06/15                       1.3    Update April fee application to ensure compliance with Fee Committee guidelines.
                      Marili
   24      05/07/15 Friedrich, Steven     0.6    Update the monthly fee budgets.
                    Hellmund-Mora,               Incorporate updates to the April fee application to ensure compliance with Fee
   24      05/07/15                       1.8
                    Marili                       Committee guidelines.
                    Hellmund-Mora,
   24      05/08/15                       0.6    Revise April fee application to ensure compliance with Fee Committee guidelines.
                    Marili
   24      05/11/15 Eimer, Sean           2.5    Incorporate updates to the April fee application to ensure compliance with local rules.
                    Hellmund-Mora,
   24      05/11/15                       2.6    Prepare April fee application to ensure compliance with Fee Committee guidelines.
                    Marili
                    Hellmund-Mora,
   24      05/11/15                       1.9    Incorporate revisions to the April fee application.
                    Marili
   24      05/12/15 Eimer, Sean           2.9    Update the exhibits for the April fee application.

   24      05/13/15 Park, Ji Yon          1.4    Provide comments to the Third interim fee application.

   24      05/13/15 Rauch, Adam           2.6    Edit the third interim fee application.

   24      05/13/15 Eimer, Sean           2.7    Examine April fee application for compliance with local rules.

   24      05/13/15 Eisler, Marshall      3.1    Prepare edits for the Third interim fee application.

   24      05/13/15 Eisler, Marshall      1.7    Continue to prepare edits for the Third Interim application.

   24      05/13/15 Eimer, Sean           3.5    Continue to examine April fee application for compliance with local rules.

   24      05/13/15 Stolarz, Alexander    2.4    Revise the Interim Fee Application.

   24      05/14/15 Greenberg, Mark       0.5    Prepare Third interim fee application.

   24      05/14/15 Greenberg, Mark       1.0    Incorporate updates to the Third interim fee application.

   24      05/14/15 Park, Ji Yon          0.8    Incorporate updates to the Third interim fee application.

   24      05/14/15 Eimer, Sean           1.9    Analyze updates to the third interim fee application.

   24      05/14/15 Eisler, Marshall      3.4    Prepare edits for the Third Interim fee application.

   24      05/14/15 Stolarz, Alexander    0.6    Incorporate updates to the narrative for the Third interim fee application.

   24      05/15/15 Eisler, Marshall      2.3    Prepare edits for tax team re: March Fee application.

   24      05/18/15 Eimer, Sean           2.7    Incorporate updates to the April fee application.

   24      05/18/15 Eimer, Sean           2.5    Draft April Budget to Fee Actual summary by including updated April actuals.

   24      05/19/15 Cordasco, Michael     1.6    Provide comments to draft April fee application.
                                                 Compare updated April hours for business and tax task codes to prior budget to actual
   24      05/19/15 Eimer, Sean           2.7
                                                 report.
   24      05/19/15 Eimer, Sean           1.7    Draft expenses exhibit for EFH Fee Committee.
                      Hellmund-Mora,             Analyze connection check results to identify relationships for disclosure in the
   24      05/19/15                       1.8
                      Marili                     supplemental declaration.


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            Date         Professional   Hours                                            Activity
Category
   24      05/20/15 Cordasco, Michael    1.5    Provide comments to updated draft April fee application.

   24      05/20/15 Cordasco, Michael    0.7    Draft promotion disclosures required for April fee statement.
                                                Update April Fee Application exhibits incorporating recent promotions and revised
   24      05/20/15 Eimer, Sean          2.9
                                                billing rates.
                                                Incorporate revisions to the April fee application to ensure compliance with local
   24      05/20/15 Eimer, Sean          1.7
                                                rules.
   24      05/20/15 Eimer, Sean          1.2    Examine May June Fee Budget to understand output and calculations.

   24      05/20/15 Eimer, Sean          2.5    Revise exhibits for June Budget.
                                                Revise June Budget incorporating updated billing rates, staffing plan, and recent
   24      05/20/15 Eimer, Sean          2.7
                                                promotions.
                      Hellmund-Mora,            Analyze connection check results to identify relationships for disclosure in the
   24      05/20/15                      2.9
                      Marili                    retention affidavit.
   24      05/21/15 Cordasco, Michael    0.4    Provide final comments to April fee statement.

   24      05/21/15 Eimer, Sean          2.3    Draft staffing exhibit in June Budget.

   24      05/21/15 Eimer, Sean          2.3    Revise April Fee Statement by updating exhibits.

   24      05/21/15 Eimer, Sean          1.6    Draft April Fee Statement.
                                                Draft EFH third interim fee application by incorporating all monthly time detail during
   24      05/21/15 Eimer, Sean          2.9
                                                the period.
                                                Create task code descriptions for tax related task codes for the Third Interim fee
   24      05/21/15 Eisler, Marshall     1.8
                                                application.
   24      05/22/15 Cordasco, Michael    0.3    Prepare correspondence for Counsel re: April fee statement.

   24      05/22/15 Eimer, Sean          1.1    Revise budget and expense exhibits for the Fee Committee.

   24      05/22/15 Eimer, Sean          1.5    Draft exhibits for EFH Third Interim Fee Application.

   24      05/26/15 Cordasco, Michael    0.6    Provide comments to draft June fee budget.

   24      05/26/15 Cordasco, Michael    0.3    Provide comments to draft April budget to actual analysis.

   24      05/26/15 Eimer, Sean          2.8    Update exhibits for the Third Interim Fee Application.

   24      05/26/15 Eimer, Sean          2.3    Incorporate further updates to the Third Interim fee application.

   24      05/26/15 Eimer, Sean          1.5    Draft intercompany task code descriptions for the Third Interim.
                                                Prepare task code descriptions for tax related work for the Third Interim fee
   24      05/26/15 Eisler, Marshall     1.5
                                                application.
   24      05/27/15 Diaz, Matthew        0.3    Edit the fee budget and budget to actual materials.
                                                Aggregate all fees during the period for EFH Third Interim Fee Application to assess
   24      05/27/15 Eimer, Sean          2.2
                                                work performed by task code.
   24      05/27/15 Eimer, Sean          3.1    Update expense exhibits for the EFH Third Interim.
                      Hellmund-Mora,
   24      05/27/15                      1.0    Finalize April fee application.
                      Marili
   24      05/28/15 Eimer, Sean          3.1    Prepare draft exhibits for third interim fee application.



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            Date        Professional    Hours                                           Activity
Category
   24      05/28/15 Eimer, Sean          2.6    Draft main document of third interim fee application.

   24      05/29/15 Cordasco, Michael    0.4    Provide comments to draft exhibit for 3rd interim fee application.
                                                Draft business-related task code descriptions for the purpose of finalizing the EFH
   24      05/29/15 Eimer, Sean          2.1
                                                Third Interim Fee Application.
                                                Draft intercompany-related task code descriptions for the purpose of finalizing the
   24      05/29/15 Eimer, Sean          1.9
                                                EFH Third Interim Fee Application.
                                                Draft intercompany-related task code descriptions for the purpose of finalizing the
   24      05/29/15 Eimer, Sean          1.5
                                                EFH Third Interim Fee Application.
   24      05/29/15 Eimer, Sean          2.9    Revise text of summary of services in the EFH Third Interim Fee Application.

   24      05/30/15 Eimer, Sean          2.7    Update exhibit c for the purpose of finalizing the third interim fee application.

   24      05/30/15 Eimer, Sean          2.3    Revise the third interim fee application.

   24      05/31/15 Eimer, Sean          2.6    Update expense exhibit for the third interim fee application.

   24      05/31/15 Eimer, Sean          2.9    Finalize EFH Third Interim Fee Application.

   24      06/01/15 Cordasco, Michael    0.8    Provide comments to the task code descriptions for 3rd interim fee application.
                    Hellmund-Mora,
   24      06/01/15                      1.2    Prepare May fee application to ensure compliance with local bankruptcy rules.
                    Marili
                    Hellmund-Mora,              Prepare exhibits for the May fee application to ensure compliance with local
   24      06/02/15                      0.9
                    Marili                      bankruptcy rules.
   24      06/03/15 Rauch, Adam          0.5    Revise draft of FTI's Third Interim Fee Application.
                    Hellmund-Mora,
   24      06/03/15                      1.9    Revise the May fee application to ensure compliance with local bankruptcy rules.
                    Marili
                    Hellmund-Mora,
   24      06/03/15                      1.8    Incorporate updates to the May fee application to ensure compliance with local rules.
                    Marili
                                                Prepare task description narratives to be included in FTI's Third Interim Fee
   24      06/04/15 Rauch, Adam          1.8
                                                Application.
                    Hellmund-Mora,
   24      06/04/15                      0.9    Revise the May fee application exhibits to ensure compliance with local rules.
                    Marili
                    Hellmund-Mora,
   24      06/05/15                      0.7    Revise May fee application to ensure compliance with Fee Committee guidelines.
                    Marili
   24      06/08/15 Cordasco, Michael    0.8    Provide final comments to 3rd interim fee application.
                                                Prepare task description narratives to be included in FTI's Third Interim Fee
   24      06/08/15 Rauch, Adam          2.7
                                                Application.
                                                Incorporate updates to the Third Interim Fee Application to ensure compliance with
   24      06/08/15 Eimer, Sean          2.9
                                                local rules.
                                                Revise FTI Third Interim Fee Application exhibits to ensure compliance with local
   24      06/08/15 Eimer, Sean          2.3
                                                rules.
   24      06/09/15 Diaz, Matthew        2.9    Perform detailed editing of the 3rd interim application.

   24      06/09/15 Cordasco, Michael    0.4    Provide edits to draft 3rd interim fee application.
                                                Update task code descriptions for the Third Interim Fee Application to ensure relevant
   24      06/09/15 Eimer, Sean          2.5
                                                detail is provided in compliance with local rules.
                                                Incorporate clauses in the Third Interim Fee Application exhibits to ensure compliance
   24      06/09/15 Eimer, Sean          1.3
                                                with local rules.
   24      06/10/15 Diaz, Matthew        1.1    Provide comments to the third interim fee application.



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            Date         Professional    Hours                                          Activity
Category
   24      06/10/15 Cordasco, Michael     0.7    Draft language for interim fee application description codes.
                                                 Finalize Third Interim Fee Application to ensure all exhibits are in compliance with
   24      06/10/15 Eimer, Sean           2.1
                                                 local rules.
                    Hellmund-Mora,
   24      06/11/15                       0.8    Update the May fee application exhibits to ensure compliance with local rules.
                    Marili
                    Hellmund-Mora,
   24      06/12/15                       1.3    Revise the May fee application to ensure compliance with Fee Committee guidelines.
                    Marili
                                                 Analyze billing issues for the purpose of ensuring all expenses and time detail are in
   24      06/15/15 Diaz, Matthew         0.6
                                                 compliance with the Fee Committee's guidelines.
                                                 Incorporate updates to the May Fee Application to ensure compliance with the Fee
   24      06/15/15 Eimer, Sean           2.3
                                                 Committee's guidelines.
   24      06/15/15 Eimer, Sean           1.7    Prepare May Fee Application exhibits in compliance with local rules.
                      Hellmund-Mora,
   24      06/15/15                       0.7    Incorporate updates to the May fee application to ensure compliance with local rules.
                      Marili
   24      06/16/15 Cordasco, Michael     0.3    Provide comments to draft worksheets prior to submission to Debtors.

   24      06/16/15 Eimer, Sean           1.5    Update expense exhibits for the EFH May Fee Application.

   24      06/17/15 Stolarz, Alexander    1.6    Prepare edits to draft May Fee Application.
                                                 Prepare summary of services narratives to be included in FTI's Third Interim Fee
   24      06/18/15 Greenberg, Mark       0.8
                                                 Application.
                                                 Prepare summary of services narratives to be included in FTI's Third Interim Fee
   24      06/18/15 Park, Ji Yon          1.2
                                                 Application.
                                                 Update EFH invoices for the months of February, March, and April in order to finalize
   24      06/18/15 Eimer, Sean           2.7
                                                 prior fee applications.
   24      06/18/15 Eimer, Sean           2.1    Incorporate updates to the May Fee Application to ensure compliance with local rules.
                                                 Revise expense detail in May Fee to comply with Fee Committee guidelines and local
   24      06/22/15 Eimer, Sean           0.8
                                                 rules.
   24      06/24/15 Diaz, Matthew         0.5    Provide comments to the monthly fee application.

   24      06/24/15 Cordasco, Michael     1.6    Provide comments to draft April fee statement.
                                                 Finalize the EFH May Fee Application to ensure compliance with the Fee Committee's
   24      06/25/15 Eimer, Sean           0.9
                                                 guidelines.
                      Hellmund-Mora,             Finalize May fee application to ensure compliance with local rules and Fee Committee
   24      06/25/15                       0.9
                      Marili                     guidelines.
                                                 Draft May budget-to-actual for the EFH Fee Committee to assess budgeted hours and
   24      06/26/15 Eimer, Sean           0.8
                                                 fees for the month of May.
                                                 Prepare FH July Budget for the purpose of projecting FTI's hours and fees for EFH
   24      06/26/15 Eimer, Sean           1.3
                                                 Fee Committee.
   24      07/01/15 Cordasco, Michael     0.5    Provide final comments to draft July fee budget.

   24      07/01/15 Eimer, Sean           1.1    Revise EFH July Budget based on recent actuals.
                                                 Update fee application exhibits to ensure compliance with the Fee Committee's
   24      07/06/15 Eimer, Sean           2.1
                                                 guidelines.
                                                 Incorporate revisions to the fee application to ensure compliance with the Fee
   24      07/06/15 Eimer, Sean           1.7
                                                 Committee's guidelines.
                    Hellmund-Mora,
   24      07/06/15                       1.6    Prepare June fee application to ensure compliance with local rules.
                    Marili
                    Hellmund-Mora,               Incorporate updates to the June fee application in accordance to Fee Committee
   24      07/06/15                       1.0
                    Marili                       guidelines.


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            Date         Professional    Hours                                          Activity
Category
   24      07/07/15 Eimer, Sean           2.0    Incorporate updates to the June fee application to ensure compliance with local rules.
                    Hellmund-Mora,
   24      07/08/15                       0.9    Revise June fee application to ensure compliance with local rules.
                    Marili
                    Hellmund-Mora,
   24      07/10/15                       0.8    Update the June fee application exhibits to ensure compliance with local rules.
                    Marili
   24      07/15/15 Eimer, Sean           1.3    Update the June fee application exhibits to ensure compliance with local rules.

   24      07/15/15 Stolarz, Alexander    3.9    Revise summary of services for inclusion in the Interim Fee Application.

   24      07/16/15 Stolarz, Alexander    3.3    Continue to revise summary of services for the Interim fee application.

   24      07/20/15 Cordasco, Michael     0.2    Provide comments to draft CNO schedules filed for May fee statement.

   24      07/20/15 Eimer, Sean           1.3    Provide CNO exhibits for the purpose of finalizing the May Fee Application.

   24      07/20/15 Eimer, Sean           0.7    Finalize the EFH May Fee Application.

   24      07/21/15 Eimer, Sean           1.5    Finalize the June Fee Application to ensure compliance with local rules.

   24      07/22/15 Cordasco, Michael     1.3    Provide comments to initial draft June fee statement.

   24      07/22/15 Rauch, Adam           0.9    Revise summary of services for inclusion in the Fourth Interim Fee Application.

   24      07/22/15 Eimer, Sean           2.3    Draft EFH June Budget to Actual report for the EFH Fee Committee.

   24      07/22/15 Eimer, Sean           2.1    Draft EFH June Budget Report for the EFH Fee Committee.

   24      07/22/15 Eimer, Sean           0.9    Incorporate updates to the June fee application to ensure compliance with local rules.
                      Hellmund-Mora,
   24      07/22/15                       0.6    Prepare fee application to comply with Committee Fee guidelines.
                      Marili
   24      07/23/15 Cordasco, Michael     0.5    Provide comments to draft June fee statement.

   24      07/23/15 Greenberg, Mark       0.7    Provide comments to draft of the fee statement.

   24      07/23/15 Eimer, Sean           1.9    Incorporate updates to the June EFH Fee Application.

   24      07/23/15 Eisler, Marshall      2.8    Prepare PCD descriptions for fee application.

   24      07/24/15 Diaz, Matthew         0.4    Edit the August fee budget.

   24      07/24/15 Diaz, Matthew         1.3    Edit the June monthly fee statement.

   24      07/24/15 Cordasco, Michael     0.4    Provide comments to revised draft June fee application.

   24      07/24/15 Cordasco, Michael     0.6    Provide comments to draft August fee budget and staffing report.

   24      07/24/15 Cordasco, Michael     0.3    Provide comments to June budget to actual fee analysis.
                                                 Revise EFH June budget-to-actual and August budget for the purpose of ensuring
   24      07/24/15 Eimer, Sean           2.1
                                                 reports are in compliance with the Fee Committee's guidelines.
   24      07/27/15 Eimer, Sean           1.1    Revise the exhibits of the monthly fee application.
                      Hellmund-Mora,
   24      07/28/15                       0.5    Update the June fee application exhibits to ensure compliance with local rules.
                      Marili


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Category
                        Hellmund-Mora,
   24        07/31/15                      0.8    Finalize June fee application to ensure compliance with local rules.
                        Marili
   24        08/07/15 Diaz, Matthew        0.5    Participate in call regarding questions on the second interim application.

   24        08/10/15 Cordasco, Michael    0.3    Draft summary update re: status of billings and collections.
                        Hellmund-Mora,
   24        08/11/15                      0.7    Prepare July fee application to ensure compliance with local rules.
                        Marili
   24        08/18/15 Eimer, Sean          1.9    Prepare EFH July Fee application in compliance with the Fee Committee's guidelines.

   24        08/19/15 Cordasco, Michael    0.2    Draft comments to draft exhibit re: CNO.

   24        08/20/15 Greenberg, Mark      0.3    Provide comments on the July fee application.

   24        08/20/15 Eimer, Sean          1.3    Draft EFH FTI June Monthly Fee Application CNO.

   24        08/21/15 Cordasco, Michael    0.3    Prepare correspondence to A&M re: proposed billing forms.
                        Hellmund-Mora,            Prepare July fee application to ensure compliance with Fee Committee guidelines and
   24        08/24/15                      1.9
                        Marili                    local rules.
   24        08/25/15 Cordasco, Michael    1.2    Provide comments to draft July fee statement.
                                                  Revise the July fee application exhibits to ensure compliance with Fee Committee
   24        08/25/15 Eimer, Sean          1.5
                                                  guidelines and local rules.
                      Hellmund-Mora,
   24        08/25/15                      1.3    Incorporate updates to the July fee application to ensure compliance with local rules.
                      Marili
                      Hellmund-Mora,
   24        08/26/15                      1.4    Prepare July fee application exhibits to ensure compliance with local rules.
                      Marili
   24        08/27/15 Cordasco, Michael    0.3    Provide comments to draft fee budget for September.

   24        08/27/15 Cordasco, Michael    0.3    Provide comments to budget to actual fee analysis for July.

   24        08/27/15 Eimer, Sean          1.7    Draft EFH September Budget to estimate hours and fees for the month of September.

   24        08/27/15 Eimer, Sean          1.5    Finalize EFH September Budget by incorporating revised staffing needs.

   24        08/27/15 Eimer, Sean          1.1    Draft EFH July Budget-to-Actual comparing EFH July Budget with the July actuals.
                        Hellmund-Mora,            Incorporate revisions to the July fee application to ensure compliance with Fee
   24        08/27/15                      0.4
                        Marili                    Committee guidelines and local rules.
   24        08/31/15 Diaz, Matthew        0.7    Provide comments on the July fee statement.

   24        08/31/15 Cordasco, Michael    0.6    Provide comments to draft July fee statement.

   24        08/31/15 Eimer, Sean          2.1    Finalize EFH July Fee Application by incorporating all necessary exhibits.

 24 Total                                 259.9

   28        06/22/15 Diaz, Matthew        0.3    Analyze certain unsecured assets and related documentation.

28.A Total                                 0.3

                                                  Perform relativity search at request of Counsel re: components of 2007 D&P Solvency
   28        05/13/15 Cordasco, Michael    0.5
                                                  opinion for discovery request.



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Category

28.B Total                                 0.5

   29        05/01/15 Cordasco, Michael    0.5    Participate in call with Lazard to discuss timing re: alternative business plan and
                                                  valuation for mediation.
   29        05/04/15 Cordasco, Michael    0.3    Assess timing for when business plan analysis may be required based on counsel's
                                                  deadlines.
   29        05/04/15 Friedrich, Steven    0.8    Reconcile budget figures in March operating reports to figures listed in October LRP
                                                  and 0+12 LRP presentations and financial models.
   29        05/06/15 Eimer, Sean          2.7    Incorporate revisions into the quarterly business commentary excel file in order to
                                                  prepare commentary over business drivers.
   29        05/07/15 Eimer, Sean          2.9    Prepare commentary to the business plan quarterly update presentation.

   29        05/07/15 Friedrich, Steven    0.5    Perform diligence of the Debtors' Long Range Plan and associated financial models.

   29        05/12/15 Davido, Scott        1.6    Analyze responses of Debtors' financial advisors to FTI questions regarding the
                                                  Luminant business plan including operational, environmental, and commodity issues.


   29        05/12/15 Cordasco, Michael    0.5    Assess adequacy of Debtors' responses to business plan due diligence questions.

   29        05/14/15 Friedrich, Steven    0.8    Analyze Debtors' responses to diligence questions re: the 0+12 projections.

   29        05/14/15 Friedrich, Steven    0.4    Analyze Debtors' responses to Luminant diligence questions.

   29        05/15/15 Cordasco, Michael    0.6    Assess Debtors' response re: EPA proposed regional haze regulations.

   29        05/18/15 Cordasco, Michael    0.3    Participate in call with Counsel to discuss discovery protocol for business plan
                                                  information requests.
   29        06/01/15 Cordasco, Michael    0.6    Analyze May ERCOT CDR report to assess changes in forecasted margin for new
                                                  entry pricing.
   29        06/01/15 Cordasco, Michael    0.5    Assess responses to diligence questions posted by Debtors re: new entry pricing
                                                  assumptions.
   29        06/02/15 Cordasco, Michael    0.6    Participate in call with Counsel to discuss diligence requests related to business plan
                                                  projections for purposes of DS objection.
   29        06/02/15 Cordasco, Michael    0.5    Prepare discovery due diligence list for projections contained in DS for purposes of
                                                  potential objection.
   29        06/29/15 Cordasco, Michael    0.6    Analyze news articles re: Supreme Court ruling over EPA over proposed power plant
                                                  regulations to determine impact on business plan.

 29 Total                                 14.7

                                                  Analyze ERCOT Capacity, Demand, and Reserve Margin Report, to assess timing for
   30        06/01/15 Davido, Scott        1.4    narrowing of Reserve Margins, and impact of potentially changed timing on FTI
                                                  business plan for Luminant and valuation.

 30 Total                                  1.4

                                                  Analyze impact of natural gas and oil/product exports on the supply/demand balance
   33        05/07/15 Jones, Scott         3.1
                                                  in ERCOT for utility fuels.



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Category
                                                Analyze the impact of recovering rig count and declining oil/gas inventory in Texas
   33      05/11/15 Jones, Scott         3.2
                                                and Oklahoma on the natural gas market in ERCOT.

                                                Analyze medium to long term outlook for LNG exports out of the southwest in a low
   33      05/21/15 Jones, Scott         2.1
                                                natural gas price environment and the impact on the gas price forecast.

                                                Analyze the relationship between coal and natural gas price trends to assess the
   33      05/26/15 Jones, Scott         2.1
                                                changes in pricing dynamics for power plants in Texas.

                                                Analyze the impact of the Clean Power Plan on natural gas demand and prices in
   33      06/02/15 Jones, Scott         2.2
                                                ERCOT.

                                                Analyze the bearish natural gas storage data/reports for Texas and the impact on future
   33      06/08/15 Jones, Scott         2.4
                                                natural gas prices.

                                                Analyze the expanding North American LNG export market for the period after 2017
   33      06/16/15 Jones, Scott         2.0
                                                and the impact on natural gas supply/prices.

                                                Analyze the impact of planned and expanded LNG & Ethane plants on the demand for
   33      06/23/15 Jones, Scott         2.2
                                                natural gas.

                                                Study the impact of expanding natural gas exports to Mexico on the current supply
   33      06/29/15 Jones, Scott         2.0
                                                overhang and prices.

                                                Analyze the run-up in Texas/LA Gulf Coast LNG export capacity scheduled to come
   33      07/08/15 Jones, Scott         2.3
                                                on line in 2017-2020 to assess impact on natural gas prices.

                                                Analyze impact of new methanol capacity (to 2020) and its impact on the demand for
   33      07/13/15 Jones, Scott         2.0
                                                natural gas in the Gulf.

                                                Analyze improved federal regulations regarding the link between Gas-fired generation
   33      07/29/15 Jones, Scott         2.1
                                                and the Clean Air Act in Texas.

                                                Analyze the recovery in short term natural gas inventories and the longer term impact
   33      08/05/15 Jones, Scott         1.8
                                                for natural gas prices in Texas.

33 Total                                29.5

                                                Develop methodology for updating October 2014 EFH modeling runs for movement in
   35      05/20/15 Arsenault, Ronald    2.8
                                                gas price and power price.
                                                Prepare analysis updating FTI's October 2014 EFH gross margin projections for the
   35      05/21/15 Arsenault, Ronald    2.9
                                                movement in gas price through April 2015.
                                                Prepare presentation summarizing sensitivity to valuation of natural gas price
   35      05/21/15 Arsenault, Ronald    2.6
                                                movements from October 2014 to April 2015.
                                                Examine analysis evaluating illustrative EFH value under certain NEPS assumptions
   35      06/02/15 Arsenault, Ronald    2.1
                                                including reduced demand and lower natural gas prices.

   35      06/03/15 Arsenault, Ronald    1.6    Analyze the new ERCOT CDR report to prepare variance analysis to prior report.

   35      06/03/15 Arsenault, Ronald    1.4    Prepare variance analysis on the new ERCOT CDR report and prior report.

                                                Examine Duff & Phelps solvency reports for derivation of discount rate and updating
   35      06/08/15 Arsenault, Ronald    2.6
                                                key drivers for current market conditions.

   35      06/17/15 Arsenault, Ronald    1.8    Evaluate latest analysis of impact of NEPS assumptions on EFH cash flows.




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Category
                                                 Perform analysis of the projected reserve margins in order to validate the rise in
   35      06/22/15 Arsenault, Ronald     1.8
                                                 energy prices in FTI forecast.

35 Total                                 19.6


   37      05/01/15 Eisler, Marshall      3.7    Evaluate Objection filed by the EFH UCC re: TCEH tax claims.

                                                 Analyze proposed order filed by the EFH UCC against EFH re: disallowance of
   37      05/01/15 Eisler, Marshall      2.4
                                                 certain tax claims.

   37      05/01/15 Eisler, Marshall      2.1    Evaluate Grant Thornton report discussing the 2003-2006 IRS tax settlement.


   37      05/01/15 Stolarz, Alexander    2.7    Analyze EFH Committee's objection to TCEH's tax claims.

                                                 Perform detailed analysis of the EFH claims objection to determine potential impact
   37      05/04/15 Diaz, Matthew         2.6
                                                 on recoveries to T-side business units.

                                                 Continue to perform detailed analysis of the EFH claims objection to determine
   37      05/04/15 Joffe, Steven         2.0
                                                 potential impact on recoveries to T-side business units.

                                                 Analyze court hearing re: EFH confirmation protocol, evaluating implications of tax
   37      05/04/15 Eisler, Marshall      3.7
                                                 issues.

                                                 Evaluate Debtors' AMT attribute pooling in order to assess potential intercompany tax
   37      05/04/15 Eisler, Marshall      2.3
                                                 claims.

                                                 Evaluate documents received via discovery relating to journal entries outlining AMT
   37      05/04/15 Eisler, Marshall      3.2
                                                 allocation.

   37      05/04/15 Stolarz, Alexander    3.6    Prepare diligence questions for Debtors re: historical AMT calculations.


   37      05/04/15 Stolarz, Alexander    3.9    Evaluate Debtors' AMT consolidation to assess potential tax claims.


   37      05/05/15 Joffe, Steven         1.1    Analyze E-side claim objection.

                                                 Evaluate mark-to-market settlement agreements in order to assess the implications of
   37      05/05/15 Eisler, Marshall      1.7
                                                 E-side objections to the TCEH tax claims.

                                                 Evaluate memorandum of understanding between IRS and EFH re: tax claims
   37      05/05/15 Eisler, Marshall      3.8
                                                 settlement.

                                                 Assess NOL report to be sent to the Debtors' analyzing implications related to
   37      05/05/15 Eisler, Marshall      2.2
                                                 intercompany tax claims.

                                                 Revise due diligence questions to be sent to Debtors regarding historical AMT
   37      05/05/15 Stolarz, Alexander    2.4
                                                 procedures.

   37      05/05/15 Stolarz, Alexander    3.8    Update due diligence questions regarding historical AMT allocation procedures.


   37      05/05/15 Stolarz, Alexander    3.7    Analyze E-Side Committee objection to TCEH's tax attribute claims.




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   37      05/06/15 Diaz, Matthew         0.8    Prepare for call with MoFo on tax lookback and the EFH claims objection.


   37      05/06/15 Diaz, Matthew         1.5    Participate in call with MoFo on tax lookback and the EFH claims objection.


   37      05/06/15 Joffe, Steven         1.2    Participate in call with MoFo regarding E-Side objection to T-Side tax claims.

                                                 Participate in UCC update call re: E-Side UCC objection to the TCEH tax receivables
   37      05/06/15 Eisler, Marshall      0.5
                                                 as filed in the SOFA/SOALs.

                                                 Participate in call with UCC counsel to discuss response to E-side UCC objection to
   37      05/06/15 Eisler, Marshall      1.3
                                                 TCEH tax claims.

                                                 Update due diligence questions to be sent over to the Debtors re: historical NOL
   37      05/06/15 Eisler, Marshall      3.4
                                                 allocation procedures.

   37      05/06/15 Eisler, Marshall      2.7    Update report to be sent to UCC counsel re: AMT liability pooling.

                                                 Prepare diligence questions to be sent to the Debtors' regarding historical AMT
   37      05/06/15 Stolarz, Alexander    2.2
                                                 generation/utilization at each entity.

   37      05/06/15 Stolarz, Alexander    1.8    Participate in call with UCC counsel to discuss the Debtors' historical NOL utilization.


   37      05/07/15 Eisler, Marshall      1.6    Evaluate documents received through discovery in order to assess pre-petition claims.

                                                 Assess journal entries relating to the claims regarding the May 2013 IRS settlement
   37      05/07/15 Eisler, Marshall      2.8
                                                 agreement.

                                                 Update diligence questions to be sent over to the Debtors re: AMT allocation
   37      05/07/15 Eisler, Marshall      2.1
                                                 procedures.

   37      05/07/15 Eisler, Marshall      2.3    Prepare report for UCC counsel re: Debtors' attribute pooling practices.

                                                 Analyze 2011 alternative minimum tax credits to prepare a question list for the
   37      05/07/15 Stolarz, Alexander    3.3
                                                 Debtors.

   37      05/08/15 Diaz, Matthew         2.9    Perform detailed analysis and reconciliation of the 2011 AMT credits.


   37      05/08/15 Diaz, Matthew         2.2    Update the 2011 AMT report including exhibits, to be sent to the Debtors.

                                                 Evaluate Debtors' historical AMT procedures and eliminations applied to various
   37      05/08/15 Eisler, Marshall      3.8
                                                 entities based on attribute pooling.

   37      05/08/15 Eisler, Marshall      2.9    Prepare presentation for UCC counsel re: Debtors' AMT practices.


   37      05/08/15 Eisler, Marshall      0.5    Correspond with UCC counsel re: pre-petition intercompany tax claims.


   37      05/11/15 Diaz, Matthew         3.4    Perform detailed editing of the AMT exhibits and question list.



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Category
                                                 Participate in tax call with MoFo to discuss open tax items and agenda for tomorrow's
   37      05/11/15 Diaz, Matthew         0.5
                                                 call.

   37      05/11/15 Eisler, Marshall      0.6    Participate in call with UCC counsel re: historical look back issues.

                                                 Analyze AMT credit utilization and application to determine impact on T-side
   37      05/11/15 Eisler, Marshall      3.4
                                                 attributes.

                                                 Reconcile AMT utilization from AMT walkthrough documents received from debtors
   37      05/11/15 Eisler, Marshall      2.2
                                                 to cash tax documents related to SEC filings.

   37      05/11/15 Eisler, Marshall      3.8    Analyze eliminations applied to the AMT balances at various business units.

                                                 Prepare an outline of the AMT presentation describing the Debtors' historical AMT
   37      05/11/15 Stolarz, Alexander    1.7
                                                 calculation process, as requested by Committee Counsel.

                                                 Evaluate the structure of the AMT presentation, which will describe and analyze the
   37      05/11/15 Stolarz, Alexander    3.7
                                                 Debtors' historical AMT calculation process.

                                                 Participate in discussion with Counsel regarding the E-Side Objection to TCEH's
   37      05/11/15 Stolarz, Alexander    0.4
                                                 AMT claim.

   37      05/11/15 Stolarz, Alexander    2.6    Analyze on a standalone basis the Debtors' historical AMT generation/ utilization.


   37      05/11/15 Stolarz, Alexander    3.9    Analyze on a consolidated basis the Debtors' historical AMT generation/ utilization.

                                                 Partial attendance in the tax call with the Debtors discussing E-side objection to T-side
   37      05/12/15 Diaz, Matthew         0.5
                                                 claims.

   37      05/12/15 Diaz, Matthew         1.1    Update outline of AMT presentation.


   37      05/12/15 Eisler, Marshall      3.5    Update due diligence question list to be sent to Debtors re: AMT utilization practices.

                                                 Search documents received through discovery for journal entries related to AMT
   37      05/12/15 Eisler, Marshall      2.7
                                                 balances.

   37      05/12/15 Eisler, Marshall      3.6    Update report to be sent to Debtors re: AMT utilization.

                                                 Evaluate journal entries related showing certain entities settling state taxes through the
   37      05/12/15 Eisler, Marshall      1.5
                                                 TCEH money pool.

                                                 Participate in call with the Debtors regarding the E-Side Objection of TCEH's AMT
   37      05/12/15 Stolarz, Alexander    0.4
                                                 claims.

                                                 Prepare analysis of Debtors' historical AMT calculation process at the request of
   37      05/12/15 Stolarz, Alexander    2.5
                                                 Committee Counsel.

                                                 Prepare analysis of the Debtors' historical AMT calculation process on a standalone
   37      05/12/15 Stolarz, Alexander    1.9
                                                 basis.

                                                 Prepare analysis of Debtors' historical AMT calculation process on a consolidated
   37      05/12/15 Stolarz, Alexander    3.1
                                                 basis.



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Category

   37      05/13/15 Diaz, Matthew         1.4    Update question and due diligence list regarding AMT credits.

                                                 Evaluate state sales tax processes on an entity by entity basis and the implications re:
   37      05/13/15 Eisler, Marshall      1.3
                                                 the TCEH money pool.

   37      05/13/15 Eisler, Marshall      1.9    Correspond with UCC counsel re: Debtors' historical money pool practices.

                                                 Update AMT presentation reflecting new information obtained from documents
   37      05/13/15 Stolarz, Alexander    2.1
                                                 received from the Debtors.

                                                 Prepare presentation on the Debtors’ 2011 AMT calculation methodology at the
   37      05/13/15 Stolarz, Alexander    3.2
                                                 request of Counsel.

                                                 Create presentation for UCC counsel outlining mechanics of alternative minimum tax
   37      05/14/15 Eisler, Marshall      2.3
                                                 on an entity level basis.

                                                 Create presentation for UCC counsel outlining the roll up of AMT attributes into
   37      05/14/15 Eisler, Marshall      2.4
                                                 subgroups.

   37      05/14/15 Stolarz, Alexander    2.8    Prepare presentation for counsel describing the roll up of AMT attributes.

                                                 Update presentation for UCC counsel outlining process through which eliminations
   37      05/15/15 Eisler, Marshall      3.4
                                                 are applied to subgroup parent entities.

   37      05/15/15 Stolarz, Alexander    2.1    Revise analysis of Debtors' 2011 AMT calculations for T-side entities.


   37      05/18/15 Diaz, Matthew         1.3    Edit AMT presentation to MoFo.


   37      05/18/15 Eisler, Marshall      3.8    Update presentation to be sent to UCC counsel, analyzing AMT presentation.

                                                 Search documents received through discovery for journal entries related to AMT
   37      05/18/15 Eisler, Marshall      2.4
                                                 balances.

   37      05/18/15 Eisler, Marshall      1.7    Prepare outline for presentation related to NOL attribute analysis.


   37      05/19/15 Diaz, Matthew         2.6    Incorporate revisions to the AMT presentation.


   37      05/19/15 Diaz, Matthew         1.4    Reconcile AMT payments to the general ledger entries.


   37      05/19/15 Eisler, Marshall      0.6    Prepare summary of the TCEH Money pool's role regarding TSA obligations.

                                                 Incorporate updates into presentation for UCC counsel re: AMT utilization and
   37      05/19/15 Eisler, Marshall      2.9
                                                 application.

                                                 Reconcile liabilities filed on tax return with cash tax documents received through
   37      05/19/15 Eisler, Marshall      3.7
                                                 discovery.

   37      05/19/15 Eisler, Marshall      2.5    Analyze journal entries outlining federal tax accrual to reconcile with AMT liabilities.



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   37      05/19/15 Eisler, Marshall      2.3    Analyze journal entries to determine TCEH's mechanisms for clearing accrued taxes.


   37      05/19/15 Stolarz, Alexander    3.6    Revise analysis of federal tax journal entries to be included in the AMT presentation.


   37      05/20/15 Eisler, Marshall      2.4    Update AMT presentation for UCC counsel, outlining attribute pooling methods.

                                                 Search documents received via discovery for journal entries related to clearing accrued
   37      05/20/15 Eisler, Marshall      3.6
                                                 federal tax liabilities.

                                                 Analyze tax related journal entries, evaluating movements of RTP adjustments
   37      05/20/15 Eisler, Marshall      3.1
                                                 between tax related accounts.

                                                 Reconcile AMT liabilities of various T-side entities and payments made from TCEH
   37      05/20/15 Eisler, Marshall      2.8
                                                 to TXU.

   37      05/20/15 Eisler, Marshall      1.3    Create AMT presentation, outlining AMT mechanics on an entity level basis.


   37      05/20/15 Stolarz, Alexander    3.2    Examine journal entries related to booking accrued federal taxes.


   37      05/21/15 Diaz, Matthew         1.7    Evaluate presentation to be sent to Debtors regarding AMT analysis.


   37      05/21/15 Eisler, Marshall      3.4    Evaluate journal entries related the accrual of AMT credits.


   37      05/21/15 Eisler, Marshall      2.7    Incorporate updates into AMT presentation for UCC counsel.

                                                 Analyze entity roll-up related the Debtors' 2011 AMT calculation at the request of
   37      05/21/15 Stolarz, Alexander    2.4
                                                 UCC Counsel.

   37      05/21/15 Stolarz, Alexander    2.6    Revise presentation regarding the Debtors' 2011 AMT calculation practices.


   37      05/22/15 Diaz, Matthew         3.1    Evaluate presentation to be sent to Debtors regarding AMT analysis.


   37      05/22/15 Eisler, Marshall      2.3    Update presentation outlining EFH tax liability for 2011 tax year.


   37      05/22/15 Eisler, Marshall      2.1    Calculate consolidated T-side tax liability for 2011 tax year.


   37      05/22/15 Stolarz, Alexander    2.6    Analyze AMT eliminations applied on a business unit level.


   37      05/26/15 Diaz, Matthew         0.5    Prepare report of open look back issues.


   37      05/26/15 Diaz, Matthew         3.1    Incorporate detailed edits to the AMT report.


   37      05/26/15 Eisler, Marshall      0.5    Participate in call with Debtors re: outstanding look back items.



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   37      05/26/15 Eisler, Marshall      3.2    Prepare outline for presentation related to TGMT liabilities.


   37      05/26/15 Eisler, Marshall      2.5    Create report for UCC counsel analyzing intercompany state tax payments.


   37      05/27/15 Diaz, Matthew         1.2    Update analysis to be sent to debtors regarding AMT attribute allocation.


   37      05/27/15 Eisler, Marshall      3.1    Analyze report outlining intercompany state tax payments.

                                                 Evaluate file received from UCC Counsel, outlining set of tax related documents used
   37      05/27/15 Eisler, Marshall      2.9
                                                 by Debtors' Auditors in preparing the yearly audit.

   37      05/27/15 Eisler, Marshall      2.3    Evaluate files received via discovery in order to determine pre petition tax claims.


   37      05/27/15 Stolarz, Alexander    3.8    Prepare outline of presentation re: Debtors' historical NOL practices.

                                                 Prepare report to be presented to Counsel outlining the Debtors' historical NOL
   37      05/27/15 Stolarz, Alexander    2.9
                                                 calculations.

                                                 Prepare analysis of Debtors' 2011 NOL calculations in order to assess the T-Side's
   37      05/27/15 Stolarz, Alexander    1.5
                                                 intercompany claims.

   37      05/28/15 Diaz, Matthew         2.6    Update AMT presentation including the Big Brown and TCEH examples.


   37      05/28/15 Eisler, Marshall      2.6    Evaluate BRNLP attribute rollup into TCEH subgroup.

                                                 Update presentation for UCC counsel outlining AMT liability calculation on a
   37      05/28/15 Eisler, Marshall      3.7
                                                 standalone basis.

   37      05/28/15 Eisler, Marshall      3.6    Reconcile T-side entities' standalone AMT liability to the general ledger accounts.

                                                 Evaluate Debtors' response to FTI's due diligence questions related to TGMT
   37      05/28/15 Eisler, Marshall      2.4
                                                 intercompany payments.

                                                 Revise presentation regarding the Debtors historical alternative minimum tax
   37      05/28/15 Stolarz, Alexander    1.6
                                                 calculation practices.

   37      05/28/15 Stolarz, Alexander    3.7    Prepare presentation regarding the Debtors historical net operating loss calculations.

                                                 Evaluate Debtors' response to FTI's due diligence questions related to intercompany
   37      05/29/15 Eisler, Marshall      1.9
                                                 state tax payments.

   37      05/29/15 Eisler, Marshall      2.8    Evaluate journal entries for BRNLP relating to the 2011 federal tax liability.


   37      05/29/15 Eisler, Marshall      2.5    Evaluate journal entries for TXUEN relating to the 2011 federal tax liability.

                                                 Revise presentation regarding the consolidation of AMT liabilities to be presented to
   37      05/29/15 Stolarz, Alexander    3.4
                                                 Counsel.



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 Task
            Date         Professional    Hours                                          Activity
Category
                                                 Update presentation for UCC counsel regarding historical AMT attribute
   37      06/01/15 Diaz, Matthew         3.8
                                                 consolidation.

                                                 Revise presentation for UCC counsel outlining Debtors' 2011 alternative minimum tax
   37      06/01/15 Eisler, Marshall      2.1
                                                 accounting practices.

                                                 Revise due diligence report for UCC counsel regarding historical alternative minimum
   37      06/01/15 Eisler, Marshall      3.2
                                                 tax attribute utilization.

                                                 Evaluate Debtors' response to FTI's due diligence questions regarding Texas Gross
   37      06/01/15 Eisler, Marshall      2.5
                                                 Margin Tax calculations.

   37      06/01/15 Stolarz, Alexander    1.8    Prepare presentation regarding the Debtors historical NOL calculation practices.

                                                 Analyze the standalone tax payables of the entities in the TCEH Group for the NOL
   37      06/01/15 Stolarz, Alexander    2.7
                                                 presentation.

                                                 Revise key observations regarding historical AMT attribute utilization for report for
   37      06/02/15 Eisler, Marshall      3.8
                                                 UCC counsel.

                                                 Evaluate documents received from the Debtors highlighting journal entries related to
   37      06/02/15 Eisler, Marshall      2.6
                                                 TGMT liability.

                                                 Analyze TXUEN federal tax liability under different methods of tax sharing in order
   37      06/02/15 Eisler, Marshall      3.8
                                                 to analyze intercompany tax claims.

                                                 Prepare presentation regarding the Debtors' 2011 AMT calculations to be presented to
   37      06/02/15 Stolarz, Alexander    3.4
                                                 UCC counsel.

   37      06/02/15 Stolarz, Alexander    3.9    Revise AMT diligence question list to be sent to the Debtors.

                                                 Prepare analysis of TXUEN federal tax liability under different methods of tax sharing
   37      06/03/15 Eisler, Marshall      3.6
                                                 to be included in report to UCC counsel.

                                                 Prepare presentation analyzing the Debtors 2011 NOL calculations on a consolidated
   37      06/03/15 Stolarz, Alexander    2.7
                                                 basis.

   37      06/04/15 Diaz, Matthew         3.0    Analyze journal entries relating to the booking and clearing of federal AMT liabilities.


   37      06/04/15 Eisler, Marshall      2.3    Evaluate documents received via discovery in order to analyze pre-petition tax claims.

                                                 Reconcile net operating losses on 2011 tax return to NOLs on the Debtors' tax
   37      06/04/15 Eisler, Marshall      3.4
                                                 walkthrough documents to analyze intercompany tax claims.

   37      06/04/15 Eisler, Marshall      3.3    Evaluate T-side attribute generation on a consolidated and standalone basis.

                                                 Reconcile differences between liabilities of various entities from documents provided
   37      06/04/15 Eisler, Marshall      2.6
                                                 by the Debtors.

   37      06/04/15 Stolarz, Alexander    3.9    Analyze net operating losses on 2011 tax return to assess intercompany tax claims.

                                                 Analyze TXUEN's federal tax liability under different methods of tax sharing to be
   37      06/04/15 Stolarz, Alexander    1.9
                                                 included in report to UCC counsel.



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            Date         Professional    Hours                                           Activity
Category
                                                 Evaluate subgroup utilization and upstreaming of NOL attributes to be included in the
   37      06/05/15 Eisler, Marshall      1.8
                                                 NOL presentation to UCC counsel.

                                                 Revise presentation for UCC counsel outlining Debtor's NOL attribute pooling
   37      06/05/15 Eisler, Marshall      2.9
                                                 methods.

   37      06/05/15 Stolarz, Alexander    3.7    Prepare presentation relating to the Debtors' NOL subgroup rollup.

                                                 Analyze NOL eliminations applied to all T-Side entities in order to assess the T-side
   37      06/08/15 Eisler, Marshall      3.7
                                                 federal tax liability.

                                                 Update presentation for UCC counsel regarding TCEH's tax liabilities under different
   37      06/08/15 Eisler, Marshall      2.9
                                                 methods of tax sharing.

                                                 Update presentation for UCC counsel regarding the Debtors' historical NOL
   37      06/08/15 Stolarz, Alexander    3.8
                                                 application processes.

                                                 Reconcile differences between federal tax liability of standalone TCEH vs
   37      06/09/15 Eisler, Marshall      3.7
                                                 Consolidated TCEH.

                                                 Evaluate net operating loss roll-up between subgroup parent entities in order to assess
   37      06/09/15 Eisler, Marshall      3.5
                                                 intercompany tax claims.

                                                 Analyze net operating loss eliminations applied to standalone TCEH on behalf of the
   37      06/09/15 Eisler, Marshall      2.4
                                                 consolidated group.

                                                 Evaluate the Debtors' response to FTI's state tax diligence questions in order to
   37      06/09/15 Stolarz, Alexander    2.8
                                                 prepare a state tax presentation for UCC counsel.

   37      06/10/15 Eisler, Marshall      2.8    Analyze Debtors' responses to FTI's state tax due diligence questions.

                                                 Evaluate documents received via discovery in order to analyze intercompany TGMT
   37      06/10/15 Eisler, Marshall      2.8
                                                 claims.

   37      06/10/15 Eisler, Marshall      3.6    Prepare analysis for UCC counsel regarding Texas Gross Margin Tax calculations.


   37      06/10/15 Stolarz, Alexander    3.6    Evaluate Debtors' response to FTI's state tax diligence questions.

                                                 Revise key observations regarding historical AMT attribute utilization for report for
   37      06/11/15 Diaz, Matthew         1.9
                                                 UCC counsel.

   37      06/11/15 Eisler, Marshall      3.6    Evaluate draft of standing motion prepared by UCC counsel regarding T-side claims.


   37      06/11/15 Eisler, Marshall      3.1    Evaluate 2011 NOL booking and clearing journal entries.

                                                 Update presentation for UCC counsel regarding the Debtors' historical NOL
   37      06/11/15 Eisler, Marshall      1.8
                                                 application processes.

   37      06/11/15 Stolarz, Alexander    2.1    Revise presentation describing the Debtors' historical net operating loss practices.

                                                 Evaluate 2011 federal tax payments made by the TCEH in order to assess potential
   37      06/11/15 Stolarz, Alexander    2.2
                                                 intercompany tax claims.



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Category

   37      06/11/15 Stolarz, Alexander    3.4    Evaluate the T-Side's tax liability under the hub-and-spoke and TSA methodologies.


   37      06/12/15 Eisler, Marshall      2.5    Prepare analysis of Debtors' generation and utilization of NOL attributes.


   37      06/12/15 Eisler, Marshall      3.3    Evaluate subgroup rollup used to calculate the consolidated federal tax liability.

                                                 Evaluate documents received via discovery in order to evaluate pre petition
   37      06/12/15 Eisler, Marshall      2.3
                                                 intercompany tax claims.

                                                 Analyze the impact to TCEH's state tax liability of combined method benefits as part
   37      06/15/15 Eisler, Marshall      3.2
                                                 of the state tax presentation to UCC counsel.

                                                 Reconcile standalone and consolidated state tax liabilities as part of state tax
   37      06/15/15 Eisler, Marshall      2.5
                                                 presentation.

                                                 Reconcile Oncor's short and long term debt on the latest monthly operating reports
   37      06/15/15 Eisler, Marshall      1.4
                                                 with the latest 10Q filing.

                                                 Update presentation for UCC counsel outlining Debtors' 2011 alternative minimum
   37      06/16/15 Diaz, Matthew         3.3
                                                 tax accounting practices.

                                                 Evaluate 2011 federal tax payments made by TCEH in order to assess potential
   37      06/16/15 Eisler, Marshall      3.4
                                                 intercompany tax claims.

   37      06/16/15 Eisler, Marshall      1.7    Analyze NOL attribute consolidations effect on TCEH's federal tax liability.

                                                 Analyze TXUEN's standalone and consolidated AMT liability in order to assess
   37      06/17/15 Diaz, Matthew         2.9
                                                 potential intercompany tax claims.

                                                 Analyze the historical NOL attributes and how they were allocated by legal entity to
   37      06/17/15 Diaz, Matthew         2.5
                                                 be included in a presentation to UCC counsel.

                                                 Reconcile T-side consolidated NOL utilization to NOL utilization on a business unit
   37      06/17/15 Eisler, Marshall      3.7
                                                 level.

                                                 Analyze NOL eliminations applied to sub group parent entities as part of the NOL
   37      06/17/15 Eisler, Marshall      2.9
                                                 presentation to UCC counsel.

                                                 Inspect NOLs upstreamed to subgroup parent entities in order to assess intercompany
   37      06/17/15 Eisler, Marshall      3.6
                                                 tax claims.

                                                 Analyze payments made to EFH on behalf of the consolidated T-side federal tax
   37      06/17/15 Eisler, Marshall      2.1
                                                 liability.

   37      06/17/15 Stolarz, Alexander    3.2    Revise presentation outlining the Debtors' historical NOL calculations.

                                                 Analyze TCEH's federal tax payments under the TSA in order to assess potential
   37      06/17/15 Stolarz, Alexander    3.9
                                                 intercompany tax claims.

                                                 Analyze TCEH's federal tax accrual journal entries for 2011 to be included in the
   37      06/17/15 Stolarz, Alexander    3.1
                                                 presentation to UCC counsel.

                                                 Examine documents received via discovery related to pre petition NOL attribute
   37      06/18/15 Eisler, Marshall      3.1
                                                 utilization.



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Category

   37      06/18/15 Eisler, Marshall      2.4    Evaluate cash payments made by TCEH relating to T-side TGMT liabilities.

                                                 Analyze subgroup state margin tax liabilities in order to reconcile with money pool
   37      06/18/15 Eisler, Marshall      3.5
                                                 balances.

   37      06/18/15 Stolarz, Alexander    3.2    Evaluate draft of standing motion prepared by UCC counsel regarding T-side claims.

                                                 Prepare discussion document in preparation for FTI's call with UCC counsel outlining
   37      06/18/15 Stolarz, Alexander    3.5
                                                 our analysis of TCEH's federal tax claim.

                                                 Analyze TCEH's state tax payments to EFH as part of the state tax presentation
   37      06/18/15 Stolarz, Alexander    3.7
                                                 prepared for counsel.

                                                 Inspect documents received from Debtors relating to the mark-to-market IRS
   37      06/19/15 Eisler, Marshall      3.7
                                                 settlement.

                                                 Prepare report relating to Luminant Generation's receivable regarding the IRS
   37      06/19/15 Eisler, Marshall      2.7
                                                 settlement.

   37      06/19/15 Stolarz, Alexander    3.4    Prepare presentation for counsel on the Debtors' historical state tax calculations.

                                                 Evaluate presentation to be sent to counsel regarding the Debtors' historical NOL
   37      06/19/15 Stolarz, Alexander    3.4
                                                 accounting practices.

                                                 Update presentation to UCC counsel regarding the Debtors' historical NOL utilization
   37      06/22/15 Eisler, Marshall      2.8
                                                 and application.

   37      06/22/15 Eisler, Marshall      3.1    Update presentation to UCC counsel regarding historical AMT attribute consolidation.


   37      06/22/15 Stolarz, Alexander    3.8    Prepare presentation on the Debtors' historical state tax accounting practices.


   37      06/22/15 Stolarz, Alexander    1.9    Prepare NOL and AMT presentations for the meeting with UCC Counsel.


   37      06/22/15 Stolarz, Alexander    2.2    Analyze responses provided by the Debtors regarding the IRS tax settlements.

                                                 Prepare for the meeting with UCC counsel to discuss historical NOL and AMT
   37      06/23/15 Diaz, Matthew         3.3
                                                 practices.

   37      06/23/15 Diaz, Matthew         2.4    Participate in meeting with MoFo to discuss historical AMT and NOL practices.


   37      06/23/15 Eisler, Marshall      2.1    Participate in meeting with UCC counsel regarding FTI's NOL analysis.

                                                 Prepare support documentation for meeting with UCC counsel regarding AMT
   37      06/23/15 Eisler, Marshall      3.8
                                                 analysis.

                                                 Prepare support documentation for meeting with UCC Counsel regarding FTI's AMT
   37      06/23/15 Stolarz, Alexander    2.6
                                                 and NOL analysis.

   37      06/23/15 Stolarz, Alexander    2.0    Participate in meeting with UCC counsel regarding FTI's NOL analysis.



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Category

   37      06/30/15 Stolarz, Alexander    2.9    Prepare response to UCC counsel's tax diligence questions to FTI.


   37      07/01/15 Stolarz, Alexander    2.0    Prepare response to MoFo's tax diligence questions.


   37      07/02/15 Stolarz, Alexander    2.3    Prepare response to MoFo's tax diligence questions.


   37      07/06/15 Diaz, Matthew         1.5    Analyze tax lookback MOFO questions on the AMT.

                                                 Prepare responses to MoFo's due diligence questions re: settlement of federal tax
   37      07/06/15 Eisler, Marshall      3.8
                                                 expenses.

                                                 Evaluate documents received via discovery in order to determine attribute pooling
   37      07/06/15 Eisler, Marshall      2.7
                                                 process.

   37      07/06/15 Eisler, Marshall      2.9    Evaluate journal entries related to the upstreaming of federal tax liabilities.


   37      07/06/15 Stolarz, Alexander    3.7    Prepare response to MoFo's tax diligence questions.


   37      07/06/15 Stolarz, Alexander    2.3    Analyze T-Side journal entries in order to answer Moro's tax diligence questions.

                                                 Analyze AMT and NOL issues raised by counsel in connection with the standing
   37      07/07/15 Diaz, Matthew         2.4
                                                 motion.

                                                 Prepare responses to MoFo's tax due diligence questions related to booking of taxable
   37      07/07/15 Eisler, Marshall      3.7
                                                 income.

   37      07/07/15 Eisler, Marshall      2.4    Evaluate money pool related journal entries to see transfer of attributes.

                                                 Analyze intercompany transactions, evaluating transfer of tax liabilities among T-side
   37      07/07/15 Eisler, Marshall      2.3
                                                 entities.

                                                 Analyze Debtors' deferred tax asset accounts to answer MoFo's tax diligence
   37      07/07/15 Stolarz, Alexander    2.7
                                                 questions.

                                                 Compare 2010 and 2011 booking and clearing of federal tax liabilities in order to
   37      07/07/15 Stolarz, Alexander    3.4
                                                 answer MoFo's tax diligence questions.

                                                 Analyze the flow of net operating losses from business units to the respective
   37      07/07/15 Stolarz, Alexander    2.5
                                                 subgroup parent entity to answer Moro's tax diligence questions.

   37      07/08/15 Eisler, Marshall      2.8    Prepare analysis tracing booking of attributes by T-side subsidiaries.

                                                 Evaluate AMT income in the Power group, related to the upstreaming of attributes to
   37      07/08/15 Eisler, Marshall      2.7
                                                 subgroup parent.

                                                 Analyze entities which settle the federal tax liability through TXUEN to respond to
   37      07/08/15 Stolarz, Alexander    3.9
                                                 MoFo's tax diligence questions.

   37      07/08/15 Stolarz, Alexander    2.6    Revise response to Moro's tax diligence questions.



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            Date         Professional    Hours                                            Activity
Category
                                                 Reconcile journal entries to match Deferred taxes from consolidated income
   37      07/09/15 Eisler, Marshall      2.9
                                                 statement.

   37      07/09/15 Eisler, Marshall      1.4    Analyze adjustments made to GAAP tax income numbers.

                                                 Analyze EFH's consolidating balance sheet to determine use of deferred tax assets in
   37      07/09/15 Stolarz, Alexander    2.5
                                                 order to answer MoFo's tax diligence questions.

   37      07/10/15 Eisler, Marshall      2.5    Update responses to MoFo's due diligence package re: deferred tax assets.


   37      07/13/15 Diaz, Matthew         1.5    Assess MoFo's tax lookback questions and prepared responses.


   37      07/13/15 Eisler, Marshall      1.4    Prepare questions to be sent to Debtors re: booking of GAAP tax entries.


   37      07/13/15 Stolarz, Alexander    1.6    Prepare response to counsel's tax diligence questions.


   37      07/14/15 Diaz, Matthew         2.9    Perform analysis of the responses to the MoFo tax questions.


   37      07/20/15 Diaz, Matthew         1.3    Analyze the AMT calculations re addressing MoFo's questions.


   37      07/22/15 Diaz, Matthew         2.4    Perform detailed analysis of the responses to MoFo's tax look back questions.


   37      07/22/15 Stolarz, Alexander    2.8    Revise FTI's response to UCC counsel's tax diligence questions.


   37      07/24/15 Diaz, Matthew         1.4    Edit the due diligence list going to the Debtors re: tax inquiries.


   37      07/24/15 Diaz, Matthew         0.8    Finalize the responses to the open questions from Counsel.


   37      07/24/15 Eisler, Marshall      3.8    Update responses to MoFo's diligence questions re: deferred tax assets.


37 Total                                 608.2
                                                 Evaluate documents provided by the Debtor supporting the Oncor REIT business plan
   38      05/01/15 Arsenault, Ronald     4.0
                                                 financial statements.
   38      05/11/15 Joffe, Steven         0.2    Participate in Committee call regarding the pending T-Side mediation.

   38      05/11/15 Greenberg, Mark       0.4    Evaluate IRS questions and evaluate impact on T-side asset basis step-up.
                                                 Participate in call with Debtors to discuss taxable T-side transaction and omnibus tax
   38      05/12/15 Greenberg, Mark       0.6
                                                 memorandum.
   38      05/26/15 Joffe, Steven         0.7    Participate in call with K&E, MoFo re: IRS ruling.

   38      06/08/15 Joffe, Steven         0.2    Participate in Committee call regarding to discuss status of financing for REIT.

   38      06/16/15 Greenberg, Mark       3.3    Analyze terms of potential busted 351 tax transaction.



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Category
   38      07/02/15 Greenberg, Mark      0.5    Correspond with MoFo and Lazard re: status of Plan negotiations.

   38      07/06/15 Greenberg, Mark      0.2    Correspond with MoFo re: analysis required for Plan negotiations.

   38      07/13/15 Greenberg, Mark      0.5    Correspond with MoFo re: term sheet structure among T-side creditor groups.

   38      07/16/15 Joffe, Steven        1.1    Analyze proposals from TCEH 1st lien creditors to determine tax impact.

   38      07/21/15 Joffe, Steven        1.1    Analyze proposed plan presented by TCEH first liens.

   38      07/23/15 Greenberg, Mark      0.5    Participate in call with UCC professionals re: Plan provisions and creditor treatment.

   38      07/27/15 Greenberg, Mark      0.6    Participate in call among UCC professionals to discuss status of plan negotiations.

   38      07/27/15 Greenberg, Mark      0.4    Participate in UCC call to discuss status of Plan negotiations.
                                                Examine Court documents and recent articles detailing the proposed plan of
   38      07/27/15 Greenberg, Mark      0.5
                                                reorganization.
   38      07/28/15 Joffe, Steven        0.6    Analyze latest draft of Plan from a tax perspective.
                                                Correspond with MoFo and counsel to TCEH second lien note holders re: POR
   38      07/28/15 Greenberg, Mark      1.0
                                                negotiations.
   38      07/28/15 Greenberg, Mark      0.5    Participate on UCC call to discuss latest Plan negotiations.

   38      07/29/15 Joffe, Steven        0.4    Analyze latest draft plan and support agreement for tax purposes.

   38      07/29/15 Greenberg, Mark      0.9    Correspond with UCC counsel re: status of POR issues and creditor recoveries.

   38      07/30/15 Greenberg, Mark      0.6    Participate in UCC professionals call to discuss Plan and Disclosure Statement issues.

   38      07/31/15 Greenberg, Mark      0.5    Correspond with UCC counsel re: status of Plan negotiations.
                                                Participate in call with Debtors to discuss outstanding tax issues to be resolved prior to
   38      08/11/15 Greenberg, Mark      0.6
                                                Plan confirmation.
                                                Participate in call with Debtors to discuss state tax liabilities, busted 351 transaction,
   38      08/25/15 Greenberg, Mark      1.0
                                                active trade or business qualification.
38 Total                                20.9


   39      05/01/15 Scruton, Andrew      1.1    Provide comments on open items re: model scenarios of REIT business plan.


   39      05/01/15 Greenberg, Mark      3.2    Evaluate optimal debt and equity split for Oncor REIT capital infusion.


   39      05/01/15 Greenberg, Mark      2.2    Evaluate projected tax savings associated with a REIT structure.

                                                Prepare reconciliation of Debtors' financial statements to supporting schedule
   39      05/01/15 Arsenault, Ronald    2.9
                                                provided in the data room related to REIT business plan.

                                                Perform diligence reconciliation of the Oncor business plan to source documents
   39      05/03/15 Arsenault, Ronald    2.7
                                                received by the Debtors.

                                                Evaluate draft term sheet prepared by third party related to the conversion of Oncor's
   39      05/04/15 Greenberg, Mark      1.1
                                                equity interests into a REIT.




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Category
                                                Analyze annual IRR results associated with the conversion to an EFH REIT structure
   39      05/04/15 Greenberg, Mark      1.7
                                                to evaluate feasibility.

                                                Analyze interest expense reductions to REIT dividends to evaluate forecasted annual
   39      05/04/15 Greenberg, Mark      0.9
                                                dividend yields.

                                                Evaluate feasibility of REIT structure based on examination of book and taxable
   39      05/04/15 Greenberg, Mark      3.3
                                                income differences and annual dividend growth.

                                                Prepare analysis of Scenario B REIT economics including sensitivity to shareholder
   39      05/04/15 Arsenault, Ronald    2.9
                                                metrics at varying enterprise values.

   39      05/04/15 Arsenault, Ronald    1.7    Prepare model summarizing REIT economics.

                                                Incorporate revisions to Scenario B REIT analysis including recalculating leverage
   39      05/04/15 Arsenault, Ronald    2.8
                                                based on new methodology.

   39      05/05/15 Greenberg, Mark      0.5    Correspond with Lazard re: alternative REIT assets and structures.

                                                Analyze Oncor's integrated REIT financial statements to assess REIT operating
   39      05/05/15 Greenberg, Mark      3.7
                                                feasibility.

                                                Prepare REIT dividend model for Lazard to use in assessing the REIT enterprise
   39      05/05/15 Greenberg, Mark      3.8
                                                value.

                                                Revise REIT model economics to reflect average membership interest and dividend
   39      05/05/15 Arsenault, Ronald    2.1
                                                yield beginning in 2016.

   39      05/05/15 Arsenault, Ronald    3.8    Perform analysis of REIT economics to assess feasibility issues.


   39      05/06/15 Joffe, Steven        0.7    Participate in Committee call regarding REIT planning.


   39      05/06/15 Scruton, Andrew      0.7    Correspond with Debtors advisors on REIT diligence requests.

                                                Correspond with Debtors re: reconciliation of book and tax income per Oncor REIT
   39      05/06/15 Greenberg, Mark      0.2
                                                business plan.

                                                Analyze Oncor's integrated REIT financial statements to assess REIT operating
   39      05/06/15 Greenberg, Mark      2.7
                                                feasibility.

   39      05/06/15 Greenberg, Mark      0.2    Correspond with Lazard re: Oncor REIT dividend yields.

                                                Correspond with UCC counsel re: open items and documents needed related to the
   39      05/06/15 Greenberg, Mark      0.6
                                                REIT business plan diligence.

                                                Participate in call with Committee to analyze REIT economics and first lien
   39      05/06/15 Arsenault, Ronald    1.0
                                                investigation.

   39      05/06/15 Arsenault, Ronald    3.2    Incorporate revisions and removal of legacy items in the REIT model.

                                                Participate in call with Lazard to discuss REIT projection scenarios and follow up
   39      05/07/15 Scruton, Andrew      0.8
                                                diligence.



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Category

   39      05/07/15 Cordasco, Michael    0.7    Participate in call with Lazard to discuss modifications to REIT valuation analysis.


   39      05/07/15 Greenberg, Mark      0.2    Participate in discussion with Debtors related to REIT diligence open items.


   39      05/07/15 Greenberg, Mark      0.6    Participate in call with Lazard re: REIT feasibility issues and funding requirements.


   39      05/07/15 Greenberg, Mark      4.0    Analyze Oncor's alternative REIT business plan to evaluate REIT feasibility.

                                                Participate in discussion with UCC professionals to discuss REIT negotiations and
   39      05/07/15 Arsenault, Ronald    1.2
                                                capital raising effort.

                                                Examine analysis of Oncor REIT transaction with UCC professionals including
   39      05/07/15 Arsenault, Ronald    1.1
                                                evaluating shareholder metrics for valuation.

                                                Evaluate current REIT analysis to determine next steps including evaluating
   39      05/07/15 Arsenault, Ronald    2.8
                                                sensitivities and transaction structures.

                                                Correspond with Debtors re: Oncor REIT reconciliation between book income and
   39      05/08/15 Greenberg, Mark      0.3
                                                federal tax income.

                                                Develop revised REIT financial package including balance sheet details, equity
   39      05/08/15 Arsenault, Ronald    2.8
                                                appreciation, and shareholder metrics.

                                                Finalize REIT financial package illustrating economics of Scenario B relative to
   39      05/08/15 Arsenault, Ronald    2.1
                                                market expectation.

   39      05/11/15 Scruton, Andrew      2.1    Evaluate new scenario for REIT structures incorporating T only REIT.


   39      05/11/15 Scruton, Andrew      0.8    Participate in discussion with counsel on new REIT scenarios.


   39      05/11/15 Cordasco, Michael    0.5    Participate in call with Counsel to prepare agenda for tax / REIT call with debtors.


   39      05/11/15 Cordasco, Michael    0.7    Assess required modifications to REIT model.


   39      05/11/15 Cordasco, Michael    0.8    Analyze the mechanics of REIT model for purposes of evaluating feasibility.

                                                Participate in call with MoFo re: open REIT issues for the Debtors to be addressed on
   39      05/11/15 Greenberg, Mark      0.4
                                                tomorrow's call.

   39      05/11/15 Greenberg, Mark      0.3    Participate in call with Lazard re: Oncor REIT analysis and next steps.

                                                Participate in call with Debtors re: Oncor REIT open items and upcoming discussion
   39      05/11/15 Greenberg, Mark      0.3
                                                with Oncor management.

                                                Analyze Oncor long range plan dated December 2014 and prepare questions for Oncor
   39      05/11/15 Greenberg, Mark      2.8
                                                management.

   39      05/11/15 Greenberg, Mark      2.9    Evaluate projected share price growth under Oncor REIT structure.



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Category
                                                Participate in discussion with UCC and UCC professionals re: status of REIT
   39      05/11/15 Arsenault, Ronald    1.1
                                                negotiations with Hunt part and general progress on REIT transaction.

                                                Participate in discussion with Counsel regarding outstanding tax issues including
   39      05/11/15 Arsenault, Ronald    0.9
                                                REIT negotiations and the E&P allocation.

   39      05/11/15 Arsenault, Ronald    2.6    Analyze impact to REIT economics based on EFIH debt service and REIT expenses.

                                                Revise REIT economics to account for the end of year value of equity interest and
   39      05/11/15 Arsenault, Ronald    3.0
                                                develop per share metrics.

   39      05/12/15 Joffe, Steven        0.4    Analyze REIT structure and separation into transmission REIT only.


   39      05/12/15 Scruton, Andrew      1.9    Evaluate new modeling scenarios based upon T only REIT structure.


   39      05/12/15 Greenberg, Mark      0.2    Participate in call with Debtors to discuss outstanding REIT information request items.

                                                Correspond with Debtors and UCC professionals re: Oncor long range plan and REIT
   39      05/12/15 Greenberg, Mark      1.2
                                                business plan diligence.

                                                Analyze Oncor long range plan dated December 2014 and prepare questions for Oncor
   39      05/12/15 Greenberg, Mark      4.0
                                                management.

   39      05/12/15 Greenberg, Mark      0.2    Prepare agenda for upcoming call with Oncor management re: REIT.

                                                Evaluate dividend per share growth and capital appreciation under an Oncor REIT
   39      05/12/15 Greenberg, Mark      3.1
                                                structure.

                                                Participate in discussion with Counsel to discuss outstanding tax issues including new
   39      05/12/15 Arsenault, Ronald    1.3
                                                REIT business plans provided in mid-May.

                                                Develop financial package summarizing REIT economics for presentation to the
   39      05/12/15 Arsenault, Ronald    3.7
                                                Committee.

                                                Prepare diligence questions for session with Oncor management including
   39      05/12/15 Arsenault, Ronald    2.3
                                                examination of the October LRP and the REIT business plans.

                                                Correspond with Counsel on Court hearing and implications of statements re: REIT
   39      05/13/15 Scruton, Andrew      0.7
                                                progress.

                                                Correspond with Debtors and UCC counsel re: REIT discussion topics for tomorrow's
   39      05/13/15 Greenberg, Mark      0.8
                                                call with Oncor management.

                                                Analyze transmission-only asset REIT to evaluate shareholder returns as compared to
   39      05/13/15 Greenberg, Mark      3.6
                                                a transmission and distribution asset REIT.

                                                Participate in call with Oncor management and Debtors' professionals to discuss
   39      05/14/15 Scruton, Andrew      1.1
                                                Oncor LRP business plan development process.

                                                Provide comments re: diligence requests and questions in preparation for call with
   39      05/14/15 Scruton, Andrew      1.3
                                                Oncor management.

                                                Participate in call with Debtors and Oncor management re: Oncor's long range
   39      05/14/15 Greenberg, Mark      1.1
                                                business plan.



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Category
                                                Correspond with UCC counsel and Debtors re: REIT discussion points with Oncor
   39      05/14/15 Greenberg, Mark      0.6
                                                management.

                                                Correspond with Lazard regarding long-term share price growth under a REIT
   39      05/14/15 Greenberg, Mark      0.5
                                                structure.

                                                Participate in discussion with the Committee and Oncor management to discuss
   39      05/14/15 Arsenault, Ronald    1.2
                                                October LRP and REIT business plans.

                                                Participate in discussion with UCC professionals to discuss analysis of Scenario B
   39      05/14/15 Arsenault, Ronald    0.8
                                                REIT economics.

                                                Participate in call with Oncor management and Debtors' professionals to discuss REIT
   39      05/15/15 Scruton, Andrew      1.0
                                                business plan development process.

   39      05/15/15 Scruton, Andrew      0.4    Correspond with counsel on status of REIT process and next steps.


   39      05/15/15 Scruton, Andrew      1.3    Discuss open due diligence items list with Oncor management.


   39      05/15/15 Joffe, Steven        2.2    Evaluate document(s) re: REIT asset evaluation prepared by the Debtors.


   39      05/15/15 Cordasco, Michael    1.2    Evaluate assumptions built into REIT model.


   39      05/15/15 Cordasco, Michael    1.1    Participate in call with Oncor management to discuss diligence re: REIT structures.


   39      05/15/15 Greenberg, Mark      0.8    Prepare questions for Debtors related to various REIT structures.


   39      05/15/15 Greenberg, Mark      0.4    Correspond with UCC professionals re: REIT agenda for upcoming UCC call.

                                                Participate in call with Debtors and Oncor management re: Oncor's REIT business
   39      05/15/15 Greenberg, Mark      1.0
                                                plans.

   39      05/15/15 Greenberg, Mark      2.4    Analyze Debtors' revised REIT business plan to evaluate REIT feasibility.


   39      05/15/15 Greenberg, Mark      0.5    Participate in call with MoFo to discuss rate case impact on REIT evaluation.

                                                Participate in discussion with Committee and Oncor management to discuss October
   39      05/15/15 Arsenault, Ronald    1.1
                                                LRP and REIT business plans.

                                                Update REIT model for new scenarios populated in the data room including updated
   39      05/15/15 Arsenault, Ronald    2.9
                                                projections through 2022.

   39      05/15/15 Arsenault, Ronald    2.1    Refine REIT model to account for transmission only scenarios.

                                                Prepare summary of key takeaways and comprehensive notes from meetings with
   39      05/16/15 Arsenault, Ronald    1.8
                                                Oncor management.

   39      05/18/15 Joffe, Steven        0.6    Participate in call with Committee regarding restructuring alternatives.



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   39      05/18/15 Cordasco, Michael    1.5    Provide comments to draft REIT total return calculations.


   39      05/18/15 Cordasco, Michael    0.7    Evaluate recovery calculations re: draft REIT model.

                                                Analyze components of Debtors' updated REIT business plan analysis re: transmission
   39      05/18/15 Cordasco, Michael    0.8
                                                and delivery split.

                                                Analyze REIT transaction including Oncor diligence and E&P allocation in
   39      05/18/15 Arsenault, Ronald    1.0
                                                preparation for Committee call.

                                                Prepare analysis of Scenario B REIT deal structure including total return sensitivity to
   39      05/18/15 Arsenault, Ronald    2.8
                                                Oncor TEV.

   39      05/18/15 Arsenault, Ronald    2.9    Incorporate revisions to the summary of Scenario B REIT deal structure analysis.


   39      05/19/15 Cordasco, Michael    1.3    Analyze reasonableness of key assumptions contained within REIT recovery model.

                                                Finalize financial package evaluating Scenario B REIT deal structure for discussion
   39      05/19/15 Arsenault, Ronald    2.2
                                                with UCC professionals.

   39      05/21/15 Scruton, Andrew      1.1    Analyze REIT diligence requests.


   39      05/21/15 Cordasco, Michael    1.3    Assess modifications required for updated REIT recovery analysis.

                                                Participate in discussion with UCC professionals to discuss REIT transaction
   39      05/21/15 Arsenault, Ronald    1.1
                                                negotiations, and E&P tax allocation diligence.

                                                Provide comments to Counsel's summary on key topics discussed with Oncor
   39      05/22/15 Scruton, Andrew      1.1
                                                management and open item lists.

   39      05/22/15 Cordasco, Michael    0.4    Provide comments to due diligence list re: REIT analysis.


   39      05/26/15 Scruton, Andrew      0.8    Participate in discussion with Lazard re: REIT financial modeling issues.


   39      05/26/15 Cordasco, Michael    0.4    Assess required modifications to REIT total recovery model.

                                                Participate in call with Lazard to discuss additional modeling for alternative REIT
   39      05/26/15 Cordasco, Michael    0.5
                                                scenarios.

   39      05/26/15 Cordasco, Michael    0.3    Analyze alternative REIT structures being contemplated by Debtors.

                                                Participate in discussion with UCC professionals regarding analysis of a Scenario B
   39      05/26/15 Arsenault, Ronald    1.5    REIT structure including impact on total return to shareholders' and sensitivity to
                                                Oncor TEV.
                                                Participate in discussion with Committee re: REIT transaction negotiations and tax
   39      05/26/15 Arsenault, Ronald    1.0
                                                related issues.

                                                Correspond with Counsel on Court hearing developments and implications of
   39      05/27/15 Scruton, Andrew      0.8
                                                statements re: REIT progress.



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Category

   39      05/27/15 Cordasco, Michael    0.6    Prepare outline outstanding items for REIT alternatives model.

                                                Analyze Oncor Management presentation and comparison against current LRP issued
   39      05/27/15 Arsenault, Ronald    2.9
                                                in December 2014.

   39      05/28/15 Scruton, Andrew      1.2    Analyze REIT aspects of Adhoc Noteholder Plan term sheet.


   39      05/29/15 Cordasco, Michael    0.6    Assess Oncor management presentation re: revised REIT distribution projections.

                                                Analyze REIT section of management presentation re: modified REIT structure and
   39      05/29/15 Cordasco, Michael    0.7
                                                related financial impacts.

                                                Assess estimated equity and cash tax distribution analysis to determine impact versus
   39      05/29/15 Cordasco, Michael    0.6
                                                latest REIT analysis.

                                                Analyze REIT section of latest draft term sheet to determine financial impact on REIT
   39      05/29/15 Cordasco, Michael    0.9
                                                analysis.

   39      06/01/15 Joffe, Steven        1.6    Examine REIT materials provided by the Debtors to analyze UCC recoveries.


   39      06/01/15 Cordasco, Michael    1.1    Analyze REIT models prepared by Debtors to assess reasonableness of scenarios.


   39      06/01/15 Greenberg, Mark      0.8    Examine UCC counsel's summary of alternative REIT structures.

                                                Analyze Debtors' REIT diligence and modeling presentation to evaluate impact on
   39      06/01/15 Greenberg, Mark      2.9
                                                REIT taxable income.

   39      06/01/15 Arsenault, Ronald    2.9    Analyze REIT term sheet to assess impact on REIT economics and UCC recovery.

                                                Evaluate "REIT Diligence and Modeling" presentation provided by the Debtors
   39      06/01/15 Arsenault, Ronald    2.8
                                                summarizing the impact on taxable income.

   39      06/02/15 Joffe, Steven        2.4    Analyze the Debtors' REIT taxable income presentation.

                                                Analyze Debtors' REIT diligence and modeling presentation to evaluate impact on
   39      06/02/15 Greenberg, Mark      3.8
                                                REIT taxable income.

   39      06/02/15 Greenberg, Mark      1.7    Evaluate REIT impact of earnings & profit distribution estimate.

                                                Participate in meeting with UCC and Counsel to discuss REIT negotiations, status of
   39      06/02/15 Arsenault, Ronald    1.0
                                                Ad Hoc term sheet and next steps.

   39      06/03/15 Joffe, Steven        3.1    Perform tax analysis regarding ramifications of REIT conversion.


   39      06/03/15 Joffe, Steven        0.9    Participate in call with MoFo regarding REIT conversion.

                                                Participate in call with UCC counsel to discuss REIT diligence and modeling
   39      06/03/15 Greenberg, Mark      1.0
                                                presentation provided by Debtors.



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Category

   39      06/03/15 Greenberg, Mark      4.0    Evaluate REIT impact on earnings & profit distribution estimates.


   39      06/03/15 Greenberg, Mark      1.9    Prepare financial summary of REIT diligence and modeling for UCC counsel.


   39      06/03/15 Greenberg, Mark      1.6    Evaluate REIT impact of taxable gain from potential OpCo sale.


   39      06/04/15 Cordasco, Michael    1.8    Correspond with Houlihan Lokey regarding REIT recovery analysis assumptions.


   39      06/04/15 Greenberg, Mark      3.8    Evaluate REIT impact of purchase of Oncor minority.

                                                Evaluate REIT impact of additional income associated with section 704(c) of the
   39      06/04/15 Greenberg, Mark      2.4
                                                Internal Revenue Code.

   39      06/04/15 Arsenault, Ronald    1.1    Analyze financial summary of REIT diligence materials ahead of call.


   39      06/04/15 Arsenault, Ronald    3.6    Prepare financial model evaluating a transmission only REIT scenario.

                                                Develop capital structure, equity and debt-free cash flows, and income statements for
   39      06/04/15 Arsenault, Ronald    2.8
                                                transmission only REIT alternative.

                                                Participate in call with UCC counsel to discuss status of REIT information request to
   39      06/05/15 Greenberg, Mark      0.3
                                                Debtors.

                                                Evaluate a transmission only REIT scenario in order to assess intercompany tax
   39      06/05/15 Arsenault, Ronald    2.9
                                                claims.

                                                Prepare financial model evaluating transmission only REIT alternative including cash
   39      06/05/15 Arsenault, Ronald    2.3
                                                flow to PropCo, OpCo and the distribution utility.

   39      06/07/15 Arsenault, Ronald    3.1    Prepare presentation summarizing transmission only REIT economics.


   39      06/08/15 Joffe, Steven        1.4    Participate in call with UCC counsel regarding Debtor's REIT presentation.

                                                Participate in call with UCC counsel to discuss questions relating to the Debtors'
   39      06/08/15 Greenberg, Mark      1.4
                                                Texas margin tax update and E&P update.

                                                Prepare diligence questions for the Debtors related to REIT schedules covering Texas
   39      06/08/15 Greenberg, Mark      0.8
                                                margin tax update and E&P update.

   39      06/08/15 Greenberg, Mark      2.6    Evaluate REIT impact of purchase of Oncor minority.

                                                Participate in discussion with the UCC and UCC counsel to evaluate progress with
   39      06/08/15 Arsenault, Ronald    0.9
                                                respect to REIT negotiations.

                                                Examine revisions to transmission only REIT analysis to asses impact on REIT
   39      06/08/15 Arsenault, Ronald    3.8
                                                economics.

                                                Prepare financial package summarizing transmission only REIT economics including
   39      06/08/15 Arsenault, Ronald    2.2
                                                impact of cash flows on total return to PropCo, OpCo, and the distribution utility.



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Category
                                                Participate in discussion with Debtors, Debtors' counsel, and UCC counsel regarding
   39      06/09/15 Joffe, Steven        1.0
                                                REIT income.

   39      06/09/15 Joffe, Steven        1.1    Participate in call with counsel regarding REIT earnings and profits.

                                                Participate in call with counsel regarding discussion of REIT economics with
   39      06/09/15 Joffe, Steven        0.6
                                                Houlihan.

                                                Participate in discussion with UCC counsel regarding the REIT impact from the
   39      06/09/15 Greenberg, Mark      2.3
                                                purchase of the Oncor minority interest and the E&P estimates.

                                                Participate in discussion with advisors to the Ad Hoc group of TCEH unsecured
   39      06/09/15 Greenberg, Mark      0.6
                                                noteholders re: REIT economic feasibility.

                                                Participate in call with Debtors to discuss estimated pre-REIT E&P and incremental
   39      06/09/15 Greenberg, Mark      1.1
                                                Texas margin tax.

   39      06/09/15 Arsenault, Ronald    1.1    Analyze financials of REIT economics to assess feasibility.


   39      06/09/15 Arsenault, Ronald    2.4    Prepare presentation summarizing economics of transmission only REIT.

                                                Develop financial model for transmission and distribution REIT and asses capital
   39      06/09/15 Arsenault, Ronald    2.7
                                                structure, returns to equity holders, and cash flows to PropCo and OpCo.

                                                Analyze return on investment of REIT shareholders under a transmission and
   39      06/10/15 Greenberg, Mark      4.0
                                                distribution REIT.

                                                Analyze return on investment of REIT shareholders under a transmission-only REIT
   39      06/10/15 Greenberg, Mark      3.7
                                                scenario.

                                                Analyze key conclusions from call with Houlihan Lokey including revisions to the
   39      06/10/15 Arsenault, Ronald    2.3
                                                REIT analysis.

   39      06/10/15 Arsenault, Ronald    3.2    Prepare presentation summarizing the transmission only REIT alternative economics.


   39      06/11/15 Cordasco, Michael    1.2    Prepare analysis summarizing assumptions for REIT recovery model.


   39      06/11/15 Greenberg, Mark      3.6    Prepare financial model evaluating total returns to REIT shareholders.


   39      06/11/15 Greenberg, Mark      2.9    Evaluate ROE considerations and their impact under a T-only REIT scenario.

                                                Participate in discussion with UCC professionals regarding status of REIT
   39      06/11/15 Arsenault, Ronald    0.8
                                                negotiations and economic impact of key terms.

   39      06/11/15 Arsenault, Ronald    2.9    Revise REIT financial model to address changes to capital structure and cash balance.


   39      06/12/15 Greenberg, Mark      0.2    Correspond with UCC counsel re: comments on REIT term sheet.


   39      06/12/15 Greenberg, Mark      4.0    Prepare financial model evaluating total returns to REIT shareholders.



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Category

   39      06/12/15 Greenberg, Mark      2.8    Evaluate impact of REIT dividend distributions from pre-REIT earnings and profits.

                                                Revise REIT projections to account for additional expense items reducing taxable
   39      06/12/15 Arsenault, Ronald    2.1
                                                income.

   39      06/12/15 Arsenault, Ronald    2.8    Evaluate internal rate of return for each equity investor under various REIT scenarios.


   39      06/13/15 Greenberg, Mark      0.5    Examine REIT documents posted by the Debtors to Intralinks.


   39      06/14/15 Greenberg, Mark      1.4    Analyze REIT draft term sheet to assess alternative assumptions.


   39      06/14/15 Greenberg, Mark      1.5    Update REIT business plan model to reflect alternative assumptions.


   39      06/14/15 Arsenault, Ronald    2.9    Analyze Ad Hoc term sheet outlining REIT deal with Ad Hoc group and the Hunts.


   39      06/15/15 Joffe, Steven        0.6    Evaluate REIT proposal and the impact on UCC recovery.


   39      06/15/15 Joffe, Steven        0.9    Participate in call with UCC counsel regarding EFH's REIT calculations.

                                                Participate in call with Debtors' counsel and Committee counsel regarding EFH's
   39      06/15/15 Joffe, Steven        1.1
                                                REIT presentation.

                                                Analyze April 6, June 3 and June 12th term sheets for REIT transaction to assess the
   39      06/15/15 Joffe, Steven        2.8
                                                potential tax impact.

                                                Participate in call with Debtors to discuss considerations that impact REIT taxable
   39      06/15/15 Greenberg, Mark      1.1
                                                income.

                                                Participate in call with UCC professionals to discuss Plan issues as it pertains to a
   39      06/15/15 Greenberg, Mark      0.4
                                                REIT structure.

                                                Assess REIT organizational structure based on draft term sheet and compile questions
   39      06/15/15 Greenberg, Mark      3.0
                                                for Debtors.

                                                Prepare REIT analysis reconciling FTI's claims model to that of the Ad Hoc term
   39      06/15/15 Arsenault, Ronald    2.2
                                                sheet.

                                                Prepare analysis of REIT economics comparing T&D REIT to transmission only REIT
   39      06/15/15 Arsenault, Ronald    2.0
                                                scenario.

   39      06/15/15 Arsenault, Ronald    2.6    Prepare analysis summarizing economics of the Oncor REIT intercompany tax claims.


   39      06/15/15 Arsenault, Ronald    2.6    Prepare analysis on REIT economics reflecting the terms of the Ad Hoc plan.


   39      06/16/15 Joffe, Steven        3.5    Analyze the impact of the June 12th term sheet to evaluate the REIT structure.

                                                Evaluate UCC counsel's presentation regarding June 12th term sheet and the REIT
   39      06/16/15 Joffe, Steven        1.3
                                                provisions.



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Category
                                                Update REIT model to reflect terms of revised financing under alternative REIT
   39      06/16/15 Greenberg, Mark      3.3
                                                scenarios.

   39      06/16/15 Greenberg, Mark      0.3    Correspond with UCC counsel re: REIT organizational structure issues.


   39      06/16/15 Arsenault, Ronald    2.1    Analyze Ad Hoc term sheet to highlight REIT issues.


   39      06/16/15 Arsenault, Ronald    3.4    Prepare key observations on pre- and post- term sheet REIT economics.


   39      06/17/15 Scruton, Andrew      2.1    Examine Ad Hoc REIT term sheet to assess the impact on intercompany claims.

                                                Analyze Ad-hoc committee proposal and REIT provisions to assess potential tax
   39      06/17/15 Joffe, Steven        2.2
                                                impact.

                                                Assess draft of principal terms of a potential Plan of Reorganization with respect to
   39      06/17/15 Greenberg, Mark      1.4
                                                REIT considerations.

                                                Participate in meeting with professionals of T-side and hoc group of unsecured note
   39      06/17/15 Greenberg, Mark      1.6
                                                holders to discuss REIT issues and creditor recoveries.

   39      06/17/15 Greenberg, Mark      2.8    Assess drafts of REIT financing term sheets to determine impact to creditors.


   39      06/17/15 Greenberg, Mark      0.5    Participate in meeting with UCC counsel to discuss REIT structure issues.


   39      06/18/15 Scruton, Andrew      1.3    Participate in meeting with Noteholder professionals to discuss status of REIT Plan.


   39      06/18/15 Greenberg, Mark      0.6    Assess draft Plan Support Agreement with respect to REIT consideration.

                                                Participate in call with Lazard and Houlihan Lokey to discuss key assumptions and
   39      06/18/15 Cordasco, Michael    0.6
                                                status of REIT negotiations.

                                                Participate in call with financial advisor to ad hoc group of TCEH unsecured note
   39      06/18/15 Greenberg, Mark      1.0
                                                holders re: REIT economics and financial considerations.

                                                Participate in discussion with Lazard re: funding sources and uses of a potential REIT
   39      06/18/15 Greenberg, Mark      0.3
                                                structure.

                                                Prepare diligence questions for call with financial advisor to ad hoc group of TCEH
   39      06/18/15 Greenberg, Mark      2.5
                                                unsecured note holders re: REIT economics and financial considerations.

   39      06/22/15 Joffe, Steven        3.5    Analyze REIT term sheet to assess impact on REIT economics and UCC recovery.


   39      06/22/15 Arsenault, Ronald    2.9    Evaluate Lazard analysis on REIT term sheet and its impact on claim recovery.


   39      06/22/15 Arsenault, Ronald    3.9    Analyze Debtor's plan of reorganization to determine impact on REIT transaction.

                                                Participate in call with Debtors' counsel and UCC counsel regarding IRS ruling
   39      06/23/15 Joffe, Steven        0.8
                                                process, earnings and profits allocations and Opco/PropCo lease.



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            Date         Professional   Hours                                         Activity
Category

   39      06/23/15 Scruton, Andrew      3.6    Evaluate REIT Plan term sheet and corresponding impact on UCC recoveries.


   39      06/23/15 Greenberg, Mark      1.2    Analyze Debtors' revised Plan of Reorganization for tax purposes.

                                                Participate in call with Debtors re: IRS correspondence, PropCo/OpCo lease terms and
   39      06/23/15 Greenberg, Mark      0.9
                                                earnings & profit analysis.

   39      06/23/15 Greenberg, Mark      0.3    Correspond with advisors to TCEH second lien holders re: Oncor REIT projections.


   39      06/23/15 Greenberg, Mark      0.3    Correspond with Lazard re: draft term sheet analysis associated with REIT.

                                                Sensitize REIT business plan, EBITDA, and taxable income to evaluate impact to
   39      06/23/15 Greenberg, Mark      3.4
                                                cash tax savings.

                                                Correspond with counsel on court hearing developments and implications of
   39      06/24/15 Scruton, Andrew      3.7
                                                statements re: REIT progress.

   39      06/24/15 Greenberg, Mark      0.2    Prepare correspondence to MoFo re: Plan confirmation schedule.

                                                Correspond with UCC counsel re: Debtors' correspondence with the IRS related to
   39      06/24/15 Greenberg, Mark      0.3
                                                earnings & profit purging.

                                                Participate in call with advisors to the TCEH second lien holders regarding Oncor
   39      06/24/15 Greenberg, Mark      0.8
                                                REIT free cash flow issues.

                                                Update REIT model to reflect terms provided in the TECH ad hoc group REIT
   39      06/24/15 Greenberg, Mark      3.8
                                                financing term sheet.

   39      06/25/15 Joffe, Steven        1.5    Examine IRS responses regarding allocation of earnings and profits.

                                                Correspond with MoFo re: Plan confirmation scheduling and today's status conference
   39      06/25/15 Greenberg, Mark      0.5
                                                update.

                                                Participate in call with Lazard to discuss TCEH ad hoc group REIT term sheet
   39      06/25/15 Greenberg, Mark      0.5
                                                summary.

                                                Analyze Debtors' REIT distribution reconciliation and assess economic impact on
   39      06/25/15 Greenberg, Mark      3.0
                                                REIT investments.

                                                Update REIT model to reflect terms provided in the TECH ad hoc group REIT
   39      06/25/15 Greenberg, Mark      1.9
                                                financing term sheet.

                                                Prepare sensitivity analysis on Oncor's projected EBITDA to asses impact on value at
   39      06/25/15 Arsenault, Ronald    2.9
                                                various discount rates.

   39      06/25/15 Arsenault, Ronald    3.4    Update summary of impact on value at various Oncor projected EBITDA levels.


   39      06/26/15 Greenberg, Mark      0.3    Read articles summarizing confirmation scheduling hearing and Oncor sale process.

                                                Examine book-to-tax income reconciliation provided by Debtors associated with
   39      06/26/15 Greenberg, Mark      1.0
                                                Oncor REIT projections.



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 Task
            Date         Professional   Hours                                          Activity
Category
                                                Participate in call with Committee regarding potential transactions with respect to
   39      06/29/15 Joffe, Steven        0.8
                                                Oncor.

                                                Analyze overview of REIT Plan term sheet prepared by UCC counsel to be presented
   39      06/29/15 Greenberg, Mark      0.7
                                                to the UCC.

   39      06/29/15 Greenberg, Mark      2.6    Prepare correspondence to Oncor advisors re: Oncor's projected book and tax income.


   39      06/29/15 Greenberg, Mark      0.2    Correspond with Debtors re: REIT tax-effected distributions to shareholders.


   39      06/29/15 Greenberg, Mark      1.9    Assess REIT tax-effected distributions to shareholders.


   39      06/29/15 Arsenault, Ronald    3.5    Revise summary of the REIT tax savings impact on Oncor return metrics.


   39      06/30/15 Scruton, Andrew      2.1    Examine the revised financial analysis of the REIT Plan term sheet.

                                                Correspond with Counsel regarding update on the latest settlement discussions
   39      06/30/15 Scruton, Andrew      2.5
                                                relating to the REIT plan.

   39      06/30/15 Greenberg, Mark      2.7    Assess impact to REIT dividend yield calculations based on future debt/equity raises.


   39      07/01/15 Scruton, Andrew      2.1    Provide comments on the revised versions of tax calculations re: formation of REIT.


   39      07/01/15 Scruton, Andrew      1.3    Evaluate negotiation developments re: treatment of TCEH 1st Liens.


   39      07/01/15 Greenberg, Mark      1.2    Correspond with Oncor's financial advisor to discuss forecasted equity distributions.


   39      07/01/15 Greenberg, Mark      2.6    Analyze potential adjustments to projected equity distributions to REIT shareholders.

                                                Participate in discussion with Oncor management re: distribution constraints driven by
   39      07/01/15 Arsenault, Ronald    0.9
                                                capitalization structure.

   39      07/02/15 Greenberg, Mark      3.1    Analyze potential adjustments to projected equity distributions to REIT shareholders.

                                                Assess financial impact of PropCo / OpCo cash flow projections under a REIT
   39      07/06/15 Greenberg, Mark      2.3
                                                structure.

                                                Perform reconciliation of OpCo cash flow distributions to Debtors' Scenario B REIT
   39      07/06/15 Arsenault, Ronald    1.2
                                                structure.

                                                Examine recent articles regarding PUC approval for the purpose of understanding
   39      07/07/15 Greenberg, Mark      0.2
                                                potential impact on REIT structure.

                                                Participate in call with Debtors to discuss audit adjustments, NOL estimate, and IRS
   39      07/07/15 Greenberg, Mark      0.7
                                                correspondence.

   39      07/07/15 Greenberg, Mark      0.3    Correspond with Oncor advisors re: REIT income projections and LRP process.



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 Task
            Date         Professional   Hours                                           Activity
Category
                                                Analyze Oncor's May operating report to identify any potential variances of the REIT
   39      07/07/15 Greenberg, Mark      1.0
                                                projections.

                                                Participate in call with Oncor management regarding Oncor's book/tax income
   39      07/08/15 Greenberg, Mark      0.9
                                                reconciliation for REIT projections.

   39      07/08/15 Greenberg, Mark      1.6    Analyze impact of Oncor depreciation restart on projected taxable income.

                                                Participate in discussion with Counsel and other professionals to examine tax
   39      07/08/15 Arsenault, Ronald    1.1
                                                reconciliation document prepared by the Debtors.

   39      07/09/15 Greenberg, Mark      2.7    Analyze economic terms of potential REIT settlement among T-side creditor groups.


   39      07/13/15 Joffe, Steven        0.5    Participate in call with Committee to discuss status of negotiations with first liens.


   39      07/13/15 Joffe, Steven        0.5    Follow up call with UCC and Morrison & Foerster regarding first lien deal.

                                                Correspond with Oncor's financial advisor re: reconciliation of Oncor's book to tax
   39      07/13/15 Greenberg, Mark      0.3
                                                income projections.

                                                Analyze Debtors' schedule of Oncor's projected book to tax income reconciliation and
   39      07/13/15 Greenberg, Mark      1.8
                                                assess impact under a REIT structure.

   39      07/16/15 Greenberg, Mark      2.7    Research REIT lease terms to assess Oncor REIT economics.


   39      07/16/15 Greenberg, Mark      0.6    Analyze latest Plan term sheet to assess impact to creditors under a REIT structure.

                                                Perform analysis of the T-side REIT Plan revisions to determine variances from term
   39      07/21/15 Greenberg, Mark      2.8
                                                sheet.

                                                Participate in discussion with UCC professionals outlining next steps for REIT
   39      07/23/15 Arsenault, Ronald    1.0
                                                discussion and negotiation.

                                                Participate in discussion with the Committee re: current status of the Plan documents
   39      07/27/15 Arsenault, Ronald    1.9
                                                and finer points of the REIT transaction.

   39      07/27/15 Arsenault, Ronald    1.2    Analyze capex detailed provided to support Oncor business plan.

                                                Participate in call with K&E, Debtors, MoFo, Brown Rudnick, White & Case re: latest
   39      07/28/15 Joffe, Steven        0.7
                                                draft of Plan and impact on IRS rulings.

   39      07/28/15 Joffe, Steven        0.4    Participate in UCC follow up call with MoFo regarding current negotiations.

                                                Participate in call with Debtors to discuss tax matters associated with the amended
   39      07/28/15 Greenberg, Mark      0.8
                                                POR and federal/state tax claims.

   39      07/31/15 Arsenault, Ronald    1.1    Analyze tax depreciation detail associated with Oncor business plan.


   39      08/03/15 Joffe, Steven        0.5    Participate in call with MoFo and Lazard regarding latest POR and tax related issues.



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  Task
               Date         Professional   Hours                                            Activity
 Category

    39        08/04/15 Joffe, Steven         0.3     Analyze settlement agreement and related email traffic to determine tax consequences.


    39        08/05/15 Greenberg, Mark       1.4     Analyze Oncor financial projections exhibited to Disclosure Statement.


    39        08/25/15 Joffe, Steven         0.6     Participate in call with MoFo and K&E regarding current status of IRS request.

                                                     Analyze 505 motion regarding appeal of property tax valuations and income tax
    39        08/25/15 Joffe, Steven         0.3
                                                     consistency.

                                                     Analyze technical compliance of supplemental submission to IRS with 368
    39        08/25/15 Joffe, Steven         1.3
                                                     (a)(i)(G)/355 and REIT rules.

 39 Total                                  449.3
                                                     Analyze bonus depreciation schedules provided by Debtors and evaluate impact on
    40        06/02/15 Greenberg, Mark       0.9
                                                     REIT economics.
                                                     Evaluate potential returns to REIT shareholders under alternative REIT asset
    40        06/08/15 Greenberg, Mark       3.7
                                                     structures.
                                                     Evaluate potential returns to REIT shareholders under alternative REIT asset
    40        06/09/15 Greenberg, Mark       3.6
                                                     structures.
    40        06/10/15 Greenberg, Mark       0.9     Evaluate impact that sale of OpCo assets has on REIT economics.
                                                     Participate in REIT discussion with UCC counsel regarding the purchase of Oncor
    40        06/15/15 Greenberg, Mark       1.1
                                                     minority interest,704(c) add-back, and taxable gain on the sale of OpCo assets.
    40        06/15/15 Greenberg, Mark       0.6     Participate in call with UCC counsel re: taxable gain on sale of OpCo assets.
                                                     Evaluate E&P distribution and potential gain on OpCo asset sale, and resultant impact
    40        06/15/15 Greenberg, Mark       3.7
                                                     on EFH/REIT cash balance.
                                                     Evaluate E&P distribution and potential gain on OpCo asset sale, and resultant impact
    40        06/29/15 Greenberg, Mark       1.2
                                                     on EFH/REIT cash balance.

 40 Total                                   15.7

Grand Total                                2,386.4




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                                   EXHIBIT D
                 ENERGY FUTURE HOLDINGS CORP. - CASE NO. 14-10979
                             SUMMARY OF EXPENSES
                   FOR THE PERIOD MAY 1, 2015 TO AUGUST 31, 2015

Expense Type                                                               Amount
Business Meals                                                            $934.50
Ground Transportation                                                     1,299.27
Total                                                                    $2,233.77
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                                                 EXHIBIT E
                               ENERGY FUTURE HOLDINGS CORP. - CASE NO. 14-10979
                                              EXPENSE DETAIL
                                 FOR THE PERIOD MAY 1, 2015 TO AUGUST 31, 2015

 Date    Professional         Expense Type      Expense Detail                                                            Amount
                                                In-office overtime meal/dinner for self incurred as a result of working
04/20/15 Friedrich, Steven    Business Meals                                                                               $20.00
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
04/21/15 Friedrich, Steven    Business Meals                                                                                20.00
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
04/26/15 Eimer, Sean          Business Meals                                                                                18.93
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
04/27/15 Eimer, Sean          Business Meals                                                                                20.00
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
04/28/15 Eimer, Sean          Business Meals                                                                                18.24
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
04/29/15 Eimer, Sean          Business Meals                                                                                12.98
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
05/06/15 Friedrich, Steven    Business Meals                                                                                20.00
                                                late.
                                                In-office overtime meal/dinner for self incurred as a result of working
05/06/15 Eimer, Sean          Business Meals                                                                                10.25
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
05/07/15 Eimer, Sean          Business Meals                                                                                12.50
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
05/12/15 Stolarz, Alexander   Business Meals                                                                                20.00
                                                late.
                                                In-office overtime meal/dinner for self incurred as a result of working
05/13/15 Eimer, Sean          Business Meals                                                                                20.00
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
05/15/15 Eimer, Sean          Business Meals                                                                                20.00
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
05/18/15 Eisler, Marshall     Business Meals                                                                                20.00
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
05/18/15 Eimer, Sean          Business Meals                                                                                12.50
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
05/19/15 Eimer, Sean          Business Meals                                                                                17.35
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
05/20/15 Stolarz, Alexander   Business Meals                                                                                20.00
                                                late.
                                                In-office overtime meal/dinner for self incurred as a result of working
05/20/15 Eimer, Sean          Business Meals                                                                                20.00
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
05/21/15 Eimer, Sean          Business Meals                                                                                20.00
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
05/26/15 Eimer, Sean          Business Meals                                                                                20.00
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
05/27/15 Eimer, Sean          Business Meals                                                                                20.00
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
05/28/15 Eisler, Marshall     Business Meals                                                                                20.00
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
06/15/15 Eimer, Sean          Business Meals                                                                                20.00
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
06/16/15 Diaz, Matthew        Business Meals                                                                                20.00
                                                late.
                                                In-office overtime meal/dinner for self incurred as a result of working
06/16/15 Eimer, Sean          Business Meals                                                                                20.00
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
06/17/15 Diaz, Matthew        Business Meals                                                                                20.00
                                                late.
                                                In-office overtime meal/dinner for self incurred as a result of working
06/17/15 Eisler, Marshall     Business Meals                                                                                20.00
                                                late.
                                                In-office overtime meal/dinner for self incurred as a result of working
06/17/15 Stolarz, Alexander   Business Meals                                                                                20.00
                                                late.
                                                In-office overtime meal/dinner for self incurred as a result of working
06/17/15 Eimer, Sean          Business Meals                                                                                20.00
                                                late (expense not previously billed).
                                                In-office overtime meal/dinner for self incurred as a result of working
06/18/15 Eisler, Marshall     Business Meals                                                                                20.00
                                                late.

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                                                 EXHIBIT E
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                                              EXPENSE DETAIL
                                 FOR THE PERIOD MAY 1, 2015 TO AUGUST 31, 2015

 Date    Professional         Expense Type             Expense Detail                                                             Amount
                                                       In-office overtime meal/dinner for self incurred as a result of working
06/18/15 Stolarz, Alexander   Business Meals                                                                                        20.00
                                                       late.
                                                       In-office overtime meal/dinner for self incurred as a result of working
06/18/15 Eimer, Sean          Business Meals                                                                                        20.00
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
06/23/15 Diaz, Matthew        Business Meals                                                                                        20.00
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
06/29/15 Eimer, Sean          Business Meals                                                                                        20.00
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/06/15 Stolarz, Alexander   Business Meals                                                                                        20.00
                                                       late.
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/06/15 Eimer, Sean          Business Meals                                                                                        20.00
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/07/15 Eimer, Sean          Business Meals                                                                                        20.00
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/08/15 Eimer, Sean          Business Meals                                                                                        20.00
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/09/15 Eimer, Sean          Business Meals                                                                                        20.00
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/10/15 Eimer, Sean          Business Meals                                                                                        18.50
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/12/15 Eimer, Sean          Business Meals                                                                                        20.00
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/13/15 Eimer, Sean          Business Meals                                                                                        17.50
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/14/15 Eimer, Sean          Business Meals                                                                                        20.00
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/15/15 Eimer, Sean          Business Meals                                                                                        20.00
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/16/15 Eimer, Sean          Business Meals                                                                                        20.00
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/17/15 Eimer, Sean          Business Meals                                                                                        20.00
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/21/15 Eimer, Sean          Business Meals                                                                                        20.00
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/22/15 Eimer, Sean          Business Meals                                                                                        15.75
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
07/23/15 Eimer, Sean          Business Meals                                                                                        20.00
                                                       late (expense not previously billed).
                                                       In-office overtime meal/dinner for self incurred as a result of working
08/12/15 Diaz, Matthew        Business Meals                                                                                        20.00
                                                       late.
                              Business Meals Total                                                                                 934.50
                                                       Taxi - office to residence after working late in the office (expense
04/20/15 Friedrich, Steven    Ground Transportation                                                                                 11.75
                                                       was not previously billed).
                                                       Taxi - office to residence after working late in the office (expense
04/21/15 Friedrich, Steven    Ground Transportation                                                                                  9.80
                                                       was not previously billed).
                                                       Taxi - FTI office to Counsel for purposes of attending in person
04/23/15 Scruton, Andrew      Ground Transportation                                                                                 12.95
                                                       meeting.
                                                       Taxi - office to residence after working late in the office (expense
04/24/15 Stolarz, Alexander   Ground Transportation                                                                                 15.24
                                                       was not previously billed).
                                                       Taxi - FTI office to Counsel for purposes of attending in person
04/24/15 Scruton, Andrew      Ground Transportation                                                                                  9.36
                                                       meeting.
                                                       Taxi - office to residence after working late in the office (expense not
04/26/15 Eimer, Sean          Ground Transportation                                                                                 20.70
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
04/27/15 Eimer, Sean          Ground Transportation                                                                                 21.10
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
04/28/15 Eimer, Sean          Ground Transportation                                                                                 20.21
                                                       previously billed).


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                                              EXPENSE DETAIL
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 Date    Professional         Expense Type             Expense Detail                                                             Amount
                                                       Taxi - FTI office to Counsel for purposes of attending in person
04/28/15 Scruton, Andrew      Ground Transportation                                                                                 15.36
                                                       meeting.
                                                       Taxi - office to residence after working late in the office (expense not
04/29/15 Eimer, Sean          Ground Transportation                                                                                 23.88
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
05/07/15 Eimer, Sean          Ground Transportation                                                                                 42.00
                                                       previously billed).
05/11/15 Stolarz, Alexander   Ground Transportation    Taxi - office to residence after working late in the office.                 18.58
                                                       Taxi - office to residence after working late in the office (expense not
05/11/15 Eimer, Sean          Ground Transportation                                                                                 23.50
                                                       previously billed).
05/12/15 Stolarz, Alexander   Ground Transportation    Taxi - office to residence after working late in the office.                 14.25
                                                       Taxi - office to residence after working late in the office (expense not
05/12/15 Eimer, Sean          Ground Transportation                                                                                 20.50
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
05/12/15 Eisler, Marshall     Ground Transportation                                                                                  7.80
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
05/13/15 Eimer, Sean          Ground Transportation                                                                                 37.00
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
05/15/15 Eimer, Sean          Ground Transportation                                                                                 24.63
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
05/19/15 Eimer, Sean          Ground Transportation                                                                                 22.14
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
05/19/15 Eisler, Marshall     Ground Transportation                                                                                  8.76
                                                       previously billed).
05/20/15 Stolarz, Alexander   Ground Transportation    Taxi - office to residence after working late in the office.                 15.79
                                                       Taxi - office to residence after working late in the office (expense not
05/20/15 Eisler, Marshall     Ground Transportation                                                                                  8.16
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
05/21/15 Eimer, Sean          Ground Transportation                                                                                 41.00
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
05/26/15 Eimer, Sean          Ground Transportation                                                                                 36.00
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
05/27/15 Eimer, Sean          Ground Transportation                                                                                 24.72
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
05/29/15 Eimer, Sean          Ground Transportation                                                                                 38.00
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
05/30/15 Eimer, Sean          Ground Transportation                                                                                 24.65
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
05/31/15 Eimer, Sean          Ground Transportation                                                                                 23.54
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
06/04/15 Eisler, Marshall     Ground Transportation                                                                                  9.35
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
06/15/15 Eimer, Sean          Ground Transportation                                                                                 43.00
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
06/16/15 Eimer, Sean          Ground Transportation                                                                                 48.41
                                                       previously billed).
06/17/15 Stolarz, Alexander   Ground Transportation    Taxi - office to residence after working late in the office.                 13.55
                                                       Taxi - office to residence after working late in the office (expense not
06/17/15 Eimer, Sean          Ground Transportation                                                                                 22.49
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
06/17/15 Eisler, Marshall     Ground Transportation                                                                                  8.76
                                                       previously billed).
                                                       Taxi - FTI office to Counsel for purposes of attending in person
06/18/15 Greenberg, Mark      Ground Transportation                                                                                  5.50
                                                       meeting.
06/18/15 Stolarz, Alexander   Ground Transportation    Taxi - office to residence after working late in the office.                 14.90
                                                       Taxi - From office for the purposes of attending in person meeting
06/18/15 Simms, Steven        Ground Transportation                                                                                 10.00
                                                       with mediator (expense not previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
06/18/15 Eimer, Sean          Ground Transportation                                                                                 41.00
                                                       previously billed).
                                                       Taxi - office to residence after working late in the office (expense not
06/18/15 Eisler, Marshall     Ground Transportation                                                                                  9.35
                                                       previously billed).

                                                                                                                                  Page 3 of 4
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                                                     EXHIBIT E
                                   ENERGY FUTURE HOLDINGS CORP. - CASE NO. 14-10979
                                                  EXPENSE DETAIL
                                     FOR THE PERIOD MAY 1, 2015 TO AUGUST 31, 2015

  Date     Professional          Expense Type              Expense Detail                                                              Amount
                                                           Taxi - FTI office to Counsel for purposes of attending in person
06/25/15 Scruton, Andrew         Ground Transportation                                                                                         8.15
                                                           meeting.
                                                           Taxi - office to residence after working late in the office (expense not
06/29/15 Eimer, Sean             Ground Transportation                                                                                    45.00
                                                           previously billed).
07/06/15 Stolarz, Alexander      Ground Transportation     Taxi - office to residence after working late in the office.                   15.59
                                                           Taxi - office to residence after working late in the office (expense not
07/06/15 Eimer, Sean             Ground Transportation                                                                                    36.00
                                                           previously billed).
                                                           Taxi - office to residence after working late in the office (expense not
07/06/15 Eisler, Marshall        Ground Transportation                                                                                         9.36
                                                           previously billed).
                                                           Taxi - office to residence after working late in the office (expense not
07/07/15 Eimer, Sean             Ground Transportation                                                                                    35.00
                                                           previously billed).
                                                           Taxi - office to residence after working late in the office (expense not
07/08/15 Eimer, Sean             Ground Transportation                                                                                    26.00
                                                           previously billed).
                                                           Taxi - office to residence after working late in the office (expense not
07/09/15 Eimer, Sean             Ground Transportation                                                                                    35.00
                                                           previously billed).
                                                           Taxi - office to residence after working late in the office (expense not
07/10/15 Eimer, Sean             Ground Transportation                                                                                    23.00
                                                           previously billed).
                                                           Taxi - office to residence after working late in the office (expense not
07/12/15 Eimer, Sean             Ground Transportation                                                                                    37.00
                                                           previously billed).
                                                           Taxi - office to residence after working late in the office (expense not
07/13/15 Eimer, Sean             Ground Transportation                                                                                    23.00
                                                           previously billed).
                                                           Taxi - office to residence after working late in the office (expense not
07/14/15 Eimer, Sean             Ground Transportation                                                                                    24.25
                                                           previously billed).
                                                           Taxi - office to residence after working late in the office (expense not
07/15/15 Eimer, Sean             Ground Transportation                                                                                    36.00
                                                           previously billed).
                                                           Taxi - office to residence after working late in the office (expense not
07/16/15 Eimer, Sean             Ground Transportation                                                                                    21.92
                                                           previously billed).
                                                           Taxi - office to residence after working late in the office (expense not
07/17/15 Eimer, Sean             Ground Transportation                                                                                    23.47
                                                           previously billed).
                                                           Taxi - office to residence after working late in the office (expense not
07/21/15 Eimer, Sean             Ground Transportation                                                                                    37.00
                                                           previously billed).
                                                           Taxi - office to residence after working late in the office (expense not
07/22/15 Eimer, Sean             Ground Transportation                                                                                    21.00
                                                           previously billed).
                                                           Taxi - office to residence after working late in the office (expense not
07/23/15 Eimer, Sean             Ground Transportation                                                                                    24.85
                                                           previously billed).

                                 Ground Transportation Total                                                                           1,299.27

                                 Grand Total                                                                                          $ 2,233.77


Notes:
(1) In-office meals over $20.00 and out-of-office meals over $40.00 have been reduced to $20.00 and $40.00, respectively, to comply with the
Amended Guidelines for Fees and Disbursements for Professionals in Delaware District Bankruptcy Cases. Each of these meals were in fact
greater than $20.00 or $40.00 and do not represent a per diem.




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